IN THE DISTRICT COURT OF TULSA COUNTY

STATE OF OKLAHOMA
DEANDRE BETHEL, )
Petitioner, §
v. § Case No. CF-2012-660
STATE OF OKLAHOMA §
Respondent. §

 

APPLICATION FOR POST-CONVICTION RELIEF
BRIEF-N-CHIEF

Mr. Bethel is proceeding pro se, under Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct.
2197, 2200, 167 L.Ed.2d 1087 (2007); Andrews v. Heaton, 483 F.3d 1070, 1116 (10"‘ Cir.
2007); Hall v. Bellmon, 935 F.2d 1106, 1110 (10"‘ Cir. 1991) (citing Haines v. Kemer, 404 U.S.
519, 520-21, 92 S.Ct. 594, 595-96, 30 L.Ed.2d 562 (1972) (Taking into account that a pro se
pleading is to be held to a less stringent standard than one formally submitted by an attomey);
and claims Hughes v. Rowe, 449 U.S. 4, 9, 101 S.Ct. 173 (1980) (The Court must review
liberally and interpret pro se arguments to raise the strongest arguments that they suggest.). Mr.

Bethel prays the Court’s forbearance in reviewing the Habeas Petition.
BA§K§BM

February 4, 2012, Bryon Ivory, Ernest Roberts and Bradley Jarrett pulled into the parking lot of
Club Pink at approximately 1:40 a.m. As the men sat in the vehicle, another car pulled into the
parking lot, parking behind the victims with their lights on. One individual approached the vehicle,
while Mr. Roberts was exiting Mr. Ivory’s vehicle, The person asked Mr. Roberts did he know him.
Mr. Roberts said, “No.” The assailant pulled a gun and stuck it in Mr. Roberts’ ribs. Mr. Roberts
took out his wallet and cell phone, offered the wallet and cell phone to the assailant as an escape
mechanism, turned and ran. Roberts’ jumped over a four-foot wall with a five-foot drop-off on the

other side. Mr. Jarrett also exited the vehicle and ran, but before running saw two individuals

standing beside the car parked behind them. Mr. Jarrett ran so hard that he ran out of his Nikes.
There was shooting and a short time later Mr. Ivory was discovered dead from gun shot wounds.

Several Tulsa Fireflghters witnessed two cars leaving the parking lot in a hurry. They described
one of the vehicles as a white Chevy Cobalt. Several hours later Mr. Bethel was discovered sleep at
an intersection street light in a white Chevy Cobalt and a gun in the passenger seat. Mr. Bethel was
arrested for Public Intoxication and Possession of a Firearm and bonded out of jail. Police later
tested the weapon and discovered that it was one of the weapons used in the shooting of Mr. Ivory.
During and after both arrests Mr. Bethel consistently proffered to police officers that he had bought
the gun that morning from someone named Rio. Mr. Bethel was charged and convicted by ajury of
Felony Murder with the underlying felony of First Degree Robbery with a Firearm. Mr. Bethel was
sentenced to life with the possibility of parole. From this sentence Mr. Bethel request post-
conviction relief.

During his time of incarceration, Mr. Bethel did his own investigation as to what happened at
Club Pink that night. He discovered that the incident was not a robbery, but retaliation of an ongoing
feud between Bryon Ivory and Laharry Myers. Mr. Bethel, also, discovered that there were witnesses

present that could testify that he was not present during the altercation and didn’t participate. (See
Affidavits).

MQEL ACTUAL INNOCENCE

Petitioner presents reliable newly discovered evidence supporting the allegation of constitutional
error of ineffective assistance of trial counsel for failing to research, interview and call DeAndre
Williams and Elza Riley as witnesses to testify at trial. Mr. Williams and Mr. Riley would testify at
trial that they were present at the scene and Mr. Bethel was not present and did not participate in an
armed robbery and that there was no robbery, but that the crime was retaliation for a previous
altercation between the two men. See attached ajjz`davits.

The "fundamental miscarriage ofjustice" exception to the procedural bar doctrine applies "in an
extraordinary case, where a constitutional violation has probably resulted in the conviction of one
who is actually innocent." Murray v. Carrier, 477 U.S. 478, 495-96, 106 S. Ct. 2639, 91 L. Ed. 2d
397 (1986); see also Herrera v. Collins, 506 U.S. 390, 400-404, 113 S. Ct. 853, 122 L. Ed. 2d 203
(1993); San{yer v. Whitley, 505 U.S. 333, 339-41, 112 S. Ct. 2514, 120 L. Ed. 2d 269 (1992);
Schlup v. Delo, 513 U.S. 298, 115 S. Ct. 851, 130 L. Ed. 2d 808 (1995). To meet this test, a criminal

defendant must make a colorable showing of factual innocence. Beavers v. Saj_”fle, 216 F.3d 918, 923
(10th Cir. 2000) (citing Herrera, 506 U.S. at 404). "The miscarriage of justice exception, . . . applies
to a severely confined category: cases in which new evidence shows 'it is more likely than not that
no reasonable juror would have convicted [the petitioner]."' McQuiggin v. Perkins, 133 S. Ct. 1924,
1933, 185 L. Ed. 2d 1019 (2013) (quoting Schlup, 513 U.S. at 329) (intemal quotation marks
omitted). Under Schlup, a showing of innocence sufficient to allow consideration of procedurally
barred claims must be "so strong that a court cannot have confidence in the outcome of the trial
unless the court is also satisfied that the trial was free of nonharmless constitutional error . . . ."
Schlup, 513 U.S. at 316. The petitioner must " support his allegations of constitutional error with
new reliable evidence - whether it be exculpatory scientific evidence, trustworthy eyewitness

accounts, or critical physical evidence - that was not presented at trial." Id. at 324.

A. NEWLY DISCOVERED EVIDENCE OF INEFFECTIVE ASSISTANCE OF APPELLATE
COUNSEL IN VIOLATION OF THE SIXTH AMENDMENT TO THE UNITED STATES
CONSTITUTION AND ARTICLE II, § 20 OF OKLAHOMA'S CONSTITUTION FOR
FAILl"NG TO DISCOVER EVIDENCE AND FAILING TO FILE INEFFECTIVE
ASSISTANCE OF TRIAL COUNSEL FOR FAILING TO INTERVIEW, INVESTIGATE AND
CALL DEANDRE WILLIAMS AND ELZA RILEY TO TESTIFY AT TRIAL

Appellate counsel failed to discover evidence of eyewitness testimony of Elza Riley. Further
appellate counsel’s failure to make the proper argument in the direct appeal brief was below
professional norms and prejudiced the appeal. Had the waived information been included in the
brief, then it would have demonstrated that Mr. Bethel was actually innocent of the crimes in which

he was convicted. Whereby, Appellate counsel was ineffective

1. TRIAL COUNSEL RENDERED INEFFECTIVE ASSISTANCE BY FAIL[NG TO
PRESENT THE TESTIMONY OF CRITICAL, AVAILABLE DEFENSE WITNESSES AT
TRIAL, VIOLATING MR. BETHEL’S RIGHTS UNDER THE SIXTH AND
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION AND
ARTICLE II, §§ 7 AND 30 OF THE OKLAHOMA CONSTITUTION

Despite the fact that this claim was a critical issue in the case, defense counsel failed to secure

the attendance of these witnesses who could provide corroboration to Mr. Bethel’s statements that he

bought the gun after the fact. Mr. Bethel repeatedly told police he had bought the .40 caliber pistol
shortly before he was arrested.

Appellate counsel was ineffective for failure to file ineffective assistance of trial counsel for
failure to investigate, interview and call DeAndre Williams and Elza Riley as witnesses at trial. Both
eyewitnesses would testify that they were present at the crime scene, that there was no robbery, but
the crime was a retaliation for a previous altercation between two men and that Mr. Bethel was not
present at the time. Trial counsel’s failure to investigate, interview, and call Mr. Williams and Mr.
Riley as witnesses for the defense was ineffective assistance of counsel. Appellate counsel’s failure
to discover and submit the claim on direct appeal demonstrates appellate counsel’s ineffectiveness
prejudiced Petitioner’s appeal. Both counsels’ unprofessional errors effected both the outcome of the
trial and the appeal.

Neither trial counsel nor appellate counsel discovered the information discovered by Mr. Bethel.
Mr. Bethel discovered the information through his own investigations and both attorneys had the
opportunity to discover the evidence and did not. The evidence and the eyewitnesses were available
if counsels had properly investigated, interviewed the witnesses. However, due to ineffective
assistance of both counsels, counsels failed to discover the evidence. Petitioner claims due to
ineffective assistance of counsels the evidence was not presented at trial or on appeal and that the
court should determine the effectiveness of trial counsel and appellate counsel when considering
whether the evidence is material and whether the evidence creates a reasonable probability that, had

it been introduced at trial or on appeal that it would have changed the outcomes.

T D O W

Post-conviction claims of ineffective assistance of appellate counsel are reviewed under
the standard for ineffective assistance of counsel set forth in Strickland v. Washington, 466 U.S.
668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). See Smith v. Robbins, 528 U.S. 259, 289, 120 S.Ct.
746, 765, 145 L.Ed.2d 756 (2000) ("[Petitioner] must satisfy both prongs of the Strickland test in
order to prevail on his claim of ineffective assistance of appellate counsel."); Coddington, 2011
OK CR 21, P 3, 259 P.3d at 835; Davis v. State, 2005 OK CR 21, P 7, 123 P.3d 243, 246. Under
Strickland, a petitioner must show both (l) deficient performance, by demonstrating that his
counsel’s conduct was objectively unreasonable, and (2) resulting prejudice, by demonstrating a
reasonable probability that, but for counsel’s unprofessional error, the result of the proceeding (in
this case the appeal) would have been different. Strickland, 466 U.S. at 687-89, 104 S.Ct. at

2064-66. And we recognize that "[a] court considering a claim of ineffective assistance of

counsel must apply a 'strong presumption' that counsel’s representation was within the 'wide
range' of reasonable professional assistance." Harrington v. Richter, 131 S.Ct. 770, 787, 178
L.Ed.2d 624 (2011) (quoting Strickland, 466 U.S. at 689, 104 S.Ct. at 2065).

In reviewing a claim of ineffective assistance of appellate counsel under Strickland, a
court must look to the merits of the issue(s) that appellate counsel failed to raise. See Malicoat v.
Mullin, 426 F.3d 1241, 1249 (10th Cir. 2005) ("[I]n certain circumstances, appellate counsel’s
omission of an issue may constitute ineffective assistance under Strickland. In analyzing such
claims, the court must consider the merits of the omitted issue." (citing Robbins, 528 U.S. at
288, 120 S.Ct. at 765-66)); Cargle v. Mullin, 317 F.3d 1196, 1205 (10th Cir. 2003) ("The very
focus of a Strickland inquiry regarding performance of appellate counsel is upon the merits of.
omitted issues, and no test that ignores the merits of the omitted claim in conducting its
ineffective assistance of appellate counsel analysis comports with federal law."). In the context
of ineffective assistance of appellate counsel claims, only an examination of the merits of any
omitted issues will reveal whether appellate counsel’s performance was deficient (due to failing
to raise the omitted issue(s)) and also whether the failure to raise the omitted issue(s) on appeal
prejudiced the defendant, i.e., whether there is a reasonable probability that raising the omitted
issue(s) would have resulted in a different outcome in the defendant's direct appeal (e.g., a
reversal, new trial, new sentencing proceeding, or sentence modification). In the context of
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issue(s) would have resulted in a different outcome in the defendant's direct appeal (e.g., a
reversal, new trial, new sentencing proceeding, or sentence modification). Id. Logan v. State, 293
P.3d 969, 974 (Okl. Cr. 2013).

Petitioner will prove that the oversight of appellate counsel prejudiced the appeal, by
demonstration that trial counsel was ineffective for failing to uphold the constitutional level of
representation as determined by the Sixth Amendment of the United States Constitution.
Petitioner also demonstrates that Mr. Bethel was prejudiced and but for counsels’ unprofessional

errors there would have been a different outcome in the trial. See below.

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The murder of Byron Ivory was retaliation for a previous altercation between the two (2)
men. The suspects in the white car knew Mr. Ivory and called Mr. Ivory to Club Pink to retaliate
for a previous altercation. See Exhibits 1 & 2, Affidavit from Elza Rin and DeAndre Williams,
who were present at Club Pink to witness the fight between the two (2) men. Mr. Williams later
plead guilty to Accessory After the Fact in the instant matter. This altercation was not a robbery
and was never intended to be a robbery. The underlying felony of First Degree Robbery With a
Firearm did not occur, evidenced by that amount of guns involved in the crime.

First, there was an altercation between (2) rival groups of black males inside the club that
caused a ruckus. Several members of one of the groups were escorted from the club (Tr. 335-39).

Second, there was video of three (3) suspects leaving in a white car (Tr. 797), but
evidence of four (4) guns being fired (Tr. 715). The suspect shooter, later identified by Mr.
Williams and Mr. Riley as Laharry Myers a/k/a L.J., was the person holding the gun on the
robbery victim. The hypothesis that Mr. Ivory possessed the fourth weapon and this was an
altercation between two (2) rivals was never presented or considered by the jury. The jury was
unaware that the two (2) men knew each other and that there was an ongoing feud.

It is conceivable that one of the four guns belonged to the victim. There is also evidence
that this was not a robbery. The testimony of the robbery victim was that his property was not
demanded, but that when he felt a gun on his torso that he volunteered his property without
provocation and for the purpose of escape (Tr. 370, 384). The evidence further indicates that Mr.
Ivory, the only victim that did not run was not robbed. Factually, part of the robbery victim’s
property that was volunteered was found under Mr. Ivory (Tr. 801 ). The robbery victim threw
the property, turned, and ran, jumping a four-foot wall with a five-foot drop. The victim ran out
of his Nikes, in the nightclub parking lot with people milling around. The missing cell phone
could have been lost and/or recovered by anyone. The death of Mr. Ivory was not the result of a
robbery, but in retaliation of an ongoing feud between the two men. The conviction of First

Degree Robbery with a Firearm as a prerequisite for the Felony Murder conviction of Mr. Bethel
did not occur.

1. BELOW PROFESSIONAL NORMS

A criminal defense lawyer has a duty to conduct reasonable investigations into his client's
case, which extends to the law as well as the facts. See Strickland, 466 U.S. at 690-91. As that
duty pertains to investigation of the law, counsel is obligated to research relevant law to make an
informed decision whether certain avenues will prove fruitful." Rompilla v. Beard, 545 U.S. 374,
387, 125 S. Ct. 2456, 162 L. Ed. 2d 360 (2005). Padilla v. Kentuclqy, 559 U.S. 356, 130 S. Ct.
1473, 1482, 176 L. Ed. 2d 284 (2010) (describing the ABA's standards as "valuable measures of
the prevailing professional norms of effective representation"). The extent to which counsel will
be obligated to investigate in order to perform at a constitutionally adequate level of competency
will vary case by case: as the Supreme Court observed in Strickland, "strategic choices made
after less than complete investigation are reasonable precisely to the extent that reasonable
professional judgments support the limitations on investigation." Strickland, 466 U.S. at 690-91.
But "[a] decision not to investigate cannot be deemed reasonable if it is uninfonned." Fisher v.
Gibson, 282 F.3d 1283, 1296 (10th Cir. 2002). Petitioner request the trial court to determine
whether trial counsel’s failure to utilize this evidence could be considered a sound trial strategy
and that the trial court should find Petitioner's counsel’s "failure to discover" was not sound trial
strategy and conclude that counsel’s notion not to investigate and call eyewitnesses is founded
upon ineffective assistance of counsel. See Glossip v. State, 2001 OK CR 21, P20, 29 P.3d 597,
601.

Petitioner claims, due to ineffective assistance of counsels, the evidence was not

presented at trial or on appeal and that the court should determine the effectiveness of trial

counsel and appellate counsel when considering whether the evidence is material and whether
the evidence creates a reasonable probability that had the evidence been introduced at trial or on

appeal, it would have changed the outcomes.

a. FAILURE TO INVESTIGATE, INTERVIEW AND CALL WITNESSES

Trial counsel was ineffective for failing to call DeAndre Williams and Elza Riley as
witnesses. Due to newly discovered evidence of affidavits from Mr. Williams and Mr. Riley,

where they state that they would had testified at trial that Mr. Bethel was not present at the night
club at the time of altercation

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Both witnesses had specific facts that could only be obtained if they witnessed the events
of the crime. The witnesses’ testimonies were crucial to the determination of guilt or innocence
of Mr. Bethel. However, neither of the eyewitnesses were interviewed, investigated, or called as
a witness by trial counsel or their information used in the direct appeal.

The extent to which counsel will be obligated to investigate in order to perform at a
constitutionally adequate level of competency will vary case by case, ln the instant matter,
counsel did not call any witnesses on behalf of Petitioner. The only witness that showed at trial
and testified for the defense was Mr. Bethel. Defense counsel had a duty to investigate all
strategies of defense and to call all relevant witnesses to testify on behalf of the defense of
Petitioner. Defense counsel did not interview, investigate, or call Mr. Williams or Mr. Riley as
witnesses This establishes the first prong of Strickland. The testimony of Mr. Williams coupled
with the testimony of Mr. Riley are both surpassingly missing from the trial and appeal and is
evidence of ineffective assistance of counsels,

It cannot be said that trial counsel made a strategic decision not to call these witnesses or
that he was unaware of these witnesses, because Mr. Williams was a co-defendant of Mr.
Bethel’s and the cases were severed. lt cannot be said that appellate counsel was unaware of Mr.
williams. l

Had Mr. Williams testified that he saw Mr. Myers commit the crime and did not see Mr.
Bethel would have effected the jury’s verdict. The same is true involving the testimony of Mr.
Riley, What the jury should have heard was two (2) eyewitnesses (Williams and Riley) testify
that Petitioner was not at the scene of the crime. Verses circumstantial evidence of Mr. Bethel
ending up with one of the weapons used in a crime the following morning. The jury should of
heard testimony from these eyewitnesses that this was not a robbery, but there was an ongoing
feud between the two men and they both had guns and further testimony that Mr. Bethel was not
present. The additional testimony from Mr. Williams and Mr. Riley was crucial to the
determination of the jury’s verdict.

The failure of trial counsel and appellate counsel to interview, investigate, and call to
testify Mr. Williams and Mr. Riley is ineffective assistance of counsel. A criminal defense
lawyer has a duty to conduct reasonable investigations into his client's case, which extends to the
law as well as the facts. See Strickland, 466 U.S. at 690-91. As that duty pertains to investigation

of the law, counsel is obligated to research relevant law to make an informed decision whether

certain avenues will prove fruitful." Rompilla v. Beard, 545 U.S. 374, 387, 125 S. Ct. 2456, 162
L. Ed. 2d 360 (2005). But "[a] decision not to investigate cannot be deemed reasonable if it is
uninforrned." Fisher v. Gibson, 282 F.3d 1283, 1296 (10th Cir. 2002). Trial counsel and
appellate counsel was uninformed and failed to reasonably investigate and call crucial
eyewitnesses to testify to Mr. Bethel’s innocence. Both counsel’s performance by precedent is

below professional norms, which satisfies the first prong of Strickland.

2. PREJUDICE

The jury’s failure to hear contrary testimony to unreliable circumstantial evidence
prejudiced Mr. Bethel. Had the jury heard from Mr. Williams (an accessory after the fact) and
Mr. Riley an eyewitness to contradict the circumstantial evidence, it would have caused the jury
to determine the truth and that Mr. Bethel was not present during the time of the crirne, whereby
determining his actual innocence. Mr. Williams has nothing to gain or lose by testifying that
Petitioner was not present. Mr. Riley has nothing to gain by volunteering his testimony either.
On the other hand, the absence of these eyewitnesses caused Mr. Bethel prejudice. This is
demonstrated by Williarns’ and Riley’s affidavits, swearing that Mr. Bethel was not present at
the crime.

lt was imperative that the jury heard the testimony of Mr. Williams and Mr. Riley. The
absence of the testimony prejudiced Petitioner, because the jury was not allowed to judge
between the testimony of the eyewitnesses and the circumstantial evidence. Only Mr. Williams
and Riley could truly say what happened and who was there that night and that trial counsel nor
appellate counsel interviewed, investigated or called either of the witnesses. This is crucial
testimony that was necessary for the determination of guilt or innocence. This determination is
the essence and only factor of Mr. Bethel’s conviction.

Whereby, the absence of the testimony of Mr. Williams testifying that he did not witness
Mr. Bethel at the crime scene and the absence of the testimony of Mr. Riley that he also failed to
witness Mr. Bethel at the crime scene prejudiced the Mr. Bethel and affected the outcome of the
trial.

Both counsels did not complete and analyze the evidence likely to be introduced at trial
or on appeal. lf counsels had made a complete investigation, they would of interviewed Mr.

Williams and Mr. Riley and known that they were willing to testify at trial that Petitioner was not

present at the crime scene. The extent to which counsel will be obligated to investigate in order
to perform at a constitutionally adequate level of competency will vary case by case: as the
Supreme Court observed in Strickland, "strategic choices made after less than complete
investigation are reasonable precisely to the extent that reasonable professional judgments
support the limitations on investigation." Strickland, 466 U.S. at 690-91. But "[a] decision not to
investigate cannot be deemed reasonable if it is uninfonned." Fisher v. Gibson, 282 F.3d 1283,
1296 (10th Cir. 2002). Counsels’ failures to investigate, interview, or call Williams and Riley as
witnesses can not be considered reasonable. There is no evidence that counsels had reasons not
to investigate the aforementioned witnesses. Here, the only evidence against Mr. Bethel is that he
possessed a weapon used the night of the crime. The calling of eyewitnesses Williams and Riley
in contradiction to the circumstantial evidence was reasonable and would had changed the
outcome of the verdict,

Therefore, counsels were unreasonable for not interviewing, investigating, and calling
Williams and Riley to testify on behalf of the defense or using the information in the appeal. The
testimony of the absent eyewitness would had affected the verdict, effected the appeal and
demonstrated that Mr. Bethel is actually innocent. Therefore Mr. Bethel is prejudiced.

Petitioner has demonstrated that he is actually innocent of Robbery With a Firearm and
Felony Murder because he was not present at the crime scene as sworn to by the eyewitnesses.
The affidavit from Mr. Williams demonstrates that Mr. Bethel was not present at the scene of the
crime. The affidavit of Riley also demonstrates that Mr. Bethel was not present at the crime
scene, The jury was uninformed of Mr. Williams’ and Mr. Riley’s testimonies. Both their
testimonies’ were crucial to the defense of Mr. Bethel. Trial and appellate counsels’ failure
interview and call Mr. Williams or Mr. Riley as Witnesses were unprofessional errors. Mr. Bethel
has satisfied both prongs of in regards to ineffective assistance of trial and appellate counsel. The
missing eyewitness satisfies the first prong of Strickland. The second prong of Strickland is
satisfied by had the eyewitnesses been called it would have changed the outcome of both trial
and the appeal. Wherefore, Petitioner has satisfied both prongs of Strickland in regards to
ineffective assistance of appellate counsel.

Petitioner further claims his actual innocence because this case is a case in which new
evidence shows it is more likely than not that no reasonable juror would have convicted Mr.

Bethel after the aforementioned evidence Was presented before a jury.

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Wherefore, Petitioner request that the sentence be vacated and the case remanded back
with instructions to dismiss.

Petitioner also requests that Mr. Williams and Mr. Riley be called as witnesses at an

evidentiary hearing to determine the efficiency of trial and appellate counsels’ effectiveness

B. APPELLATE COUNSEL WAS INEFFECTIVE FOR FAILING TO FILE TRIAL
COUNSEL WAS INEFFECTIVE FOR NOT SUBJECTING THE PROSECUTION’S
CASE OF ROBBERY WITH A FIREARM TO ADVERSARIAL TESTING AND

CONCEDED THE ROBBERY CHARGE BY CONFESSING GUILT WITHOUT
PERMISSION OF APPELLANT

 

Appellate counsel was ineffective for failing to file trial counsel was ineffective for not
subjecting the prosecution’s case of First Degree Robbery with a Firearm to adversarial testing and

conceded the robbery charge by confessing guilt without permission of appellant.

Defense counsel was ineffective for not subjecting the prosecution’s case of First Degree
Robbery with a Firearm the underlying felony to Felony Murder to adversarial testing. Mr.
Bethel conceded guilt to Public Intoxication and Possession of a Firearm. However, trial counsel
also conceded guilt to the First Degree Robbery With a Firearm charge during trial without
consent from Mr. Bethel.

Defense Counsel on several occasions conceded that this was an intentional robbery -
instead of challenging with adversarial testing the prosecution’s case of robbery with a firearm.
Had counsel challenged that the suspects had no intentions of taking away property (which is a
required element of robbery) then the Petitioner could not have been convicted of the underlying
felony of First Degree Robbery With a Firearm. Contrary to defense counsel’s professional duty,
his performance fell below the objective standard of reasonableness required by the Sixth
Amendment. Instead of challenging the First Degree Robbery With Firearm charge, counsel
stated that it was an intentional robbery, even though the assailant’s had no intention of taking
away property.

Petitioner will prove that the oversight of appellate counsel prejudiced the appeal, by

demonstration that trial counsel was ineffective for failing to uphold the constitutional level of

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representation as determined by the Sixth Amendment of the United States Constitution. See
below: '

1. BELOW PROFESSIONAL NORMS

The murder of Byron Ivory was retaliation for a previous altercation between the two (2)
men. The driver of the white car (identified as Rio) knew Mr. Ivory and called Mr. Ivory to Club
Pink so that LaHarry Myers could retaliate from the previous altercation. See Affidavits 1 & 2,
Affidavit from Elza Rily and DeAndre Williams, who were present at Club Pink and witnessed
the incident between the two (2) men. Mr. Williams later plead guilty in the Murder as an
accessory after the fact in the instant matter. The altercation was not a robbery and was never
intended to be a robbery. The underlying felony of First Degree Robbery With a Fireann did not
occur, evidenced by that amount of guns involved in the crime scene and the lack of taking of

property.

First, there was an altercation between (2) rival groups of black males inside the Club
Pink that caused a ruckus (Tr. 335-39). _

Second, there was only one suspect thought to have a gun in the parking lot witnessed by
the victims (Tr. 367-68). There was video of three (3) suspects leaving in a white car (Tr. 797),
but evidence of four (4) guns being fired (Tr. 715). The suspect shooter, identified as LaHarry
Myers a/k/a L.J. by Mr. Williams and Mr. Riley as the person holding the gun on the robbery
victim was in an ongoing feud with the deceased victim. The hypothesis that Mr. Ivory possessed
the fourth weapon and this was in a shootout between two (2) rivals was never presented or
considered by the jury. The jury was unaware that the two (2) men knew each other and that
there was an ongoing feud between the two.

lt is conceivable that one of the four guns belonged to the victim. There is also evidence
that this was not a robbery, through the testimony of the robbery victim that his property (cell
phone and wallet) were not demanded, but that when he felt a gun on his torso that he
volunteered his property without provocation to institute an escape (Tr. 370, 384). Further
evidence indicates that Mr. Ivory, the only victim that did not run was not robbed. Factually, the
robbery victim volunteered his property as an escape mechanism -- part of the property [his
wallet] was found under Mr. Ivory (Tr. 801 ). The robbery victim threw the property and turned

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and ran, jumping a four-foot wall with a five-foot drop, in a nightclub parking lot with people
milling around. The cell phone could have been lost and/or recovered by anyone. The death of
Mr. Ivory was not the result of a robbery, but retaliation of an ongoing feud between the two
men.

Defense counsel was ineffective for not subjecting the prosecution’s case of First Degree
Robbery with a Fireann to adversarial testing and conceding that there was a robbery. Defense
counsel conceded the Public Intoxication, Possession of a Firearm and on several occasions
conceded that this was an intentional First Degree Robbery with a Firearm without the consent of
Mr. Bethel.1 Had counsel challenged that the suspects had no intention of taking away property,
then the appellant could not be convicted of the underlying felony of Robbery With a Firearm.
Contrary to his professional duty, defense counsel’s performance fell below the objective
standard of reasonableness required by the Sixth Amendment. Defense counsel gave motive and
demonstrated before the jury the vulnerableness of the victims. If there was a robbery, which is
hard to determine and would be hard for a jury to determine if the charge was challenged,
because the only alleged property taken is an absent cell phone, from a person that jumped a
four-foot Wall with a five-foot drop-off and ran out his shoes in a crowded nightclub parking lot.
No one knows what actually happened to the cell phone,

Third, the volunteering of his property by the robbery victim does not indicate that the
other suspects had prior knowledge that anything would be taken or knowledge that anything
was taken. Prior knowledge and the intention to take away property are elements of First Degree
Robbery. Due to the spontaneity of the victim volunteering his property [which might of saved
his life, because it distracted the man with the gun long enough for him to run] it could not be
proven beyond a reasonable doubt that the other suspects had knowledge or consented to taking
of property. See Rosemond v. United States, 134 S.Ct. 1240, 188L.Ed.2d 248 (2014), the
Supreme Court held, in order to aid and abet, a defendant must have advance knowledge that a
crime will be committed. One of the “basics"’ of aiding and abetting robbery [in addition to
taking away is the requisite act of intent] when he intends to facilitate that offense’s
commission.” See also Williams v. Trammell, 782 F.3d 1184 (10'h Cir. 2015), citing Rosemond,
“Some mutual state beyond “mere assent"' or “acquiescence” is also required. Id. Wingfeild v.
Massie, 122 F.3d 1329, 1332 (10'h Cir. 1997). Whereby, if there was a robbery, which it could

not be proven that there was without defense counsel’s concession. There may have been a

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spontaneous robbery, which did not elevate the other suspects of premeditation consensus that a
robbery would be committed. The only person that offered any evidence of premeditated robbery
or confessed culpability to the robbery was trial defense counsel.

Factually, defense counsel acknowledged the robbery, gave motive, opportunity and
scenarios, whereby, robbery could be accomplished Defense counsel admitted on two (2)
occasions that the gun Bethel possessed was the murder weapon (Tr. 1020). Defense counsel
further gave motive, “And so from about 1130 to 2:00 a.m. in the morning, you have what is
called a target-rich environment, if you’re a crook. You have lots of people, many of whom are
inebriated, getting out of the bar at the same time, going to their cars, and they often have money
and stuff and they have their keys So predators tend to wander by at such times (Tr.

1021) ...“Robbery crews are working the area at this time, .. (Tr. 1022). Defense counsel
concedes that there was a robbery and that it was intentional, which he was the only person to
offer any evidence or confess culpability to robbery. Defense counsel’s concession may not have
been directly confessing the robbery, but overtly confessed that the victims were seasoned for a
robbery and that robbery crews were working the area. The evidence introduced through
affidavits supports the evidence that this was not a robbery. This demonstrates ineffective
assistance of trial counsel. Mr. Bethel had not intended to confess to guilt of robbery and

counsel’s confession was without Petitioner’s consent.

2. PREJUDICE

The Oklahoma rules of Professional Conduct govern attorney conduct in this state. These
rules do not lay the groundwork for claims of ineffectiveness but they are pertinent to any
discussion of attorney conduct when the rules touch on subjects raised in a claim of
ineffectiveness The rules set forth the necessity of open consultation between attorneys and
clients; furthermore, some decisions are left to the client after such consultation. "ln a criminal
case, the lawyer shall abide by the client's decision, after consultation with the lawyer, as to a
plea to be entered, whether to waive jury trial and whether the client will testify." Rule 1.2, Rules
of Professional Conduct, 5 O.S.1991, Ch. 1 , App. 3-A. "A lawyer shall explain a matter to the
extent reasonably necessary to permit the client to make informed decisions regarding the
representation." Rule 1.4(b), Rules of Professional Conduct, 5 O.S.l991, Ch.l, App. 3-A.

Likewise, the decision to concede guilt must be the client's ultimate decision.

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The prosecution was required to prove robbery. Whereby, defense counsel’s declaration
of robbery proved the prosecution’s case determining guilt to the robbery. Defense counsel gave
motive and situations whereby the robbery could be accomplished Had counsel not conceded
that the victims were primed and ready to be robbed and that there was a robbery, whether
directly or overtly, then the state was required to prove the robbery. The. concession allowed the
jury to agree with counsel that a robbery had occurred and convicted Mr. Bethel of First Degree
Robbery with a Firearm. This prejudiced Mr. Bethel. See Jackson v. State, 2001 OK CR 37, 1[ 25,
41 P.3d 395, 400 ("[a] complete concession of guilt is a serious strategic decision that must only
be made alter consulting with the client and after receiving the client's consent or acquiescence.")
Defense counsel’s declaration of robbery prejudiced Mr. Bethel. Had counsel not made the
declaration that a robbery was committed then there is a reasonable probability that the outcome
of the trial would have been different

Under Strickland, Mr. Bethel proves both (l) deficient performance, by demonstrating
that his counsel’s conduct was objectively unreasonable by conceding the robbery, and (2)
resulting prejudice by Mr. Bethel being convicted of the robbery by counsel’s concession.
Wherefore there is a reasonable probability that, but for counsel’s unprofessional error, the result
of the proceeding would have been different Strickland, 466 U.S. at 687-89, 104 S.Ct. at 2064-
66.

Wherefore, Mr. Bethel was prejudice by counsel’s concession to robbery. Therefore,

ineffective assistance of trial counsel has been established and the court should remand Mr.

Bethel’s case, because his Sixth Amendment right to effective assistance was violated.

QNQLHSIQN

Actual innocence is demonstrated above by the newly discovered evidence that both trial
counsel and appellate counsel were ineffective for failing to discover critical reliable evidence of
eyewitness testimony that would have determined that Mr. Bethel was not at the crime scene,
Further, Exhibit B. in Petitioner’s direct appeal, an affidavit from Wanda Janell Smith was
submitted proving that Mr. Bethel was also not at the crime scene and he later left Ms. Smith to
go purchase the weapon that was involved in the crime. In light of the evidence discovered after
trial, had trial counsel presented the testimony of Ms. Smith, Mr. Williams, and Mr. Riley

demonstrating that he was not at the crime scene verses the circumstantial evidence, there is a

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strong probability that the jury’s decision would have been different. As a matter of fact, if the
prosecution would have properly interviewed the aforementioned witnesses, there is a strong
possibility that the state would not have pursued prosecuting Mr. Bethel at all. Further, had trial
counsel investigated, interview, and called the witness the outcome of the trail would have been
different. In addition, had appellate counsel discovered the evidence and introduce it in Mr.
Bethel’s appeal would have produced a different outcome of the appeal. Mr. Bethel is
specifically innocent of the underlying felony of First Degree Robbery with a Firearm. The
witnesses’ affidavits prove that the crime was not a robbery, but the retaliation of a long ongoing
feud between two (2) rivals. Because there was no robbery, then Mr. Bethel cannot be convicted
of the underlying felony, which results in innocence of the Felony Murder.

Wherefore, for the aforementioned reasons the absent witnesses prejudiced Mr. Bethel
and he is actually innocent of the conviction. Therefore, he requests an evidentiary hearing,
where the critical absent witness evidence can be used to determine counsels’ ineffectiveness and
after reaching such a conclusion the court must determine that Mr. Bethel is actually innocent.

Whereby, the conviction should be vacated and remanded with instructions to dismiss

RESPECTFULLY SUB

draw

DeAndre Bethel

#690424

LCF-Lawton

8607 SE Flowermound Rd.
Lawton, OK

  

CERTIFICATE OF VERIFICATION

I state under penalty of perjury under the laws of Oklahoma that the
foregoing is true and correct. -~
q`ZC”`/é’ Lawv‘cw, ()/( fw

(Date and Place)' (Sign;ture)

 

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Case NO. F-2014-336

 

IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA

 

DEANDRE BETHEL

Appellant,

" vs¢
THE STATE OF OKLAHOMA

Appellee.

Appeal from the
District Court of Tulsa County

y
BRIEF OF APPELLANT
M

Jamie D. Pybas
Division Chief
Oklahoma Bar Assoc. No. 13000
Homicide Direct, Appeals Division
Oklahoma Indigent Defense System
P.O. Box 926
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ATTORNEY FOR APPELLANT

December 22, 2014

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BRIEF OF APPELLANT

This brief is submitted on behalf of Deandre Bethel, the defendant in Tulsa
County District Court, who will be referred to by name or as Appellant. Appellee
will be referred to as the State or as the prosecution. Numbers in parentheses refer
to page citations in the original record (O.R.) , preliminary hearing (PH.Tr.) , motion
hearing (M.Tr.), jury trial (Tr. ) and sentencing proceeding, (S.Tr.)

STATEMENT OF THE CASE

Appellant, Deandre Bethel was charged by Amended Information in Tulsa
County Case Number CF-2012-0660, With Count 1, First Degree Felony Murder
during the commission of an Robbery with a Firearm, in violation of Okla. Stat. tit.
21, § 701.7 (2011); Count 2, Robbery with a Firearm, in violation of Okla. Stat. tit.
21, § 801 (2011); Count 3, Transporting a Loaded Firearm in a Motor Vehicle, in
violation of Okla. Stat. tit. 21, § 1289.13 (2011); and, Count 4, Public Intoxication,
in violation of lea. Stat. tit. 37, § 8 (2011). (O.R. 40-45, 65-72)

Mr. Bethel’s jury trial was held before the Honorable James M. Caputo,
District Judge, on February 4-8, 2014, Assistant District Attorneys Kali Strain and
John Salmon prosecuted the case, and StevenVincent represented Mr. Bethel. The
jury found Mr. Bethel guilty on all counts and assessed punishment at life
imprisonment with the possibility of parole in the Oklahoma Department of
Corrections on Count 1; five (5) years imprisonment in the Oklahoma Department
of Corrections on Count 2; five (5) months imprisonment in the Tulsa County jail
and a $250.00 fine on Count 3, and thirty (30) days imprisonment in the Tulsa
Countyjail and a $100.00 fine on Count 4. (O.R. 312-15) When the jury’s judgment
was formally imposed on March 14, 2014, the court ordered the sentences on Counts
1 and 2 to be served consecutive to each other and Counts 3 and 4 to run concurrent

to each other and concurrently to Counts 1 and 2. (S.Tr. 20~21) It is from this

judgment and sentence that Mr. Bethel appeals.

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STATEMENT OF THE FACTS

This case concerns the death of Byron Ivory, Jr., 24, on February 4, 2012, Mr.
Ivory was shot multiple times shortly before 2:00 a.m., in the parking lot outside
Club Pink, at 1800 South Boston Avenue, in Tulsa, Oklahoma. Emergency
personnel were unable to revive Mr. Ivory and he was pronounced dead at St. John
Hospital about 4 1/z hours later. (Tr. 610, 632, 752)

Earlier that evening, Mr. Ivory was hanging out with two friends, Ernest
Roberts and Bradley Jarrett, (Tr. 360, 414) The men met at Mr. Roberts’s
apartment complex around 10:30 or 11:00 p.m. There they had a few drinks and
decided to go to the Gray Snail bar on Cherry Street in Tulsa. (Tr. 361-62, 414-15)
Mr. Ivory drove the group in his 2009 Chevrolet Impala. (Tr. 362, 416) At the Gray
Snail, the men drank rum and beer and listened to music for several hours. (Tr.
416) Around 1:30 a.m., they decided to go to see if any of their friends were at Club
Pink. They arrived shortly before the club was about to close. (Tr. 363-64, 417, 439)
They drove around the parking lot looking for a parking place. The parking lot was
full of cars. (Tr. 401) Mr. Ivory was driving, Mr. Roberts was in the front passenger
seat, and Mr. Jarrett was in the back seat. (Tr. 364, 418) The group found a parking
place next to a railing with a five-foot drop on the other side. They sat there for two
or three minutes As they were about to get out of the car, a short, thin, African
American male, wearing ablack or navy blue hoodie, approached the passenger side
of Mr. Ivory’s vehicle. (Tr. 366-67, 378, 380-81, 419, 423-24, 443) Mr. Roberts
estimated the man was approximately 5'6" or 5'8". (Tr. 380) Mr. Jarrett thought he
was approximately 5'5". (Tr. 441) Mr. Roberts noticed the man had a “chin strap”
which he explained was sideburns connected to a beard, with no mustache. (Tr. 366,
381) According to Mr. Jarrett, the man was staggering like he was drunk. (Tr. 419)

Mr. Roberts’s car door was open and his right foot was out of the car. The

man asked Mr. Roberts, “Do I know you?” (Tr. 366, 392, 420) Mr. Roberts replied,

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“I don’t know.” (Tr. 367, 420) Mr. Ivory said “hurry up, ya’ll, let’s get out of here.”
(Tr. 468) The man put a gun to Mr. Roberts’s right side. Mr. Roberts was scared
and thought he was being robbed. He got out of the car, raised his hands, and asked
the man if he would like his cell phone and wallet. The man answered, “Yes.” (Tr.
368, 370, 392) Mr. Roberts handed him these items. Mr. Roberts clarified that the
man never made any demands or any comments, Mr. Roberts just assumed he was
being robbed. (Tr. 384)

Mr. Jarrett saw a car parked directly behind Mr. Ivory’s Impala. It was a
silver or white four-door sedan. (Tr. 424, 471) The vehicle’s headlights were shining
directly into his eyes. (Tr. 424) He noticed a person standing outside that vehicle,
on the driver’s side. (Tr. 421, 445-47) The man was tall and African American. (Tr.
423, 448) Mr. Jarrett could not see whether the man had a firearm. (Tr. 443)

While the gunman’s attention was diverted, Mr. Jarrett jumped out of the
back seat and ran. (Tr. 371-72, 384, 425) He heard multiple gunshots. (Tr. 425)
Once Mr. Roberts handed over his possessions he jumped over the rail and also
fled. Mr. Roberts was unsure whether Mr. Ivory was standing outside the car on the
driver’s side or if he was still in the car when the incident occurred. (Tr. 368, 371)
As Mr. Roberts was running away, he thought he heard Mr. Ivory struggling with
someone. He heard what he described as “rustling” sounds. (Tr. 373, 383)

Mr. Roberts ran to Club Pink, which was about 20 yards away. After he took
two or three steps, he heard between five and ten gunshots. (Tr. 373, 387) Mr.
Roberts told one of the security guards at Club Pink that he had been robbed. (Tr.
390) He reunited with Mr. Jarrett at Club Pink. Mr. Jarrett was not wearing any
shoes. He said his black Nike tennis shoes had fallen offwhile he was running away.
(Tr. 395, 425, 453; State’s Exs. 58-60) The two men were shocked and scared and
wanted to get out of the area. They saw a friend at the club and asked for a ride to

Mr. Roberts’s apartment. (Tr. 375-76, 429, 459) From there, the two decided to go

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to Mr. Roberts’s parents’ house in Bartlesville, arriving around 3:00 a.m. They tried
calling Mr. Ivory several times on the way but could never reach him. (Tr. 376-77,
378, 402, 428, 456) Around 8:30 or 9:00 a.m. that morning, they received a call from
a Tulsa Police Detective informing them that Mr. Ivory had died. The two men
returned to Tulsa to talk to detectives about the homicide. (Tr. 432, 461) 4

Justin David White, and Clayton Lee Ayers, firemen with the City of Tulsa,
were at Station Five, their duty station, located at 18°h and Boston on February 4,
2012. Between 1:30 a.m. and 2100 a.m., the two men heard shots fired in the parking
lot west of the fire station, near Spirit Bank. (Tr. 479, 501) Mr. White estimated he
heard between nine and twelve gunshots. (Tr. 479, 495) Mr. Ayers thought there
were six or seven shots. (Tr. 504) The two men said they ducked behind their fire
truck when they heard the shots. (Tr. 479, 505)

Mr. White testified he saw a white, four-door, Chevrolet Cobalt leaving the
area where the shots were fired at a high rate of speed. (Tr. 481, 488) He identified
States’s Exhibit 3 as similar to the vehicle he saw that evening. (Tr. 485) He
noticed the rear driver’s side door of the vehicle was open and an individual was
getting into the moving vehicle as it was driving off. Mr. White could not tell the
race or gender of this person. (Tr. 488-89, 515) He testified there were no
distinguishing marks on the car, such as decals or dents. (Tr. 486)

The white car came out of the parking lot directly to the west of the station,
turned south on Boston, and then went west when it reached 21“° street. (Tr. 486,
491, 507) Both men saw another darker colored vehicle rapidly leaving the area in
the same direction as the first vehicle, but were not sure whether that vehicle was
associated with the incident. (Tr. 490, 498, 508) At the time of the gunshots, there
were approximately 30 or 40 people leaving the bars in the area. (Tr. 496, 5171

Mr. White reported the gunshots to the Tulsa Police Department and went

to the parking lot with Mr. Ayers, (Tr. 482-83, 506-07) They saw two people

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standing near a large, black, male lying facedown between two vehicles at the north
end of the parking lot. (Tr. 483, 509, 519) Mr. Ayers raised the man’s shirt and
observed three or four gunshots wounds The victim was still breathing but was
gasping for air. (Tr. 484, 509- 10) Mr. White started assisting him until EMSA arrived
a short time later and took over his medical care. (Tr. 484, 51 1)

Deandre Bethel was developed as a suspect in the shooting when he was
stopped by police later that morning, around 6:00 a.m., in a white Chevrolet Cobalt
which matched the description of a vehicle seen leaving the crime scene, At that
time, Mr. Bethel was arrested for transporting a loaded firearm and public
intoxication. The .40 caliber Smith and Wesson semiautomatic handgun taken
during this arrest was later linked forensically to the crime. Tulsa Police Officer
Amley Floyd testified about this arrest oer. Bethel. Officer Floyd was working the
graveyard shift on February 4, 2012, He received a call from EMSA around 5:20 a.m.,
reporting that an ambulance had stopped at the intersection of Apache and Lewis
and noticed an individual, who appeared to be passed out, behind the wheel of a
vehicle with a gun in the passenger seat next to him. (Tr. 542, 558, 582-85) Officer
Floyd went to the intersection and saw a white, Chevy Cobalt with a paper tag. The
driver did not move and the car remained parked at the intersection even though
the light went through several cycles. (Tr. 543) Officer Floyd thought the driver
was intoxicated or asleep at the wheel. (Tr. 544) He could tell the car was running
and there was only one person in the car. Because he had been informed there was
a firearm in the car, he waited for backup to arrive. (Tr. 545) Officers Ian Adair and
Charles Ramsey arrived and assisted with the stop. (Tr. 586-87)

Officer Floyd activated his lights and sirens and gave the driver of the vehicle
commands over the loud speaker to place his hands up and put the vehicle in park.
(Tr. 545-46) Officer Floyd said the driver lifted his head up and the vehicle

proceeded through the intersection after the light turned green. (Tr. 546) The

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vehicle began moving slowly, around five or ten miles per hour northbound. It
traveled approximately 800 to 1000 feet and then stopped. (Tr. 547, 587) As the
officers approached the vehicle, they could see the driver leaning over the
passenger seat and reaching for the floorboard. Officer Floyd ordered the driver
out of the vehicle, (Tr. 548-49, 588)

Officer Floyd and Officer Adair both identified Deandre Bethel as the driver.
(Tr. 548, 588) Mr. Bethel got out of the car very slowly. Officer Floyd instructed Mr.
Bethel to turn around and he made several full turns. Mr. Bethel was unsteady on
his feet and staggering. As he was turning around, he kept falling over. (Tr. 551,
589) Officer Floyd placed handcuffs on Mr. Bethel. Both he and Officer Adair
noticed a strong odor of alcohol corning from Mr. Bethel’s person. He was slurring
his speech and his eyes were bloodshot. (Tr. 551, 589) Officer Floyd gave Mr. Bethel
a sobriety test, during which he observed signs of intoxication He said Mr. Bethel
was falling over during this test. Officer Floyd was concerned for his safety. (Tr.
553) Officer Floyd informed Mr. Bethel of his Miranda rights Mr. Bethel asked
what his charges were and Officer Floyd told him public intoxication and
possession of a firearm. Mr. Bethel asked where the firearm was and Officer Floyd
told him it was inside the vehicle, (Tr. 553-54) Mr. Bethel told Officer Floyd he
bought the firearm because he was advised by a police officer that someone was
trying to kill him and he needed a gun for protection. (Tr. 554, 601) Mr. Bethel said
he thought he been at a bar until around midnight but did not remember leaving
the bar or how he ended up at the traffic light at Apache and Lewis. (Tr. 554)

Officer Floyd placed Mr. Bethel under arrest and booked him for public
intoxication. His breathalyzer test registered a .04, below the legal limit for DUI.
(Tr. 555) Officer Floyd testified there was no doubt in his mind that Mr. Bethel was
"‘highly under the influence of something.” (Tr. 556, 562) His condition got worse

even after he took the sobriety test. He was harder to wake up, and Officer Floyd

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had to continue to lean him up against the wall. He said Mr. Bethel repeatedly
asked him why was he there. (Tr. 556, 567)

officer Stanley conducted an inventory search of the vehicle after Mr. Bethel
was arrested, in accordance with police department policy. (Tr. 590, 603) A
handgun magazine was located on the driver’s side floorboard containing live
rounds. Underneath the driver’s seat, Officer Stanley found an unloaded silver and
black, Smith and Wesson, .40 caliber handgun. (Tr. 559-60, 590-91, 596; State’s
Exhibits 7, 8) Mr. Bethel’s vehicle was taken into police custody and towed to the
Gilcrease Division impound lot, (Tr. 568, 592) Officer Floyd and Officer Stanley
both said they did not know anything about the shooting of Byron Ivory, Jr. at that

point-..1 (Tr. 568, 605)

Tulsa Police Detective Kyle Martin Ohrynowicz recorded a video of the crime
scene which was admitted at trial as State’s Exhibit 64. (Tr. 611) Detective
Ohrynowicz narrated the video for the jury and pointed out the location of the
evidence in the case, including the location of bullet fragments and cartridge
casings at the sc_ene. Most of the evidence was located between a black SUV and
the victim’s silver Impala. (Tr. 614-54) Detective Ohrynowicz admitted he could
not determine when this evidence was left at the scene. (Tr. 654)

Terrance Higgs, a Firearm and Toolmarks Examiner with the Oklahoma State
Bureau of Investigation, testified he examined State’s Exhibit 8, the .40 caliber
Smith and Wesson, semiautomatic pistol taken from Mr. Bethel’s car, after it was
submitted by the Tulsa Police Department. The pistol held 1 1 cartridges, ten in the
magazine and one in the chamber. (Tr. 689-690) Agent Higgs determined the pistol

was in working order. (Tr. 691) He compared casings, bullets and bullet fragments

 

‘ Officer Floyd revealed at trial that he had been good friends with Byron Ivory, Jr.
and had gone to high school with him for four years. (Tr. 568-69)

collected from the scene to ones fired from the pistol. (Tr. 692) He concluded that
State’s Exhibits 12, 19 and 66, two shell casings and one bullet fragment, had all
been fired from State’s Exhibit 8. (Tr. 692-96, 886) Agent Higgs testified there were
at least four separate firearms involved in the shooting: a .357/.38 special, a .45 Hi-
Point, a .40 Glock or Sigma and the .40 caliber Smith and Wesson. (Tr. 715-16) His

report was admitted at trial as State’s Exhibit 71. (Tr. 713)

Medical Examiner Joshua Lanter testified that he conducted an autopsy of

_ Byron Ivory, Jr., on February 12, 2012, (Tr. 751) Dr. Lanter’s autopsy report and

diagram were admitted at trial as State’s Exhibit 73. (Tr. 754, 765) He identified ten
separate gunshot wounds to Mr. Ivory’s body, mostly in the torso area. (Tr. 755-61)
Dr. Lanter opined that the wound to Mr. Ivory’s back and lung, and the wound to
his chest which involved the aorta and large bowel, could have been lethal alone.

Collectively, these wounds would almost certainly have been lethal. (Tr. 762) Dr.
Lanter also thought that the blood loss Mr. Ivory sustained from the remaining
bullet wounds could ultimately have been lethal as well. He removed a projectile
from Mr. Ivory’s knee region and provided it to the police. (Tr. 763-764, 767; State’s
Ex. 68) Toxicology tests revealed an ethanol alcohol concentration of .06 in the
victim’s blood and .07 percent in the fluid ofhis eye. (Tr. 773) Dr. Lanter concluded
that the cause Mr. Ivory’s death was multiple gunshot wounds and the manner of
his death was homicide. (Tr. 765)

Tulsa Police Detective Jason White testified he obtained and reviewed
State’s Exhibit 72, video surveillance from the Spirit Bank parking lot. He claimed
he could see a four-door sedan pull up behind the victim’s car approximately two-
and-a-half minutes after the victim pulled into the parking space. (Tr. 791-92) He
testified the video showed occupants of this vehicle approaching the victim’s car,
followed by a muzzle flash and then multiple individuals reentering the vehicle and

two vehicles leaving the scene at a high rate of speed. (Tr. 797) One vehicle went

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southbound on Boston and another went westbound on 21*‘t street. (Tr. 798)
Detective White noted that the parking lot was full of cars at this time, but not
people, as it was 1:40 a.m. and the bars had not yet closed. (Tr. 798) _ j

Detective White said he interviewed Tulsa Fireman Jason White, who told
him he got a good look at one of the suspect vehicles He described it as a white,
four-door Chevy Cobalt. (Tr. 802) Detective White claimed he received information
that Deandre Bethel had been involved in a disturbance at Club Pink that evening.
He also learned that Mr. Bethel had been stopped and arrested in the area of
Apache and Lewis in a white Chevy Cobalt. At the time of this arrest, Mr. Bethel
was in possession of a firearm consistent in caliber with one used in the shooting.
(Tr. 804) Detective White retrieved this firearm from the property room in order to
submit it for comparison with the known evidentiary items from the scene of the
shooting. (Tr. 803, 804) He subsequently discovered that several of the casings
and a bullet fragment collected from the parking lot matched the firearm taken
from Mr. Bethel’s vehicle during this earlier arrest. (Tr. 804-09)

On the basis of this evidence, Mr. Bethel was arrested by the warrant squad
around 1 1 :00 a.m. on December 8, 2012, and charged with the murder oforon Ivory,
Jr. (Tr. 739~42, 812) He was brought to the detective division for an interview, which
was admitted at trial as State’s Exhibit 74. (Tr. 818). After being advised of his
Miranda rights, Mr. Bethel agreed to talk to the detectives (Tr. 814-16; State’s
Exhibit 75) According to Detective White, Mr. Bethel told him he did not remember
anything from 8:00 p.m. until the time he was stopped by police around 5:00 a.m.
He could not remember what he was wearing that evening, (Tr. 822-23, 885) Mr.
Bethel told Detective White that he bought the gun from a guy with dreads that he

thought was named Rio, but Detective White claimed he was unable to corroborate

this information. (Tr. 835, 865; State’s Ex. 74) .2 During the interview, Mr. Bethel’s

clothing was collected. His gray Carolina hoodie was admitted at trial as State’s
Exhibit 26, but it was never linked to the crime. (Tr. 836)

Detective White admitted he did not locate any fingerprints or DNA evidence
linking Mr. Bethel to the homicide. (Tr. 892-901) He admitted police did not process
the firearm to determine if any fingerprints could be linked to the person who sold
the weapon to Mr. Bethel. (Tr. 901) Detective White said Mr. Roberts’s wallet was
recovered under the victim’s body but his cell phone was never recovered. Two cell
phones were located in Mr. Bethel’s vehicle after his arrest but neither was Mr.
Roberts’s cell phone, (Tr. 923) Although Mr. Bethel’s house was searched, no
evidence associated with the homicide was recovered. (Tr. 926)

Deandre Bethel testified on his own behalf. He told the jury that he did not
kill or rob Byron Ivory, Jr., and that he had never seen Mr. Ivory before in his life.
(Tr. 979) He said he could not remember whether he was at Club Pink on the
evening/morning hours of February 3-4, 2012. (Tr. 980, 987) At the time of the
incident he drove a 2009 Chevy Cobalt. He purchased the vehicle on January 9,
2012, and it still had a temporary tag on February 4, 2012. (Tr. 980) He did not
believe his vehicle was at or near Club Pink that night but admitted he had memory
problems because he was under the influence of alcohol and had taken a Xanax bar.
He said Xanax “takes you out of it” and alcohol intensifies this effect. (Tr. 981)

Mr. Bethel testified he was wearing a light-colored, button-up, collared shirt,
blue-gray jeans and gray Nike shoes when he was arrested that morning, (Tr. 982)
He did not remember changing his clothes at any time that evening, (Tr. 982)

Mr. Bethel said he told police he had bought this silver and black firearm

 

3 Detective White testified that there was a robbery reported at the Mercury Lounge
across the street a few minutes before the shooting. (Tr. 914) Interestingly, one of the

individuals involved in the robbery was reported to have “a beanie with some dreads hanging
out." (Tr. 919)

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find beyond a reasonable doubt that Mr. Bethel committed the robbery that
occurred outside the Club Pink that night, or that Mr. Bethel knowingly and with
criminal intent aided and abetted Deandre Williams or anyone else in committing
that crime. Therefore, his convictions for the robbery and the murder predicated
on that offense rest on insufficient evidence in violation of the Due Process Clause
of the Fifth and Fourteenth Amendments See Jaclcson v. Virgz°nia, 443 U.S. 307, 99
S.Ct. 2781, 61 L.Ed.2d 560 (1979). Accordingly, Counts 1 and 2 must be vacated.
PROPOSITION ll

MR. BETHEL’S CONVICTION AND SENTENCE FOR. COUNT II, ROBBER.Y WITH
A FIREARM, MUST BE VACATED BECAUSE THE SAME CHARGE SERVED AS
THE UNDERLYING FELONY FOR HIS CONVICTION OF FELONY MUR.DER, IN

VIOLATION OF THE FIFTH AND FOURTEENTH AMENDMENTS TO THE

UNITED STATES CONSTITUTION AND ARTICLE II, § 21 OF THE OKLAHOMA
CONSTITUTION.

As argued in Proposition l, the conviction for First Degree Felony Murder
cannot be upheld because the evidence is legally insufficient to prove Mr. Bethel
guilty of the predicate felony, and thus also insufficient to prove the murder. _lf this
Court rejects this argument and upholds the conviction for First Degree Felony
Murder on Count 1, then the Double Jeopardy Clauses of the federal and state
constitutions require that the predicate felony, Robbery with a Firearm, be

vacated. U.S. Const. amend. V; Okla. Const. art. 2, § 21; see also Okla. Stat. tit. 21,
§ 11 (2011).

The State charged Mr. Bethel in Count 1 of the Amended Information with

First Degree Felony Murder as follows:

DEANDRE BETHEL and DEANDRE ARMON WILLIAMS, on or about
2/4/2012, in Tulsa County, State of Oklahoma and within the jurisdiction of
this Court, did commit the crime of FELONY MURDER-FIRST DEGREE, a
Felony, by unlawfully, feloniously, and willfully while acting in concert each
with the other and with other unknown individuals and during the
commission of an attempted robbery with a firearm of Byron James Ivory Jr.,
Ernest Jordan Roberts and Bradley Jarrett w/a firearm, without authority of
law, effect the death of Byron James Ivory Jr. by shooting him then and there
and thereby inflicting certain mortal wounds in the body of said Byron J ames
Ivory Jr. from which mortal wounds the same Byron J ames Ivory Jr. did

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languish and die on the 4th day of February 2012,
(O.R. 129) Mr. Bethel was convicted at trial of First Degree Felony Murder as
alleged in Count 1. (O.R. 312; Tr. 1063-64) The underlying felony of Robbery with a

Firearm alleged in Count I was the identical robbery that was independently

charged in Count II of the Amended Information:

DEANDRE BETHEL and DEANDRE ARMON WILLIAMS, on or about
2/4/2012, in Tulsa County, State of Oklahoma and within the jurisdiction of
this Court, did commit the crime of ROBBERY WITH A FIREARM, a Felony,
by unlawfully, feloniously, and wrongfully, while acting in concert each with
the other and with other unknown individuals rob one Byron J ames Ivory Jr.,
Ernest Jordan Roberts, and Bradley Jarrett by wrongfully taking and
carrying away certain personal, to-wit: money and cell phones, belonging to
Byron J ames Ivory Jr., Ernest Jordan Roberts, and Bradley Jarrett and in the
possession of said Byron J ames Ivory Jr., Ernest Jordan Roberts, and Bradley
Jarrett, and in their immediate presence, without their consent and against
their Will, said robbery being accomplished by said defendants with the use
of a certain firearm, to-wit: handguns, and which they used to menace and
threaten the said Byron James Ivory Jr., Ernest Jordan Roberts, and Bradley
Jarrett with harm if they resisted, and by said assault, threats and menace,
did then and there put the said Byron J ames Ivory Jr., Ernest Jordan
Roberts and Bradley Jarrett in fear of immediate and unlawful injury to their
person and overcame all their resistance, and while so intimidating them, did

then and there wrongfully take and obtain from them the personal property
and money aforesaid,

(O.R. 129) In addition to being found guilty and receiving a sentence oflife with the
possibility of parole for the felony murder in the course of a robbery with a firearm,
Mr. Bethel was convicted separately of this same robbery as to these same victims
and sentenced to five (5) years imprisonment. (O.R. 313; Tr. 1063-64)

Whether Mr. Bethel’s convictions for both First Degree Felony Murder and
Robbery with a Firearm violate the prohibition against double punishment is a
question of law which this Court reviews de novo. Coffia v. State, 2008 OK CR 24,
191 P.3d 594, 596. “Issues of law are reviewable by a de novo standard and an
appellate court claims for itself plenary independent and non-deferential authority
to reexamine a trial court’s legal rulings.” Klut)er v. Weatherford Hosp. Auth., 859

P.2d 1081, 1084 (Okla. 1993) (citing Sal‘ve Regina COll. ‘U. Russell, 499 U.S. 225, 231,
111 S.Ct. 1217, 1221, 113 L.Ed.2d 190 (1991)).

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Clearly, the predicate felony of Robbery with a Firearm as to these three
victims merged into the proof required for Mr. Bethel’s conviction of First Degree
Felony Murder. The Double Jeopardy Clause prohibits convictions for felony
murder and the underlying felony, See Harrz's v. Oklahoma, 433 U.S. 682, 382-83, 97
S.Ct. 2912, 53 L.Ed.2d 1054 (1977); Whalen v. United States, 445 U.S. 684, 693-94, 100
S.Ct.1432, 63 L.Ed.2d 715 (1980). Where proof of the felony is a necessary element
of the felony murder, the offense is the same, and the defendant cannot be punished
for both. Id. at 694. The appropriate remedy is to vacate the conviction for the
underlying felony. See Per‘ry v. State, 1993 OK CR 5, 853 P.2d 198, 200-01 (vacating
conviction for robbery where defendant was convicted of robbery and felony murder
on the basis of that robbery because convictions for both violated double jeopardy);
Jefferson v. State, 1984 OK CR 27, 675 P.2d 443, 447 (same); Stiles v. State, 1992 OK
CR 23, 829 P.2d 984, 995 (same). Counts 1 and 2 both alleged the same actions
against the same victims Because Count 2 was the predicate felony for the
conviction on Count 1, this Court must order the conviction for Robbery with a
Firearm dismissed as it is wholly subsumed by the Felony Murder conviction.

PROPOSITION III
THE TRIAL COURT COMMITTED FUNDAMENTAL ERROR BY FAILING TO
INSTRUCT THE JURY ON THE LESSER OFFENSES OF SECOND DEGREE
DEPRAVED MIND MURDER, SECOND DEGREE FELONY MUR.DER, AND
ACCESSOR.Y AFTER THE FACT, IN VIOLATION OF MR. BETHEL’S RIGHTS TO
DUE PROCESS AND A FAIR TRIAL UNDER THE FIFTH AND FOURTEENTH

AMENDMENTS TO THE UNITED STATES CONSTITUTION AND ARTICLE lI, §§
7 AND 20 OF THE OKLAHOMA CONSTITUTION.

Mr. Bethel was convicted ofFirst Degree Felony Murder and sentenced to life
imprisonment with the possibility of parole. (O.R. 312, 376-77; Tr. 1063) The jury
was given no options other than guilt or innocence for First Degree Murder because
the trial court did not provide the jury with instructions on any lesser offenses
Although Mr. Bethel argued in Proposition I that the evidence was insufficient as

a matter of law to sustain the conviction, he alternatively submits that in the event

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this Court finds the evidence sufficient, the evidence also was sufficient to warrant
lesser related offense instructions

Oklahoma statutes authorize instructions on lesser offenses when
appropriate Okla. Stat. tit. 22, §§ 837, 916 (2011). When one is charged with First
Degree Murder, all lesser forms of homicide are necessarily included and
instructions on lesser forms of homicide should be given if they are supported by
the evidence, Childress v. State, 2000 OK CR 10, 1 P.3d 1006, 1101-02. Moreover,
where there is any evidence tending to reduce the crime charged from murder to a
lesser degree of homicide, the trial court should give the defendant the benefit of
the doubt’and instruct the jury on the lesser offense. Tarter v. State, 1961 OK CR
18, 359 P.2d 596, 597,

Prior to closing arguments the trial court asked defense counsel if he had
any proposed instructions Counsel offered no proposed lesser offense instructions
(Tr. 1000-01) Despite this lapse in representation, which is the subject of a claim
of ineffective assistance of counsel in Proposition X, under Oklahoma law the trial
court had an absolute duty to instruct the jury on any lesser included offense
supported by the evidence, whether requested or not. See Stanley v. State, 1988
OK CR 151, 762 P.2d 946, 949; Walton 1). State, 1987 OK CR 227, 744 P.2d 977, 978;
Williams v. State, 1973 OK CR 354, 513 P.2d 335, 339; Tarter v. State, 1961 OK CR 18,
359 P.2d 596, 597, 600-601. The following lesser offenses were supported by the
evidence and the jury should have received instructions on each of these offenses

A. Second Degree Depraved Mind Murder.

The evidence as presented to the jury supported the lesser offense of Second
Degree Depraved Mind Murder under Okla. Stat. tit. 21, § 701.8 (1) (2011). There
are two elements to this crime: first, that the conduct Was “imminently dangerous
to another person,” and second, that the conduct “evinced a depraved mind in

extreme indifference to human life.” OUJI-CR (2d) 4-91. A person evinces a

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“depraved mind” when he engages in imminently dangerous conduct with
contemptuous and reckless disregard of, and in total indifference to, the life and
safety of another. “Imminently dangerous conduct” means conduct that creates
what a reasonable person would realize as an immediate and extremely high
degree of risk to another person. Instruction No. 4-91, OUJI-CR (2d); Palmer v.
State, 1994 OK CR 16, 871 P.2d 429, 432-33, overruled on other grounds by
Willingham v. State, 1997 OK CR 62, 947 P.2d 1074.

Oklahoma law has long required that for conduct to evince a depraved mind,
it must be done with a conscious disregard of the obvious danger to others See
Jewell v. Territory, 1896 OK 16, 43 P. 1075, 1082. The act or conduct must be
“calculated” to put life in jeopardy and “perpetrated with the full consciousness
ofthe probable consequences.” Massie v. State, 1976 OK CR 174, 553 P.2d 186, 191;
see also Palmer v. State, 871 P.2d at 432-33. The examples of conduct evincing a
depraved mind - firing a gun into a crowd of people, poisoning a public water well,
derailing a speeding train, blowing up a building that the person knows to be
occupied - all have one common fact that distinguishes them from lesser degrees
of homicide, Jewell v. Terrt`tory, 43 P. at 1078. That fact, as this Court stated in
Dermis v. State, 1977 OK CR 83, 561 P.2d 88, 95, is that “death to someone is so
probable that the law will infer an intent.”

An instruction on this offense would have allowed the jury to find that
although Mr. Bethel may not have intended to kill Mr. Ivory, his decision to
participate in a robbery when armed participants were involved and weapons were
discharged in an area full o`f people was an act imminently dangerous to Mr. Ivory
and other people in the vicinity, and evinced a depraved mind regardless of human
life. See Palmer v. State, 871 P.2d at 431-433; Breshers v. State, 1977 OK CR 331, 572
P.2d 561, 563-565, 568. Shooting into a crowd of people is a classic example of
depraved indifference to human life, the defining element of this form of Second

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Degree Murder. See, e.g., Woods v. State, 602 So.2d 1210, 1212-13 (Ala. Crim. App.
1992); Neitzel v. State, 655 P.2d 325, 327 (AlaskaApp. 1982);Humphr1°.es v. State, 18
So.3d 305, 309 (Miss. Ct. App. 2009).

Mr. Bethel was entitled to have Second Degree Depraved Mind Murder
considered by his jury, and was deprived of this entitlement.' A rational jury could
have inferred from the evidence presented that Mr. Bethel acted not with an intent
to kill but with a depraved mind, evidenced by imminently dangerous conduct. If
the jury had been instructed on Second Degree Murder, Mr. Bethel would have
faced different elements of proof, as well as different punishment ranges The
punishment range for Second Degree Murder is ten (10) years to life imprisonment.
Okla. Stat. tit. 21, § 701.9 (B) (2011). When thejury was not instructed upon Second
Degree Murder, it was denied the ability to consider the evidence and_ the actions
of Mr. Bethel as to this critical lesser offense. Accordingly, his conviction must be

reversed for a new trial.

B. Second Degree Murder with Robbery by Force and Fear as the
UnderlyingFelony.

Oklahoma’s Second Degree Felony murder doctrine is set forth in Okla. Stat.'
tit. 21, § 701.8 (2011) which states “Homicide is murder in the second degree in the
following cases: 2. When perpetrated by a person engaged in the commission of
any felony other than the unlawful acts set out in Section 1, subsection B, of this
act.” Section 701.8(2) is felony murder when the underlying felony is any felony
other than those enumerated in section 701.7(B). In the instant case, the evidence
would have permitted the jury to find Mr. Bethel guilty of the underlying felony of
First Degree Robbery, Okla. Stat. tit. 21, § 791, et seq. Section 791 defines robbery
as the wrongful taking of personal property in the possession of another, from his
person or immediate presence, and against his will, accomplished by means of force

or fear. Section 797 ( 1) specifies that robbery will be ofthe first degree when, during

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the course of the robbery, the defendant inflicts serious bodily injury upon the
person. Oklahoma defines Robbery by Force or Fear as “a wrongful taking of
personal property in the possession of another, from his person or his immediate
presence, and against his will, accomplished by means of force or fear.” Okla. Stat.
tit. 21, § 791 (2011).

The State’s theory was that Mr. Bethel was with a group of individuals who
attempted to take money and/or property from Byron Ivory, Ernest Jordan and
Bradley Jarrett by force or fear by ambushing them in the parking lot. If the jury
chose to believe Mr. Bethel was a participant but did not shoot or brandish a gun
that evening, it could have found him guilty of this form of robbery.

Another possible underlying felony for an instruction on Second Degree
Felony Murder could have been premised on the felony of Assault with a Dangerous
Weapon or Aggravated Assault and Battery pursuant to Okla. Stat. tit. 21, §§ 645
and 646(A) (1) (2011). If the jury chose to believe Mr. Bethel fired a weapon at the

other occupants of the car, he could be found guilty of Second Degree Felony

Murder using one of these felonies as the underlying crime.'7

Second Degree Murder is punishable by a sentence of not less than ten years
nor more than life. Okla. Stat. tit. 21, § 701.9 (B). Had the jury been instructed on
lesser related offenses and convicted Mr. Bethel on any of them, he would have
faced a punishment potentially less than he faced on the First Degree Murder
charge. Mr. Bethel submits that this was fundamental error and warrants plain
error review. Neglecting to instruct the jury on the appropriate lesser related
offenses constituted a serious violation of due process of law and deprived Mr.
Bethel of rights essential to his defense. Hiclcs v. Oklahoma, 447 U.S. 343, 345-346,

100 S.Ct. 2227, 2229-30, 65 L.Ed.2d 175 (1980)(holding that an arbitrary denial of

 

" With the demise of the merger rule, there would be no impediment to the use of

these crimes as the underlying felony. See Barnett v. State, 2011 OK CR 28, 263 P.3d 959.

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rights provided by State law, in that case the right to have the jury decide

punishment, is a violation of due process of law); Simpson v. State, 1994 OK CR 40,
876 P.2d 690, 695.

C. Accessory.

Clearly, Appellant’s theory of defense was that he was not involved in the
alleged robbery or the resulting homicide, but the evidence could supported the
argument that he was at least an Accessory After the Fact. In order to be guilty of
being an Accessory, the accused must “conceal or aid the offender with knowledge
that he [the offender] has committed a felony, and with such intent that he may
avoid or escape from arrest, trial, conviction, and, or punishment. . .” Okla. Stat.
tit. 21, § 173 (2011). Under the facts of this case, a reasonable jury could have
doubted whether Mr. Bethel was indeed “a willing participant in this robbery” and
concluded that_ he had aided Mr. Williams or others knowing they had just
committed a felony and with an intent to help them avoid arrest and prosecution.
Given Mr. Bethel’s possession of a weapon associated with the homicide and a
vehicle matching the description of one of the getaway cars after the crime had

been committed, there is ample evidence supporting an instruction on this offense

and the jury should have been so instructed.8 Accessory After the Fact to First

Degree Murd er is a very serious crime carrying a range of punishment from five (5)
to forty-five (45) years Okla. Stat. tit. 21, § 175 (5) (2011). If the jury had been
instructed on this offense, it could have found Mr. Bethel of a serious felony and
sentenced him to imprisonment for his connection to the murder without having
to impose a minimum life sentence. Instructions on Accessory would have provided
a third alternative, but instead the jury was forced to chose between a conviction

for Murder in the First Degree or out right acquittal for a homicide, Given only the

 

° An instruction on the lesser related offense of Accessory can be appropriate in a
murder case, See Glossip v. State, 2001 OK CR 21, 29 P.3d 597,

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choice between finding him guilty of an offense the State did not prove or letting
him go free despite his involvement, the jury opted for the former, although it
clearly struggled with this decision as the jury deliberated well into the early
morning hours (Tr. 1056-63) The realization that juries will do this is why
instructions on lesser offenses must be given. See, e.g., Keeble v. United States, 412
U.S. 206, 212-13, 93 S.Ct. 1993, 1998, 36 L.Ed.2d 844 (1973).

By failing to request instructions on Accessory as a lesser related offense,

trial counsel waived for Appellant all but plain or fundamental error.9 Williams v.

State, 2001 OK CR 9, 22 P.3d 702, 713. Fundamental error is error that goes to the
foundation of the case or takes from a defendant a right essential to his defense.

See Simpson v. State, 1994 OK CR 40, 876 P.2d 690, 695 (citing, inter alia, Rea 1).
State 3 Okl.Cr. 281, 105 P. 386 (1909) (Syllabus 2(c))). Appellant submits that
under the facts in this case, the failure to provide instructions on Accessory both
went to the foundation of the case and took from Appellant a right essential to his
defense. As this Court has recognized, “The people of this State are, in the most
literal sense, a party to every criminal prosecution. The public has an undeniable
interest in seeing that offenders are appropriately punished for their crimes.”

McHam 1). State, 2005 OK CR 28, 126 P.3d 662, 669 temphasis added) . Thejury could
not determine the appropriate punishment for Mr. Bethel without correctly
assessing the crime of which he was guilty. Because the instructions prevented the
jury from making an accurate assessment of Appellant’s guilt, his convictions must

be reversed.

 

° In Proposition X, Appellant claims that trial counsel was constitutionally

ineffective for falling to request such an lnstruction.

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PROPOSITION IV
THE TRIAL COURT ERRED IN FAILING TO COMPLY WITH THE LAW
GOVERNING CONTACT WITH JURORS DURING DELIBERATIONS AND BY
FAILING TO ADVISE DEADLOCKED JURORS NOT TO SURRENDER THEIR
HONEST CONVICTIONS CONCERNING THE WEIGHT OF THE EVIDENCE IN
ORDER TO REACH A VERDICT, IN VIOLATION OF OKLA. STAT. TIT. 22, § 894
AND MR. BETHEL’S RIGHTS UNDER THE SIXTH AND FOURTEENTH

AMENDMENTS TO THE UNITED STATES CONSTITUTION AND ARTICLE II, §§
7, 19 AND 20 OF THE OKLAHOMA CONSTITUTION.

The trial court handled questions during jury deliberations in a manner
contrary to the clear command of statute and directives by this Court, The law
dictates that prejudice be presumed, and the facts of this case do not overcome
that presumption. Accordingly, Mr. Bethel’s convictions must be overturned.

After the jury retired to deliberate Mr. Bethel’s fate at 6:04 p.m., they sent
out four separate notes to the trial court. (Tr. 1056) At 7:20 p.m., the jury sent out
its first note requesting a DVD player and a television. (Tr. 1062) Apparently, the
trial court never saw this note as it was given directly to the bailiff, who provided
the jury with a television and DVD player. (Tr. 1062) At 11:06 p.m., the jury sent a
second note, which contained two questions: (1) “What should we do if we can not

come to a unanimus (sic) decision?”, and (2) “If we have unanimus (sic) decisions

’ on some counts - how do we proceed?” (Tr. 1059; Court’s Exhibit)10 The trial court

responded in writing at 11:30 p.m., telling the jury, “Please continue to delib_er te
on those counts which you have not yet reached a unanimous decision.” (Tr. 1060;
Court’s Exhibit) At 12:14 a.m., the trial court received another note from the jury
that said, “Can the court contact family members of the jury and let them know we
are ok and still on duty?” (Tr. 1060; Court’s Exhibit) The trial court again
responded in writing, informing the jury that “You were all advised to alert your

families that you would be in deliberations until complete.” (Tr. 1060; Court’s

 

‘° Although the trial court included these notes as part of the record on appeal, he
did not designate a particular Court’s Exhibit number for each note.

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Exhibit) The trial court later told counsel that he did not notify the parties about
this note because he did not believe it was anything “germane” to the facts of the
case. (Tr. 1060~61) The jury sent a final note at 12:55 a.m., indicating it had
“reached our verdicts.” (Tr. 1061; Court’s Exhibit)

The trial court erred in his handling of the jury’s questions First, he failed
to bring the jury back into the courtroom on each of the notes The Oklahoma
Legislature has mandated how jury questions are to be handled procedurally. If
jurors have a question on a point of law during deliberations the trial court is
required to inform counsel and to bring the jury back into the courtroom to give
them further information. Mitchell v. State, 2011 OK CR 26, il 130, 270 P.3d 160; see
also Rogers 1). United States, 422 U.S. 35, 95 S.Ct. 2091, 45 L.Ed.2d l (1975); Shz'elds
v. United States, 273 U.S. 583, 585, 588, 47 S.Ct. 478, 71 L.Ed. 787 (1927). Oklahoma

law requires:

After the jury have retired for deliberation, if there be a disagreement
between them as to any part of the testimony or if they desire to be informed
on a point of law arising in the cause, they must require the officer to conduct
them into court, Upon their being brought into court, the information
required must be given in the presence of, or after notice to the district
attorney and the defendant or his counsel, or after they have been called.
Okla. Stat. tit. 22, § 894 (2011). Here, however, the trial court failed to follow
Section 894’s mandate. There is no evidence that the jury was brought back into
open court for any of the questions Further, as to the note at 12:14 a.m. in which
jurors asked if they could contact their family members the trial court admitted
he did not inform or consult counsel about this jury question. (Tr. 1060-61)
Mr. Bethel had a right to assume that any communication with thejury would
be made in open court and that he would have an opportunity to be heard. His
rights to counsel and_ due process were violated by the trial court’s communication

with the jury outside of the courtroom and without the presence of Mr. Bethel or his

attorney as to this particular question. See Smith 1). State, 2007 OK CR 16, 1111 50-52,

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157 P.3d 1 155 (finding district court erred in providing written answers to thejury’s
questions without first consulting with counsel and then bringing the jury into
open court to answer the questions).

It is true that counsel was notified and asked to respond to the jury’s note at
11:06 p.m., which contained two questions: (1) “What should we do if we can not
come to a unanimus (sic) decision?”, and (2) “If we have unanimus (sic) decisions
on some counts - how do we proceed?” (Tr. 1059; Court’s Exhibit) Unfortunately,
counsel acquiesced in the Court’s response to continue deliberating. (Tr. 1060;
Court’s Exhibit) Trial counsel should have objected to the court’s directive and his
failure to adequately protect the record is addressed in a separate claim of
ineffective assistance of counsel in Proposition X. Nonetheless, the trial court
committed fundamental error by deviating from settled law on how to respond
when ajury indicates it is at an impasse. The trial judge failed to follow any of the
prescribed procedures Rather than bringing the jury back into the courtroom, the
judge sent written a response to the jury. Had the response been appropriate, the
judge’s failure to follow Section 894 probably would have been harmless See, e.g.,
Givens v. State, 1985 OK CR 104, 705 P.2d 1139, 1140-41. However, his response to
this question was not only inappropriate, it was coercive,

The complete and correct answer to the jury’s question about unanimity was
two-fold: a not guilty verdict must be unanimous and ifjurors could not reach a
unanimous verdict, a mistrial would be declared. Rather than telling the jury this
however, the judge responded, “Please continue to deliberate on those counts
which you have not yet reached a unanimous decision.” (Tr. 1060) The judge’s
response was coercive, especially to jurors who were in the minority, because it
indicated there was no way for the trial to conclude other than by unanimous

verdicts

This Court has held that when jurors indicate they are at an impasse in

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deliberations the trial judge can call the jury back into the courtroom and ask if
jurors think further deliberations would be helpful. If jurors indicate they might
be able to reach a verdict with further deliberations the court can ask them to
continue deliberating. See Higgz‘ns v. State, 1972 OK CR 16, il 23, 493 P.2d 1121;
Sutton v. State, 1988 OK CR 158, ‘|l‘ll 12-13, 759 P.2d 235, 237. Ifthejurors advise that
further deliberations would not be fruitful, the judge can declare a mistrial. Okla.
Stat. tit. 22, § 896 (2011).

Alternatively, the Court can simply give the jury the carefully-crafted Allen

instruction“ approved by this court see Instruction No. 10-11, oUJr-cR (2d),

which derives from the “model of fairness” instruction approved in Piclcens v. State,
1979 OK CR 99, 1111 10-11, 600 P.2d 356, 358-59; accord Thomas v. State, 1987 OK CR
113, il 21, 741 P.2d 4'82, 488. Indispensable to such an instruction is making clear
that the request for the jury to continue deliberating and to try reaching a verdict
“does not mean that those favoring any particular position should surrender their
honest convictions as to the weight or effect of any evidence solely because of the
opinion of other jurors or because of the importance of arriving at a decision.”
Instruction No. 10-11, OUJI-CR (2d ed.).

Jurors must be admonished that “[n]o juror should ever agree to a verdict
that is contrary to the law in the court’s instructions nor find a fact or concur in a
verdict which in good conscience he or she believes to be untrue.” Id.; Hooks 1).
State, 2001 OK CR 1, 11 26, 19 P.3d 294 (noting well-settled law indicates that
exhorting jurors not to abandon their honestly held beliefs is necessary whenever
a deadlocked jury is returned to deliberations), abrogated on other grounds by
Warner 1). State, 2006 OK CR 40, 144 P.3d 838; see also Sartz°n v. State, 1981 OK CR

157, ll 7, 637 P.2d 897, 898; Drew v. State, 1989 OK CR 1, 11 19, 771 P.2d 224, 229;

 

“ An Allen instruction derives its name from jury instructions approved by the

Supreme Court in Allen 1). United States, 164 U.S. 492, 17 S.Ct. 154, 41 L.Ed. 528 (1896).

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accord Brogie v. State, 1985 OK CR 2, il 30, 695 P.2d 538, 545 (holding that asking
the jury to arrive at a verdict is not coercive ifjurors are cautioned not to surrender
honest convictionsjust to reach a verdict). AnAllen instruction will not be upheld
if it does not telljurors they have a right to hold to their honest convictions Miles
v. State, 1979 OK CR 116, 111| 5-6, 602 P.2d 227,

This Court’s insistence that special care be taken to prevent coercion of a
verdict is consistent with Supreme Court precedent requiring the same of courts
over which it has supervisory powers As is the case with statejudges in Oklahoma,
a federal judge cannot tell the jury it must reach a unanimous decision or
emphasize the importance of reaching a unanimous verdict without also
emphasizing that no juror should surrender his honest conviction or concur in a
verdict he believes is untrue solely because of the opinions of other jurors or
because of the importance of arriving at a decision. Jenkins v. United States, 380
U.S. 445, 446, 85 S.Ct. 1059, 13 L.Ed.2d 957 (1965)(per curiam); United States 1).
United States Gypsum Co., 438 U.S. 422, 459-62, 98 S.Ct. 2864, 57 L.Ed.2d 854 (1978).

In Jenlcins, after the jury deliberated for two hours it sent out a note to the
trial judge advising that it had been unable to agree upon a verdict. The judge
brought the jury into the courtroom and told them, “You have got to reach a
decision in this case.” Jenlcins, 380 U.S. at 446. The Supreme Court held that the
judge’s statement had a coercive effect on the jury and thus reversed the conviction
for a new trial. Id.

In our case, directing the jury that what they should do in the event of being
hung is to “please continue to deliberate” was the functional equivalent of telling
the jury it had to reach a verdict. As this Court requires the judge should have
either (1) asked jurors if further deliberations would be helpful and directed them
continue deliberations only ifjurors agreed doing so would be fruitful, or (2) given

an Allen charge, explaining the importance of reaching unanimous verdicts if

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possible and encouraging jurors to listen to each other’s views but admonishing
them not to surrender honestly held opinions just to reach a unanimous verdict.
Simply ordering the jury to continue deliberating indicated the only way for the
trial to conclude was with unanimous verdicts This of course, is contrary to Okla.
Stat. tit. 22, § 896 (2011), which allows a mistrial to be declared where the jury is
unable to reach a verdict.

As to the question about whether the court would contact their families the
court failed to give the jurors any indication of how late into the night they would
be required to deliberate and failed to alleviate their concerns about contacting
family members (Tr. 1059-61) . When the judge refused the request to contact their
family members it was clear to the jurors that reaching a unanimous decision was
the only way they could go home. Unsurprisingly, at 12:55 a.m., the jurors reached
a verdict. (Tr. 1061) It is a reasonable inference that jurors felt coerced and made
compromises just to go home. lt is hard to believe that this verdict, rendered
approximately 40 minutes afterjurors were told they could not contact their family
members was the result of legitimate deliberations rather than pressure on the
minority jurors to end the deadlock.

Where, as here, the judge communicates with the jury after deliberations
have begun, prejudice is presumed, Mitchell v. State, 2011 OK CR 26, il 130, A
violation of Section 894 can be harmless but only if the Court is convinced, on the
face of the record, that there was no prejudice to the defendant, See id.; Smith,
2007 OK CR 16, il 52. In this case, the nature of the judge’s communication with the
jury does not permit that conclusion. Further, the court’s response to the jury’s
question regarding unanimity deprived Mr. Bethel of his right to a fair trial and
unanimous verdicts under the Sixth and Fourteenth Amendments to the United
States Constitution and Article II, § 19 of the Oklahoma Constitution. Therefore

this Court must reverse and remand this case for a new trial.

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PROPOSITION V
MR. BETHEL’S TRIAL WAS RENDERED FUNDAMENTALLY UNFAIR BY THE
ADMISSION OF IMPROPER LAW ENFORCEMENT OPINION TESTIMONY THAT
INVADED THE PROVINCE OF THE JURY IN VIOLATION OF HIS RIGHTS

UNDER THE FOURTEENTH AMENDMENT TO THE UNITED STATES

CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA
CONSTITUTION.

Law enforcement officers by virtue of their positions rightfully bring with
their testimony an air of authority and legitimacy. A jury is inclined to give great
weight to their opinions See Gtanfrancz'sco v. State, 570 So.2d 337, 338 (Fla. App.
1990). Thus, particularly when the testifying officer is the “case agent,” special
attention must be paid to the officer’s “expert” opinion testimony to ensure that
it falls within the permissible range of opinion testimony. See, e.g., United States
v. Esptnosa, 827 F.2d 604, 613 (9"‘ Cir. 1987); United States v. Brown, 776 F.2d 397,
401 & n.6 (2nd Cir.1985); Commonwealth v. Kitchen, 730 A.2d 513, 521-22 (Pa.1999);
Maben ‘v. Lee, 1953 OK CR 139, 260 P.2d 1064, 1067.

Tulsa Police Detective Jason White was the “case agent” in this case and
testified at length regarding his investigation of this crime. (Tr. 4) In the process
Detective White’s testimony clearly overstepped permissible bounds on numerous
occasions Detective White’s testimony was used by the prosecution to reiterate
the same evidence presented by other witnesses but with the imprimatur of
Detective White’s expertise, skill and persuasiveness as a professional witness The
prosecutor improperly used Detective White to vouch for the integrity of the
investigation by reviewing and commenting on the evidence, The prosecutor also
improperly used the direct examination of Detective White to marshal the facts and
provide the jury with his own personal opinion about the credibility of the State’s
witnesses and his theory of the case. Much of Detective White’s testimony was
unnecessarily cumulative, speculative and more prejudicial than probative. As

such, this testimony should have been excluded.

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During direct examination, Detective White was allowed to rehash the details
of his investigation for the jury even though this information had already been
presented to the jury through other witnesses Detective White testified he
contacted Tulsa Police Detective Vic Regalado with information regarding the
ballistics report on the gun taken from Mr. Bethel’s vehicle. Over defense counsel’s
objection, Detective White rehashed these facts for the jury, including that the
“ gun was a match” to casings and a bullet fragment found at the scene, (Tr. 810-1 1)
He then recounted what he told Terrance Higgs, OSBI firearm examiner, when he
dropped off the firearm in question to be tested. (Tr. 81 1) Detective White also told
the jury that he had received information Deandre Bethel was at Club Pink that
night, even though there was no evidence of this in the record, (Tr. 810)

Detective White was then allowed to recount details of his interview with Mr.
Bethel, even though this interview, State’s Exhibit 74, was played in its entirety for
the jury. Detective White highlighted the things he wanted the jury to focus on.
(Tr. 817-25) He told the jury he did not believe the stories Mr. Bethel told him were
consistent with each other and recounted these alleged inconsistencies for the jury.
(Tr. 822-25) Defense counsel objected, arguing the actual interview was the best
evidence. The trial court warned the prosecutor to move on, stating, “we don’t
need this officer to testify and tell us everything we’re going to see and then we
have to see it.” (Tr. 823, 824) Despite this warning, the prosecutor asked Detective
White to continue to rehash the interview with Mr. Bethel and he did so. (Tr. 824)

Detective White was asked to comment on what concerned him about Mr.
Bethel’s story in the video interview. He claimed Mr. Bethel was unable to provide
him with details he could corroborate. He said the time frames Mr. Bethel provided
raised “red flags” to him. (Tr. 824) Detective White was asked to identify other red
flags raised during the interview. He recounted a portion of the interview where he

had asked Mr. Bethel about the gun and how he obtained it. He gave the jury

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details about how he did not find Mr. Bethel’s explanation plausible. (Tr. 825)

Defense counsel renewed his objection, arguing Detective White was bolstering the
State’s case by reiterating details in the video and giving his personal opinions on
Mr. Bethel’s veracity when the interview itself was the best evidence. (Tr. 825) The
trial court overruled the objection. (Tr. 825) Detective White continued to recount
the questions he asked of Mr. Bethel and his opinion Mr. Bethel was being evasive

and deceptive in his answers The trial court finally sustained the objection. (Tr.

825) The videotape was then played for the jury. (Tr. 826; State’s Exhibit 74)12

Following the presentation of the video, Detective White resumed his
improper narrative of the State’s case. (Tr. 827) The prosecutor asked Detective
White to relate information on several phone calls recorded while Mr. Bethel was
being held in the Tulsa County jail. (Tr. 841; State’s Exhibit 76) Defense counsel
objected to Detective 'White’s commentary, again arguing the tapes “speak for
themselves.” (Tr. 842) Counsel complained that Detective White was “talking
about what was happening on the calls prior to the jury having an opportunity to
listen to them.” (Tr. 843) Counsel’s objections were overruled and Detective White
proceeded to give the jury his opinion on the meaning of some of the conversations
occurring during the phone calls (Tr. 842, 843) He was again asked to identify his
concerns and any red flags he noted during the phone calls

The taped phone calls were then played for the jury. At the conclusion of
each call, Detective White was asked give a synopsis of what he found important
and identify any “red flags” raised related to his investigation. (Tr. 850) As to the
first call, Detective White opined that the meaning of the term “burner” was a

street term for a gun, specifically one that may have been used to commit a crime.

 

"' Unfortunater there is no transcript of the videotape since both parties waived
the recording on the record, (Tr. 826)

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(Tr. 843) As to the second phone call, Detective White was concerned that when Mr.
Bethel’s father asked him if he was at the club, “he told his dad that he was despite
telling me that he did not remember.” (Tr. 850) Regarding the third phone call to
Mr. Bethel’s mother, Detective White was concerned that Mr. Bethel denied being
at the club and having any involvement in the crime. He said this was significant

to his investigation because Mr. Bethel “was not telling the truth.” (Tr. 859) As to

the fourth call, Detective White was concerned that Mr. Bethel was talking to an

unknown individual and stated twice that the cops did not know anything. (Tr. 863)

The prosecutor used Detective White’s testimony to essentially give a closing
argument in the case. On redirect examination, the prosecutor asked Detective
White to reiterate what he found significant to the case during his investigation,
When he was asked to sum up what was significant about where the gun was found
he said, “being stopped in a white Chevy Cobalt which is described by a firefighter
who was right there watching it who knew cars.” (Tr. 931) He opined it was
significant that Mr. Bethel was stopped with this gun within a few hours of the
shooting. (Tr. 932) Detective White was asked whether there was anything
significant about the fact that Mr. Bethel was the only person in the car. He
testified no one else was present to have put the gun in the car. (Tr. 932)

Detective White was asked to review the State’s evidence and comment on
whether it was consistent with the testimony he had heard from the various State’s
witnesses during the case. (Tr. 933) He explained that the SpiritBank video was
consistent with what he had heard from the witnesses in the case. (Tr. 933)
Detective White then gave his opinion on where he thought the victim was standing
when he was shot. (Tr. 936) He also opined that he thought the casings were placed
at the scene on February 4, 2012, and gave a synopsis of the evidence supporting
this opinion. (Tr. 937) Detective White gave his opinion that the lack of bullets at

the scene was likely attributable to the fact that the bullets had gone through Mr.

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Ivory and lodged in the ground. (Tr. 939) He was testified that people could be
wrong about the color of the vehicle because white was sometimes mistaken for
silver. (Tr. 941) He was allowed to opine that he thought the SpiritBank video was
consistent with Ernest Roberts’s and Bradley Jarrett’s testimony and the
firefighters testimony. (Tr. 942)

Throughout his testimony, Detective White was allowed to essentially give
his opinion on every aspect of the case, invading the province of the jury and
improperly bolstering the State’s case. His testimony was full ofpersonal opinions
requiring no specialized knowledge and merely told the jury what result to reach.
The jury was just as capable of reaching these conclusions since they were not
based on any specialized knowledge. Opinion testimony from supposed “experts,”
particularly those in uniform, carry with them a particular danger of overly
influencing a jury’s verdict. See McCarty v. State, 1988 OK CR 271, 765 P.2d 1215,
1218 (noting the danger of unfair prejudice invited by the aura of special reliability
and trustworthiness surrounding scientific or expert testimony) (quoting United
States v. Green 548 F.2d 1261, 1268 (6°h Cir. 1977); United States v. Amaral, 488 F.2d
1148, 1152 (9th Cir. 1973)). This improper testimony denied the jury its fact finding
function. Romano v. State, 1995 OK CR 74, 909 P.2d 92, 109 (“While expert witnesses
can suggest the inferences which jurors should draw from the application of
specialized knowledge to the facts opinion testimony which merely tells the jury
what result to reach is inadmissible.”).

Detective White’s opinion that Mr. Bethel was not telling the truth was
particularly harmful. (Tr. 825, 859) It is axiomatic that no witness may offer
testimony in the form of an opinion regarding the guilt or veracity of the defendant
as such testimony violates the defendant's constitutional right to due process and
to an independent determination of the facts Ultimately, it is the exclusive

province of the jury to determine the credibility of witnesses See Ryder v. State,

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2004 OK CR 2, 83 P.3d 856, 868 (citing Myers ‘D. State, 2000 OK CR 25, 17 P.3d 1021,
1032, overruled in part on other grounds by James v. State, 2007 OK CR 1, 152 P.3d
255, 257; Smith v. State, 1996 OK CR 50, 932 P.2d 521, 530; Curtis v. State, 1988 OK
CR 220, 762 P.2d 981, 983.

Compounding the prejudice, after the State essentially presented a closing
argument through Detective White’s opinion testimony, the prosecutor then argued
these same inferences again. During closing argument, the prosecutor emphasized
Detective White’s investigation and his findings in order to urge the jury to believe
both Detective White and his synopsis of the witnesses and testimony. (Tr.1010-13)

Appellant fully recognizes that trial counsel failed to object to some of this
inadmissible testimony and has alleged in the alternative in Proposition X, that
trial counsel rendered ineffective assistance of counsel. Because Appellant failed
to object to some of Detective White’s opinion testimony, he has waived review of
all but plain or fundamental error, Simpson v. State, 1994 OK Cr 40, 876 P.2d 690,
693. In order to demonstrate “plain error,” Appellant must show: “1) the existence
of an actual error (i.e., deviation from a legal rule); 2) that the error is plain or
obvious; and 3) that the error affected his substantial rlghts, meaning the error
affected the outcome of the proceeding.” Hogan v. State, 2006 OK CR 19, 139 P.3d
907, 923. As argued above, admission of this testimony was clearly error and
obviously affected Mr. Bethel’s substantial rights Because the jury’s verdicts
were likely influenced by Detective White’s improper opinion testimony, Mr.

Bethel’s convictions must be reversed and remanded for a new trial.

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PROPOSITION Vl
THE ADMISSION OF IRRELEVANTAND PREJUDICIAL EVIDENCE CONTAINED
IN STATE’S EXHIBIT 28, A TAPED RECORDING OF A PHONE CALL BETWEEN
MR. BETHEL AND HIS MOTHER, RESULTED IN A VIOLATION OF HIS DUE

PROCESS RIGHTS UNDER THE FOURTEENTH AMENDMENT TO THE UNITED

STATES CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA
CONSTITUTION.

During questioning of Detective Jason White, the State presented the
recording of a phone call in which Mr. Bethel was speaking to his mother from the
Tulsa County jail. (Tr. 859-63, 955; State’s Exhibit 28) The State claimed the
evidence was necessary to show that Mr. Bethel denied to his mother that he had
been at Club Pink the evening of the shooting although he had earlier told his
father he had been present at Club Pink that night. (Tr. 859) Even assuming this
was a legitimate use of the intercepted phone call, the State failed to redact
irrelevant and prejudicial portions of the conversation. It would have been a simple

matter to redact the phone call to play only the section where Mr. Bethel denies

being at the elub.“" Instead the jury heard Mr. Bethel’s mother repeatedly ehastise

him for failing to call his attorney prior to speaking to police, and telling him to
“keep your mouth shut and ask for your attorney.” (Tr. 861) This evidence shed no
light whatsoever on whether Mr. Bethel was guilty. The probative value of this
evidence was minimal but the prejudice to Mr. Bethel was devastating, requiring
his case be reversed and remanded for a new trial.

Appellant recognizes admissions by a party opponent that are not hearsay

are admissible, but they are still subject to other rules of evidence and to

 

" This was the only portion of the phone call that was even arguably relevant:

DEANDRE BETHEL: 1 told them what l know. l mean, I didn’t knew I mean, they
asked me where - - that’s where I went from. They tried to tell me I was at this club
and I told them I wasn't there. They tried to say they had me on video being at the
club and all of that. Ijust bought that damn gun that night. I told them that. I told

the police officer who pulled me over. l told him I hadjust bought that gun, (Tr. 860-
61; State’s Ex. 28)

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constitutional safeguards Under Okla. Stat. tit. 12, § 2403 (2011), relevant
evidence may be excluded if the danger of unfair prejudice substantially outweighs
its probative value. This phone call should have been redacted to remove Mr.

Bethel’s discussions with his mother about exercising his Sixth Amendment right
to counsel.14 This evidence had no other real purpose other than to demonstrate

to the jury that Mr. Bethel’s mother thought he needed to “lawyer up” in order to
infer that his mother thought he was guilty and had something to hide.

Because trial counsel did not object to this error, this Court’s review is
limited to plain error. See Proposition X. “Plain error is that error which is plain
from the record, and which goes to the foundation of the case or takes from a
defendant a right essential to his defense.” Andrew v. State, 2007 OK CR 23, 164
P.3d 176, 188 ; Dungan v. State, 1982 OK CR 152, 651 P.2d 1064, 1065-66 ( elicitation
by prosecutor of testimony from police officer about defendant's decision to remain
silent during his custodial interrogation, was fundamental, or plain, error, despite
lack of objection by defense counsel, because “of the lack of probative value of the
evidence in question and due to its extreme prejudicial consequences) . This error
was plain and fundamental as there is a substantial likelihood the jury used this
irrelevant evidence for an illegitimate purpose. Because Mr. Bethel’s convictions
relied on this highly prejudicial evidence in violation of the Fourteenth

Amendment, they must be reversed and remanded for a new trial.

 

“ Although this was technically not a comment on an actual invocation of the right

to counsel, it is analogous to such a situation. This Court has long recognized the rule
prohibiting a prosecutor from commenting on, or eliciting testimony about, a defendant's

pretrial silence. See Brown v. State, 1975 OK CR. 191, 541 P.2d 242, 244; Buchanan v. State,
1974 OK CR 111, 523 P.2d 1134, 1137.

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PROPOSITION VII
IMPROPERVICTIM IMPACT TESTIMONY AND EVIDENCE WAS ADMITTED AT
TRIAL, DEPRIVING MR. BETHEL OF A FAIR TRIAL IN VIOLATION OF HIS

RIGHTS UNDER THE FOURTEENTH AMENDMENT TO THE UNITED STATES

CONSTITUTION AND ARTICLE II, §§ 7, 9 AND 20 OF THE OKLAHOMA
CONSTITUTION.

A. The Admission ofa Pre-mortem Photograph of the Victim.

A photograph of the victim when he was alive was admitted into evidence.
(State's Ex. 1; Tr. 4-7) Prior to the beginning of trial, defense counsel objected to
this photograph, arguing it was a blatant effort to gain sympathy for the victim
from the very start of the trial. (Tr. 5-7) The trial court reserved ruling at that
point. (Tr. 6) While questioning the first State’s witness Sharon Livingston, the
prosecutor sponsored the admission of State’s Exhibit 1, a photograph of Byron
Ivory, Jr., Ms. Livingston’s first-born son. (Tr. 329) Ms. Livingston was
emotionally distraught during this testimony, and the record reflects she was
obviously crying as she was handed some Kleenex by the prosecutor. (Tr. 329)
Unfortunately, although defense counsel objected to this photograph prior to
trial, inexplicably, when the photograph was offered during the testimony of Ms.
Livingston, counsel failed to renew the objection and the photograph was
admitted without objection. (Tr. 329-330; State’s Exhibit 1) Counsel’s failure to
adequately protect the record in this regard is discussed in Proposition X.

Appellant recognizes that this Court has previously upheld the admission
of in life~photographs under the 2002 amendment to Okla. Stat. tit. 12, § 2403,
requiring that live victim photographs shall be admitted at trial, irrespective of
their prejudicial effect. See, e.g., Grant v. State, 2009 OK `CR 11, 205 P.3d'1, 22,
However, amended Section 2403 erodes the fundamental right to a fair trial by
diverting the jury from making a reasoned moral response to the evidence to

making an impassioned one. Cody v. State, 1961 OK CR 43, 361 P.2d 307, 324.

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Appellant respectfully asks this Court to reconsider these prior rulings
allowing the admission of in life photographs Here, the display of Mr. Ivory’s in
life photograph was a clear appeal to emotion and sympathy and has no place in
Oklahoma courtrooms See, e.g., Capps v. State, 1984 OK CR 8, 674 P.2d 554, 557.

B. Improper Victim Impact Evidence During Formal Sentencing.

Some of the statements of the family members exceeded the permissible
bounds of victim impact testimony. The victim’s father, Byron Ivory, Sr., appeared
at formal sentencing and asked on behalf of his son and his family that the trial
court sentence Mr. Bethel to the maximum sentence possible, life without the
possibility of parole. (S.Tr. 5) He then launched into a lengthy recitation of “ten
questions that I read and found that really describe just how I feel and I believe my
son felt the same way.” (S.Tr. 5) None of these questions and comments had any
relevance to the impact this crime had upon Mr. Ivory or his family. ( S.Tr. 5-10)

Mr. Ivory’s sister, Tanlsha Livingston, prepared a detailed victim impact
statement but was too upset to read it herself, prompting the prosecutor read it for
her. (S.Tr. 10) In graphic detail, her statement described the emotional moment
in which she learned her brother had been killed from her mother who was
“screaming and crying hysterically.” (S.Tr. 10) She described in dramatic fashion
having to sit through anatomy class and how working with a cadaver caused her to
wonder what her brother “rnust have experienced in the moments from when he was
being shot to when he died” and whether he was scared and felt alone. (S.Tr. 14)
She spent several pages talking about her own child and how hard it was to keep up
the pace of life when all she wanted to do was grieve for her brother. (S.Tr. 15-16)
She also asked the court to “give Deandre Bethel the maximum sentence possible
and without parole.” (S.Tr. 17) She concluded that she “cannot understand a world
with Deandre Bethel in it, free and without consequence for what he did.” (S.Tr. 17)

Because Appellant did not object on the grounds alleged here, the error is

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reviewed for plain error. Simpson v. State, 1994 OK CR 40, 876 P.2d 690, 692-93. To
prevail, the defendant must show (1) an error occurred; (2) the error is plain or
obvious; and (3) the error affected the substantial rights of the defendant, The first
two requirements have already been demonstrated. An error is a deviation from a
legal rule. Simpson v. State, 876 P.2d at 694. Allowing family members to testify to
evidence which is outside the permissible bounds of relevant victim impact
evidence deviated from the statute that governs and limits victim impact evidence.
Okla. Stat. tit. 21, §§ 142A-8 (2011) ; Lott v. State, 98 P.3d at 346-47.

In ordering that there be no suspension of any portion of the life sentence,
and that Counts 1 and 2 run consecutive to each other, it was apparent the trial
court was influenced by the improper victim impact statements (S.Tr. 20-21)
Accordingly, Mr. Bethel would ask this Court to remand this case for another
resentencing proceeding, one that comports with his Fourteenth Amendment due
process rights Okla. Stat. tit. 22, § 1066 (2011).

PROPOSITION VIII
COUNTS III AND IV WERE IMPROPERLY JOINED AT MR. BETHEL’S'TRIAL IN
VIOLATION OF HIS RIGHT TO A FAIR TRIAL AND DUE PROCESS OF LAW

UNDER THE FOURTEENTH AMENDMENT TO THE UNITED STATES

CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE OKLAHOMA
CONSTITUTION.

Despite the fact that these offenses were completely separate and unrelated,
the State joined Counts I and II, First Degree Felony Murder and Robbery with a
Firearm, with Counts III and IV, Transporting a Loaded Firearm in a Motor Vehicle
and Public Intoxication in a single case and these offenses were tried together at
Mr. Bethel’s trial. (O.R. 312-15, 316-18; Tr. 305-06) This Court reviews improper
joinder claims for abuse of discretion. Smith v. State, 2007 OK CR 16, 157 P.3d 1 155,
1164. Counsel properly preserved this error by objecting to the improper joinder
both before and at trial. (O.R.188~90;M.Tr.8/27/13 57-60; Tr. 18-19)

“[J]”oinder of separately punishable offenses is permitted if the separate

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offenses arise out of one criminal act or transaction, or are part of a series of
criminal acts or transactions.” Glass v. State, 1985 OK CR 65, 701 P.2d 765, 768. See
also Okla. Stat. tit. 22, § 436, et seq. In interpreting the phrase “series of acts or
transactions” this Court explained “joinder of offenses is proper where the counts
so joined refer to the same type of offenses occurring over a relatively short period
of time, in approximately the same location, and proof as to each transaction
overlaps so as to evidence a common scheme or plan.” Glass, 701 P.2d at 768; Smith
v. State, 157 P.3d at 1165; Dylce v. State, 1986 OK CR 44, 716 P.2d 693, 697.

Considering this rule of law with respect to the joinder of Counts III and IV
with Counts l and II, these crimes were wholly separate and independent of each
other. First, the two alleged offenses are clearly not of “the same type,” as
contemplated by the case law quoted above. First Degree Felony Murder in the
commission of a Robbery with a Firearm is a crime against the person, punishable
as a felony under Title 21, while the offenses of Transporting a Loaded Firearm and
Public Intoxication are misdemeanors and Public Intoxication is punishable under
Title 37. Thus, this factor does not support joinder because the two offenses are
not even similar to each other. See Glass, 701 P.2d at 768.

Second, although the offenses did occur within four to five hours of each
other, they did not occur in the same location. The alleged robbery and homicide
occurred at 200 E. 18th Street, while the alleged transportation ofthe loaded firearm
and the public intoxication offenses occurred at 2400 North Lewis (O.R. 66)

Third, the proof that relates to each offense does not overlap “so as to
evidence a common scheme or plan” because the robbery and homicide of Byron
Ivory and his companions could not have facilitated the public intoxication or
transporting a loaded firearm charges

Ultimately, the joinder of these two offenses in one Information, and in one

trial, resulted in the presentation of evidence regarding unrelated and dissimilar

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offenses that likely made the finding of guilt on Counts 1 and 2 easier because of the
mere existence of the other counts lt is impossible for this Court to conclude
beyond a reasonable doubt that the joinder of the two cases and improperly
admitted evidence did not prejudicially impact Mr. Bethel. Thus, Mr. Bethel
should be granted relief. At the very least, his sentences should be appropriately
modified.
PROPOSITION IX

THE ADMISSION OF EVIDENCE OBTAINED AS A RESULT OF AN ILLEGAL
SEARCH AND SEIZURE VIOLATED MR. BETHEL’S RIGHTS UNDER THE
FOURTH AMENDMENT TO THE UNITED STATES CONSTITUTION AND
ARTICLE II, SECTION 30 OF THE OKLAHOMA CONSTITUTION.

Prior to trial, Appellant filed a motion to suppress the evidence garnered as
a result of his arrest on the early morning hours of February 4, 2012, on the grounds
that arresting officers did not have probable cause for making the initial traffic
stop. (O.R. 193-96) Officers Amley Floyd and Ian Adair stopped Mr. Bethel’s
vehicle based on information from an unknown EMSA driver alleging that a man
was slumped over the steering wheel at the intersection of 2400 East Apache with
a gun in the passenger seat of his vehicle. (M.Tr. 8/27/13 24-25, 28) Appellant
alleged these officers did not have the authority to make a warrantless
misdemeanor arrest “based solely on information from a third party or on mere
suspicion of a misdemeanor.” (O.R. 194) A hearing was held on the motion and
Officers Floyd and Adair admitted they had never personally talked to the EMSA
driver and did not observe the firearm in the vehicle until after they handcuffed and
took Mr. Bethel into custody. (M.Tr. 8/27/13 29-31, 43, 48) Nonetheless, the trial
court ruled that irrespective of the unidentified EMSA caller, the officers had
probable cause to arrest Mr. Bethel for the crime of public intoxication and denied
the motion to suppress (M.Tr. 8/27/13 56) The motion was renewed by defense

counsel shortly prior to trial and again summarily denied. (Tr. 18-19)

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When reviewing a trial court’s ruling on a motion to suppress evidence based
on an illegal search and seizure, this Court defers to the trial court’s factual
findings unless those findings are clearly erroneous However, the ultimate
conclusion drawn from those facts is a legal question this Court reviews de novo
under the totality of the circumstances Seabolt 1). State, 2006 OK CR 50, 152 P.3d
235, 237. Here, the trial court’s factual findings denying the motion to suppress
were clearly erroneous

There is no doubt the offenses for which Mr. Bethel was arrested were both
misdemeanors (O.R. 66) When Officers Floyd and Adair first approached Mr.
Bethel’s vehicle, they had not observed these misdemeanor offenses occur but were
instead acting on the unknown EMSA driver’s observations (M.Tr. 8/27/13 24-25,
28) Since they did not witness these misdemeanor offenses under Oklahoma law,
Mr. Bethel’s arrest was illegal. In Oklahoma, the law permitting warrantless
arrests is more strictly circumscribed for misdemeanors than for'felonies‘. This
Court stated in Tomlin v. State, 1994 OK CR 14, 869 P.2d 334, 339, that by statute,
neither a peace officer nor a private citizen may make a warrantless arrest for any
offense other than a felony, unless the offense was committed or attempted in the
arrester’s presence. See Okla. Stat. tit. 22, § 196(1)(2011); Okla. Stat. tit. 22, §
202(1) (2011). As these officers did not have authority to make a warrantless
misdemeanor arrest, the resulting traffic stop was illegal, and the fruits obtained
from it, particularly State’s Exhibits 7 and 8, the .40 caliber firearm and magazine
clip linked to the shooting of Mr. Ivory, should have been suppressed as fruit of the
poisonous tree obtained in violation of the FourthAmendment to the United States
Constitution and Article II, Section 30 ofthe Oklahoma Constitution. See Wong Sun
v. United States, 371 U.S. 471, 484, 83 S.Ct. 407, 41`6, 9 L.Ed.2d 441 (1963).

Accordingly, Mr. Bethel’s convictions should be reversed and remanded with

instructions to dismiss

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PROPOSITION X
MR. BETHEL WAS DEPRIVED OF THE EFFECTIVE ASSISTANCE OF COUNSEL
IN VIOLATION OF THE SIXTH AND FOURTEENTH AMENDMENTS TO THE

UNITED STATES CONSTITUTION AND ARTICLE II, §§ 7 AND 20 OF THE
OKLAHOMA CONSTITUTION.

In Stricklandv. Washington, 466 U.S. 668, 681, 104 S.Ct. 2052, 2064, 80 L.Ed.2d
674 (1984), the Supreme Court held a conviction cannot stand if defense counsel’s
performance falls below the objective standards of reasonableness required by the
Sixth Amendment and this deficient performance creates a reasonable probability
the defendant did not receive a fair trial with a reliable result. The reasonable
probability standard does not require a showing of prejudice beyond a reasonable
doubt, by clear and convincing evidence, or even by a preponderance of the
evidence. Rather, it merely requires a showing sufficient to undermine confidence
in the outcome. Id. at 694-95, 104 S.Ct. at 2068; Williams v. Taylor, 529 U.S. 362,
405'-06, 120 S.Ct. 1495, 1519, 146 L.Ed.2d 389(2000) (O’Connor, J., concurring) ; Fisher
v. Gibson, 282 F.3d at 1307. In this case, Mr. Bethel was prejudiced by his attorney’s
failure to make timely objections to adequately protect the record at trial, to
request viable lesser offense instructions and to present critical alibi testimony in

support of his defense at trial.

A. Failure to Adequa_tely Protect the Record with Appropriate
Objections.

Defense counsel’s failure to object to inadmissible evidence can constitute
ineffective assistance of counsel. Dunlcle v. State, 2006 OK CR 29, 139 P.3d 228, 245
n.88 (Okl.Cr. 2006); Ayco.’c v. State, 1985 OK CR 83, 702 P.2d 1057, 1058 (Okl.Cr.
1985). In this case, as discussed in Proposition IV, counsel failed to adequately
protect the appellate record and jeopardized Mr. Bethel’s right to a fair trial by
failing to object to the court’s improper answer to the jury’s question about what
would happen if they could not reach a unanimous verdict. (Tr. 1059-60)

In Proposition V, Appellant alleged that Detective Jason' White was allowed

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to testify to improper opinion evidence and that his testimony was clearly error and
affected Mr. Bethel’s substantial rights depriving him of a fair trial.
Unfortunately, defense counsel failed to object to the bulk of these inadmissible
opinions Since a reasonable trial strategy is one that advances the client’s
interests failing to object to prejudicial, inadmissible opinion testimony cannot be
considered a sound trial strategy. See, e.g., Miller v. State, 2001 OK CR 17, 29 P.3d
1077, 1086 (failure to object to improper opinion testimony of victim impact
witness).

In PropositionVI, Appellant argued that State’s Exhibit 28, arecorded phone
call, should have been redacted to remove Mr. Bethel’s discussions with his mother
about exercising his Sixth Amendment right to counsel. (Tr. 859-63, 955) Defense
counsel had a duty to lodge proper objections and protect his client’s rights If
this Court finds this claim is waived and that no “plain error” occurred, then
counsel was ineffective for failing to raise these argument and jeopardizing Mr.
Bethel’s opportunity for a fair trial'and meaningful appellate review. Collis v. State,
685 P.2d at 977 (“It is beyond the stretch of [this court’s] wildest imagination to
find a valid trial strategy” in the failure of defense counsel to interpose an
appropriate objection.)

In Proposition VII, Appellant argued the prosecutor deprived Mr. Bethel of
a fair trial and formal sentencing hearing by the introduction of improper and
highly prejudicial victim impact evidence. Although counsel objected to the
admission of a pre-mortem photograph of the victim prior to trial, for some
inexplicable reason, counsel failed to renew this objection to State’s Exhibit 1 at
trial, thus inviting Appellee to respond that any errors regarding the admission of
this evidence were waived. (Tr. 5-7, 329-30) Appellant can detect no rational trial
strategy for counsel’s failure to object to this prejudicial evidence, which created

an emotional atmosphere that undoubtedly contributed to the jury’s finding he was

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guilty of First Degree Murder. Defense counsel’s failure to protect Mr. Bethel’s
right to a fair trial was outside the wide range of professionally competent

assistance and resulted in prejudice to his client.

B. Failure to Request Instructions on Appropriate Lesser R.elated
Offenses.

In Proposition III, Appellant argued that the trial court committed plain
error by failing to instruct the jury on the lesser related offenses of Second Degree
Depraved Mind Murder, Second Degree Felony Murder and Accessory. As
discussed in that proposition of error, evidence adduced at trial would have
supported a conviction of these forms oflesser related offenses Mr. Bethel should
have been afforded a jury that had some options for dealing with his apparent
culpability other than convicting him of First Degree Murder, with its mandatory
life sentence, either with or without the possibility of parole.

Although Appellant has argued the trial court has a fundamental duty to
afford Mr. Bethel the benefit of all appropriate instructions particularly lesser
offenses supported by the evidence, whether requested or not, it is also true that
trial counsel has a duty to vigorously advocate his client’s interests which includes
requesting relevantjury instructions See, e.g., Driverv. State, 1981 OK CR 117, 634
P.2d 760, 763. As such, failure to request instructions on included offenses
supported by the evidence may constitute ineffective assistance. See Wiley v.
State, 183 S.W.3d 317, 330-31 (Tenn. 2006)(finding trial counsel ineffective for
failing to request instructions on second degree murder as alesser included'offense
offirst degree murder). Here, counsel neglected his duty to request the
appropriate instructions on lesser offenses and his failure to do so amounted to
ineffective assistance of counsel. There is nothing in the record of this case that
suggests any viable trial strategy in not requesting these instructions Accordingly,

Mr. Bethel has not received a fair trial, and his convictions should be reversed and

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remanded.

C. Failure To Present Critical, Available Defense Witnesses.

Appellant has filed an Application for Evidentiary Hearing on Sixth
Amendment Claim concurrently with this brief in accordance with Rule 3.11, Rules
ofthe Oklahoma Court of Criminal Appeals, Title 22, Ch. 18, App. (Supp. 2014), in
which he alleges that defense counsel was ineffective for failing to present the
testimony of two available witnesses one who could have testified that Mr. Bethel
was with her at the time of the alleged robbery/homicide of Byron Ivory, Jr., and a
second witness who could have testified that he was with Mr. Bethel when Mr.
Bethel purchased the .40 caliber, semiautomatic handgun between 3:00 and 4:00
a.m. that morning, This evidence would have supported Mr. Bethel’s alibi defense
and corroborated his claim that he purchased the firearm long after the murder
occurred. See Exhibits A-C, attached to Applicationfor Evidentiary Hearing on
Sixth Amendment Claz`m.

Counsel has “a duty to make reasonable investigations or to make a
reasonable decision that makes particular investigations unnecessary.” Strickland
v. Washington, 466 U.S. at 690, 104 S.Ct. at 2066. This Court has likewise found a
violation of the Sixth Amendment right to counsel when defense counsel has failed
to investigate or utilize important impeachment evidence, exculpatory evidence or
a well-founded defense. Glosst'p v. State, 2001 OK CR 21, 29 P.3d 597, 601; Wilhoit
v. State, 1991 OK CR 50, 816 P.2d 545, 546-47; see also Jermings v. State, 1987 OK CR
219, 744 P.2d 212, 214-15 (counsel ineffective for failing to present available
evidence including witnesses physical evidence, and expert testimony
corroborating defendant's claim); Galloway v. State, 1985 OK CR 42, 698 P.2d 940,
941-942 (counsel ineffective for failure to present available evidence in support of
defense).

Given defense counsel’s strategy of attempting to prove his client’s

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innocence by establishing reasonable doubt, any evidence tending to place Mr.
Bethel somewhere else besides Club Pink at the time Mr. Ivory was killed, and
evidence that would have corroborated his explanation for how he came to be in
possession of one of the alleged murder weapons would have been critical to this
end. Thus, Appellant can see no legitimate strategy behind trial counsel’s failure
to interview and call these witnesses at trial. See Patterson v. State, 2002 OK CR
18, 45 P.3d 925, 929-30 (counsel ineffective for failure to present exculpatory
testimony of available witness who claimed to have seen the victim alive after the
alleged date of her murder).

This extra-record claim should be considered with the remainder of Mr.
Bethel’s claims in order to determine whether counsel’s representation, as a whole,
fell below minimal constitutional standards of effective representation,

D. Conclusion.

As the Supreme Court noted in its seminal case on the issue, “the purpose of
the effective assistance guarantee of the Sixth Amendment is not to improve the
quality of legal representation” but “simply to ensure that criminal defendants
receive a fair trial. Strickland v. Washington, 466 U.S. at 689. The facts of this case
demonstrate that counsel’s performance fell outside the wide range of
professionally competent assistance and that there is areasonable probability that
the outcome of Mr. Bethel’s trial would have been different, but for trial counsel’s
unprofessional errors or omissions Strickland, 466 U.S. at 694.

CONCLUSION

Based on the preceding errors discussion of facts arguments and citations
of legal authority, the record before this Court and any errors that this Court may
note sua sponte, Mr. Bethel respectfully asks the Court to reverse the Judgment

and Sentences imposed against him or order any other relief as justice requires

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Deandre A. Bethel, #690424
Oklahoma State Penitentiary
P.O. Box 97

McAlester, Oklahoma 74502

By:

Respectfully submitted,

DEANDRE BETHEL

/H'>-L_er)/?">

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ATTORNEY FOR APPELLANT

CERTIFICATE OF SERVICE

This is to certify that on December 22, 2014, a true and correct copy of the
foregoing Brief of Appellant was mailed, via United States Postal Service, postage
pre-paid, to Appellant at the address set out below, and a copy was served upon the
Attorney General by leaving a copy with the Clerk of this Court,

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Exhibit

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Case NO. F-2014-336

M

IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA

 

DEANDRE BETHEL

Appellant,

VS.
THE STATE OF OKLAHOMA

Appellee.

Appeal from the
District Court of Tulsa County

 

APPLICATION FOR EVIDENTIARY HEARING
ON SIXTH-AMENDMENT CLAIM

 

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December 22, 2014

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IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA

DEANDRE BETHEL,
Appellant,
v. Case No. F-2014-366

THE STATE OF OK_LAHOMA,

Vvvvvvvvv

Appellee.

APPLICATION FOR EVIDENTIARY HEARING
ON SIXTH AMENDMENT CLAIM

Appellant, Deandre Bethel, by and through his appellate counsel, and in
accordance with Rule 3.11(B)(3)(b), Rules of the Oklahoma Court of Criminal
Appeals, Title 22, Ch. 18, App. (Supp. 2014), respectfully applies to the Court for an
evidentlary.hearing on his Sixth Amendment claim of ineffective assistance of
counsel at his jury trial in the District Court of Tulsa County, Rule 3.11 (B) (3) (b)

provides in relevant part:

When an allegation ofthe ineffective assistance of counsel is predicated upon
an allegation of failure of trial counsel to properly utilize available evidence
or adequately investigate to identify evidence which could have been made
available during the course of the trial, and a proposition of error alleging
ineffective assistance of trial counsel is raised in the brief-in-chief of
Appellant, appellate counsel may submit an application for an evidentiary
hearing, together with affidavits setting out those items alleged to
constitute ineffective assistance of trial counsel.

As required by rule, Mr. Bethel raised a claim of ineffective assistance of
counsel in Proposition X of the Brief of Appellant, filed contemporaneously with
this Application. This Application sets forth the factual basis which appears
outside the record, supporting this Sixth Amendment claim, and requests that the
Court grant an evidentiary hearing so that those factual matters can become part

of the record. In support of this Application, Appellant submits the following

documents which are attached:

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(A) Affidavit of Deandre Armon Williams
(B) Affidavit of Wanda Janell Smith

(C) Affidavit of J olene Perham

BRIEF IN SUPPORT OF APPLICATION
COUNSEL RENDERED INEFFECTIVE ASSISTANCE BY FAILING TO PRESENT
THE TESTIMONY OF CRITICAL, AVAILABLE DEFENSE WITNESSES AT TRIAL,
VIOLATING MR. BETHEL’S RIGHTS UNDER THE SIXTH AND FOURTEENTH

AMENDMENTS TO THE UNITED STATES CONSTITUTION AND ARTICLE II, §§
7 AND 20 OF THE OKLAHOMA CONSTITUTION.

In Proposition X of the Brief of Appellant, Mr. Bethel argued that defense
counsel was ineffective for failing to present the testimony of available witnesses
who could have established an alibi for Mr. Bethel and could have testified they
were present when Mr. Bethel bought a gun from an individual during the early
morning hours after the homicide in question. This evidence would have
corroborated Mr. Bethel’s statements to police and his trial testimony and
undermined the State’s claim that he used the firearm in question to rob and shoot
Byron Ivory, Jr., on February 4, 2012,

Despite the fact that this claim was a critical issue in the case, defense
counsel failed to secure the attendance of these witnesses who could provide
corroboration to Mr. Bethel’s statements that he bought the gun after the fact. Mr.
Bethel repeatedly told police he had bought the .40 caliber pistol shortly before he
was arrested during the early morning hours ofFebruary 4, 2012. During this arrest,
he told Officer Amley Floyd that he bought the firearm because he was advised by
a police officer that someone was trying to kill him and he needed a gun for
protection. (Tr. 554, 601) After he was arrested a second time on February 8, 2012,
he also told Detectives White and Felton that a police officer named “Sticks” told
him he needed a gun for protection because someone was trying to kill him.

(State's Exhibit 74) Mr. Bethel told the detectives that shortly before he was

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stopped by police on the morning of February 4, 2012, he bought a Smith and
Wesson handgun from a black male with “dreads” but he could not remember the
man’s name. He paid $175.00 for the gun. Mr. Bethel was was not sure what time
he purchased the gun, but thought it was 2:00 a.m. or later. He told the detectives
that “LJ,” or LaHarry Myers, called him and told him about a gun for sale. He met
LJ at Lucky Sam’s convenience store, near 3500 North Lewis Avenue. He was in his
own car and he thought LJ was driving a green Grand Am. (State’s Ex. 74; 11:33)
He followed LJ to a nearby neighborhood where LJ took him to purchase the
firearm. (State’s Ex. 74;11:36)

Detective White testified at trial that he was unable to corroborate this
information after he interviewed Mr. Bethel. (Tr. 835) Had counsel conducted a
reasonable investigation, he could have called several witnesses to attest to Mr.
Bethel’s account of the gun purchase. Deandre Williams who was charged with Mr.
Bethel but pled guilty to Accessory After the Fact, could have provided crucial
testimony in support of Mr. Bethel’s defense had he been called as a witness (O.R.
65-72) Mr. Williams states in his affidavit, attached to this Application as Exhibit
A, that he saw Mr. Bethel around 4:00 a.m. on the morning of February 4, 2012, He
called Mr. Bethel on the phone to see where he was Mr. Bethel said he was in the
vicinity of Mr. Williams's house near Lucky Sam’s convenience store on North
Lewis See Exhibit A at 1. Mr. Williams told Mr. Bethel to meet him at Lucky
Sam’s The two met there and saw LaHarry Myers, otherwise known as “L.J,”
getting out of his white Crown Victoria in the parking lot. See Exhibit A at 1.

Mr. Bethel asked L.J. if he still had a gun for sale. L.J. said he still had some
guns and they would need to go around the corner near the 007 Club to get the guns
See Exhibit A at'1. Mr. Bethel said a “cop” named “Sticks” told him he needed a

gun for protection because the Hoovers were trying to get at him. According to Mr.

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Williams all three men drove in separate cars to the location, See Exhibit A at 1.
Mr. Williams said he was driving my brother’s maroon 2000 Chevy Tahoe. He
thought it took less than a minute to get to the house. He did not know whose
house it was See Exhibit A at 1. Once there, he got out of his car and got into Mr.
Bethel’s white car. Mr. Williams said L.J. approached and said he was going inside
the house to get the guns See Exhibit A at 1.

According to Mr. Williams a few minutes later, L.J. came out of the house
with two guns a .40 caliber and a 9 millimeter and showed them to Mr. Bethel. See
Exhibit A at 1. Mr. Bethel asked L.J. if there was anything wrong with the guns and
whether they were “hot.” L.J. said the guns were flne. Mr. Williams stated that Mr.
Bethel gave L.J. $150.00 in exchange for the .40 caliber gun, Mr. Williams got in his
vehicle and left. See Exhibit A at 1. Mr. Williams said that Mr. Bethel’s trial lawyer
never contacted him about this information prior to trial, nor did anyone from his
staff. Mr. Williams states that he was willing to testify and would have done so had
he been asked to appear on Mr. Bethel’s behalf. See Exhibit A at 1.

A second witness could not only have corroborated Mr. Bethel’s statement
about the gun, but she could have provided testimony that established Mr. Bethel
was with her at the time Mr. Ivory was killed. Mr. Bethel told Detectives White and
Felton during the interview that his own personal phone was off that night but that
he believed he was using a girl named Janell’s phone. He told police he was not sure
of Janell’s last name or her phone number. He could not remember exactly where
she lived. (State’s Ex. 74, 11:37; Tr. 835) He told the detectives that Janell was a
“hook-up” and she had been staying with her friend Neka. (State’s Ex. 74; 11:37)
Detective White testified at trial that he attempted to locate this “glrl named

Janelle” but was unsuccessful. (Tr. 835)

In fact, as she states in her affidavit attached to this Application as Exhibit

 

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B, Wanda Janeli Smith could have testified that she was Deandre Bethel on the
evening of February 3, 2014, and into the early morning hours of February 4, 2014.
See Exhibit B at 1. She was dating Mr. Bethel at the time, Around 1:00 p.m., Mr.
Bethel dropped her off at the home of her best friend, Neka. He came back over at
about 9:00 p.m. Ms. Smith said she and Mr. Bethel hung out, playing dominoes and
drinking. She saw Mr. Bethel take a couple of Xanax bars. Around 1200 a.m., they
left for her mother’s house in Mr. Bethel’s white Cobalt car. See Exhibit B at 1.

Mr. Smith said her mother lived at 539 E 49”h Place in Tulsa. At that point, Mr.
Bethel was “pretty messed up.” See Exhibit B at 1. Ms. Smith’s grandmother
called her around 3:00 a.m. She was ill and needed help to be moved from her bed
to the living room. Ms. Smith and Mr. Bethel went over to her grandmother’s house
around the corner to help move her. According to Ms.' Smith, around 3:00 a.m., Mr.
Bethel’s friend, LJ (LaHarry Myers), called her cell phone, Ms. Smith said Mr.
Bethel did not have a working phone at the time, See Exhibit B at 1. LJ asked if
“Belly” was with Ms. Smith, Ms. Smith said “Belly” was Mr. Bethel’s nickname.
According to her affidavit, she gave Mr. Bethel her phone, He was talking to LJ, but
Ms. Smith did not know what they were saying. See Exhibit B at l.

After he finished taiking, Mr. Bethel told Ms. Smith he was going to meet LJ

to go buy a gun, Ms.l Smith stated that she told Mr. Bethei, “Let me go with you.”
See Exhibit B at 1. He told her “no” and they got into an argument, Ms. Smith said
Mr. Bethel did not want her to go with him because he thought LJ was going to rob
him. After they argued some more, Ms. Smith said she got out of the car and Mr.
Bethel drove off without her. Later that morning, she said she got a phone call that
Mr. Bethel was in jail. See Exhibit B at l.

Ms. Smith said she was never contacted by the police, the district attorney’s

office or any defense attorneys who represented Deandre Bethel before his trial in

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February 2014. She said she was willing to testify and would have done so had she
been asked to appear on Mr. Bethel’s behalf. See Exhibit B at l.

As Exhibit C to the Application establishes, trial counsel was notified of the
existence of this witness prior to trial, yet failed to contact her or call her as a
witness at trial on Mr. Bethel’s behalf. Exhibit C is a letter from Mr. Bethel’s
mother, Gienda Gray, sent to defense counsel prior to trial. This letter was
contained in the files provided to appellate counsel by Appellant’s trial attorney.
Ms. Gray writes that she is “sending vital information regarding my son Deandre
Bethel’s case.” See Exhibit C at 1. She lists several witnesses she believes are
important for Mr. Bethel’s defense. One of these witnesses is Wanda Janell Smith,
and Ms. Gray provides Ms. Smith’s address and two separate phone numbers for
her. See Exhibit C at 1. Clearly, defense counsel was notified of the existence of
this witness prior to trial, yet failed to contact her and present her testimony at
trial on Mr. Bethel’s behalf.

Had trial counsel secured the attendance of these two witnesses, they could
have provided an alibi for Mr. Bethel at the time of the shooting of Mr. Ivory and
proven the existence of Janell, the “mystery” woman police and prosecutors were
unable to locate. (Tr. 835, 1047-48) This evidence would have corroborated Mr.
Bethel’s repeated statements to police that he bought the gun from a black male
with dreads several hours after the homicide of Byron Ivory had already occurred.
As it was, the jury was provided with only the unsubstantiated testimony of Mr.
Bethel claiming that he bought the gun after the fact. (Tr. 835, 865, State’s Ex. 74)
Without this corroboration, the prosecutor was able to argue to the jury that Mr.

Bethel had fabricated all of this information:

And, you know, the only reason he bought the gun is because the police
told him to buy it and he just happened to do that on a night that a white
Chevy Cobalt was seen outside of this parking lot where Byron Ivory, Junior

 

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was murdered, and it’s even more amazing because he gets from the scene
and this gun dealer, Rio, has to call LaHarry Myers - the dead guy who can't
come in and say whether or not this happened - and get ahold of him and say,
hey, let me tell you, I know your friend is looking for a new burner. I’ve got
this great .40 caliber Smith and Wesson model, it’s a 40-06, has a 10 magazine
bullet and a plus-one capacity, I’m look (sic) to sell this gun for $175, and
LaHarry is able to get ahold of Byron Ivory (sic)? l mean, that’s amazing.
His cell phone had been turned off the night before, he told that to Jason
White. But LaHarry somehow knows that he has some girl’s phone, he

, doesn’t even know the girl’s name, Janele, something like that that he met
-- met her walking down the street, doesn’t know where she lives but he just
happened to have her phone and LaHarry knew that he had her phone and
was able to get a hold of Deandre Bethel who was so drunk that he blew a .04
and maybe taken a Xanax and fell asleep in an intersection, and he was able
to met (sic) up with LaHarry outside this club and then meet up with the gun
dealer, and get to being passed out in an intersection on north Lewis, all
within, like, three hours from the murder. I mean, that’s efficiency, ladies
and gentlemen ofjury, and you shouldn’t believe it for a second,

(Tr. 1047-48)

The Sixth Amendment imposes on counsel certain basic duties, including “a
duty to bring to bear such skill and knowledge as will render the trial a reliable
adversarial testing process.” Strickland v. Wash'lngton, 466 U.S. 668, 688, 104 S.Ct.
2052, 2065, 80 L.Ed.2d 674 (1984). Counsel also has “a duty to make reasonable
investigations or to make a reasonable decision that makes particular
investigations unnecessary.” 466 U.S. at 690, 104 S.Ct. at 2066.

Even before Strickland, this Court indicated that it was counsel’s duty to
investigate and use relevant evidence helpful to the defendant, In Smith v. State,
1982 OK CR 143, 650 P.2d 904, 906-907, counsel inexplicably failed to call available
witnesses in support of the defendant's insanity defense. In response to this
omission, this Court quoted the American Bar Association Standard for Criminal
Justice, Defense Function 4-4.1, which states that, “It is the duty of the lawyer to
conduct a prompt investigation of the circumstances of the case and to explore all
avenues leading to facts relevant to the merits of the case and the penalty in the

event ofconviction.'” (Emphasis added). 650 P.2d at 908. This Court held:

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We recognize that the attorney for a defendant may, at times, have legitimate
reasons for not calling certain witnesses to testify. The decision of which
witness, if any, to call at trial is one of strategy best left to counsel, and
generally will not be second-guessed on appeal. [Citations omitted] Before
counsel may make such tactical decisions, however, it ls imperative that he
have knowledge of the substance of the evidence excluded. Thus, when, as
in the present case, counsel knows of the existence of a person or persons
who possess information relevant to the client’s case and fails to exercise
ordinary diligence to pursue that evidence, we cannot justify such lack of
industry as a strategic error. [Citations omitted]
Id. This Court has found a violation of the Sixth Amendment right to counsel when
counsel has failed to investigate or utilize important impeachment evidence,
exculpatory evidence or a well-founded defense. Glossip v. State, 2001 OK CR 21,
29 P.3d 597, 601; Wilhott v. State, 1991 OK CR 50, 816 P.2d 545, 546-47; see also
Jenn'lngs v. State, 1987 OK CR 219, 744 P.2d 212, 214-15 (counsel ineffective for
failing to present available evidence including witnesses, physical evidence, and
expert testimony corroborating defendant's claim); Galloway v. State, 1985 OK CR
42, 698 P.2d 940, 941-942 (counsel ineffective for failure to present available
evidence in support of defense) . When counsel fails to investigate for purposes of
an alibi defense, federal courts have found this failure constitutionally deficient.
See Brown v. Myers, 137 F. 3d 1154, 1156-57 (9*h Cir. 1998); United States v. Gray,
878 F. 2d 702, 711 (3d Cir.1989);Code v. Montgomery, 799 F.2d 1481, 1483 (11“‘ Cir.
1986); Nealy v. Cabana, 764 F.2d 1173, 1178-80 (5“‘ Cir. 1985).

Given defense counsel’s strategy of attempting to prove his client’s
innocence by establishing reasonable doubt, any evidence tending to corroborate
the central claims of the defense in this case, i.e., that Mr. Bethel was not at Club
Pink at the time of the robbery/shooting and that he was only in possession of the
gun because he had purchased it shortly before he was stopped by police that

morning, would have likely changed the outcome of this case. Witnesses who could

state that Mr. Bethel was present with them when the homicide occurred or when

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he bought the gun would have been critical to this end. Thus, Appellant can see no
legitimate strategy behind the failure to interview and call these witnesses at trial.
See Patterson v. State, 2002 OK CR 18, 45 P.3d 925, 929-30 (counsel ineffective for
failure to present exculpatory testimony of available witness who claimed to have
seen the victim alive after the alleged date of her murder).

The benchmark for judging any claim of ineffectiveness is whether counsel’s
conduct so undermined the proper functioning of the adversarial process that the
trial cannot be relied on as having produced a just result. Strickland v.
Washington, 466 U.S. at 686, 104 S.Ct. at 2064, In order to prevail on a claim that he
was denied his Sixth Amendment right to counsel, the defendant must make two
showings: First, that counsel’s performance was deficient, and second, that there
is a reasonable probability that, but for the counsel’s professional errors, the result
of the proceeding would have been different, A reasonable probability is defined
as a probability sufficient to undermine confidence in the outcome. 466 U.S. at 694,
104 S.Ct. at 2068; see also Williams v. Taylor, 529 U.S. 362, 392-94, 120 S.Ct. 1495,
1512-14, 146 L.Ed.2d 389 (2000). When a defendant challenges a conviction, the
question is whether there is a reasonable probability that, absent the errors, the
fact-finder would have had a reasonable doubt respecting guilt.

The facts of this case demonstrate a reasonable probability that the outcome
of Mr. Bethel’s trial would have been different, but for trial counsel’s failure to
adequately investigate the case and present the testimony of these critical alibi
witnesses. The State’s case against Mr. Bethel was not so overwhelming as to
foreclose the possibility that additional evidence in Mr. Bethel’s favor would have
created reasonable doubt in the mind of at least one juror. The jury obviously
struggled with the verdict in this case as evidenced by their notes during

deliberations (Tr. 1059-61) Mr. Bethel submits that this Court cannot have

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confidence in the outcome of his trial under the circumstances here, and his
convictions must be reversed and remanded for a new trial.
CONCLUSION
It is clear from the above extra-record claim of ineffectiveness of counsel,

compounded by record claims asserted in Proposition X ofhis Brief, that Mr. Bethel
was not afforded a meaningful test of the adversarial process in his trial, and that
under Strickland, he has met his burden of establishing that counsel’s performance
was deficient and that he was prejudiced such that there is areasonable probability
that, but for these errors, Mr. Bethel would not have been convicted of the crimes
charged. Mr. Bethel respectfully, pursuant to Rule 3.11(B) (3) (b) of the Rules of
this Court, and in consideration of his above arguments and attached exhibits,
requests an evidentiary hearing to make full proof of his extra-record claim.

Respectfully submitted,

DEANDRE BETHEL,

By: MF>B”

Jawa D. PYBAS

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Oklahoma Indigent Defense System
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Norman, Oklahoma 73070-0926
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ATTORNEY FOR APPELLANT
QERTIFIQATE OF SERVICE
I certify that on the date of filing the above and foregoing instrument, a true

and correct copy of the same was delivered to the Clerk of this Court with
instructions to deliver said copy to the Office of the Attorney General of the State

of Oklahoma,
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Exhibit

 

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No. F-2014-336

 

IN THE coURT oF cannNAL APPEALS oF THE sTATE oF oKLAHoMA_
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DEANDRE BETHEL, MAR 55 3 1015

 

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A ellant, H/-\l:,-L 5- R“"‘H
PP _MIC GLERK

.vs-

THE STATE OF OKLAHOMA,

Appellee.

 

BRIEF OF APPELLEE
FROM TULSA COUNTY DISTRICT COURT
CASE NO. CF~2012-660

 

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MARCH 23, 2015

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PROPOSITION V

THE OPINION TESTIMONY OF DETECTIVE WHITE WAS
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IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OIG.,AHOMA

DEANDRE BETHEL,

Appellant,
v. Case No. F-2014-336

THE sTATE oF 01'<LAHOMA,

VV\/v\/VVVV

Appellee.
BRIEF OF APPELLEE

STATEMENT OF THE CASE

 

Deandre Bethel, hereinafter referred to as defendant, was tried by jury on February 4, 5, 6,
7, and 8, 2014, and found guilty of Count l~, First Degree Felony Murder, in violation of 21
0.S.2011, § 701 .7; Count 2, Robbery with a Firearm, in violation of 21 0.S.2011, § 801; Count 3,
Transporting Loaded Firearm in Motor Vehicle, in violation of 21 0.S.2011, § -1289.13; and Count
4, Public lntoxication, in violation of 37 O.S.201 l, § 8, in Tulsa County District Court, Case No. CF-
2012-660 (O.R. 312-315).1 Jury trial was held with the Honorable J ames M. Caputo, District Judge,
presiding The jury recommended a sentence of Life imprisonment and no fine on Count l, five (5)
years imprisonment and no fine on Count 2, five (5) months imprisonment and a $250.00 fine on
Count 3, and thirty (30) days imprisonment and a $lOO fine on Count 4 (O.R. 312-315).

At the sentencing proceeding held on March 14, 2014, the trial court sentenced defendant in

accordance with the jury’s recommendation lt ordered Counts l and 2 to run consecutively with

 

1References to the Original Record will be cited by page as (O.R. _). References to the trial transcript will
be cited by page number as (Tr. __), and references to the sentencing transcript will be cited as (S. Tr. _).
State’s Exhibits will be designated (S.E. _).

each other, but it ordered Counts 3 and 4 to run concurrently with each other and concurrently with
.Counts 1 and 2. From this Judgment and Sentence, defendant has perfected his appeal to this Court,
STATEMENT OF THE FACTS
In the early morning hours of February 4, 2012, a group of men, which included defendant,
pointed guns at a car full of people in a parking lot near 18th and South Boston in Tulsa, Oklahoma,
demanding wallets and cell phones. Twenty-four-year-old Byron Ivory was shot and killed during
'this robbery attempt

Earnest (Jordan) Roberts, Bradley Jarrett, and Mr. Ivory were close friends who knew each

other for years (Tr. 359-360). About 10:30 or 11:00 p.m. on February 3, 2012, the n'iends met up
at Mr. Roberts’ apartment, had a few drinks, and later decided to go out (Tr. 361). They first went
to a nightclub called the Gray Snail. They went out in Mr. Ivory’s car, a gunmetal gray Impala, and
Mr. Ivory drove, They stayed at the Gray Snail for about 30 minutes, had some rum, and then left
the Gray Snail to go to Club Pink, at 18th and Boston, It was around 1:30 a.m. by that_point, and
although it was nearly closing time, they just wanted to see the club let out. This involved seeing
who came out of the club (Tr. 363, 417). Mr. Ivory drove, Mr. Roberts was in the passenger seat,'
and Mr. Jarrett was directly behind him in the backseat (Tr. 364). They eventually found a parking
lot area next to a rail and a five-foot drop. They sat in the car for two or three minutes talking (Tr.
365). When they were about to get out of the car, a short guy dressed in a black or navy blue hoodie
approached the Impala and asked, “[d]o I know you?” The man was an African American male with
a “chin strap” where his sideburns connected with his beard, looping.around the face without a

mustache, and he was thinner and shorter than Mr. Roberts (Tr. 366-3 67, 378). Mr. Roberts looked

at the man and said, “I don’t know.” The man came up and put a gun to Mr. Roberts’ chest (Tr.

367). lt “felt like a circle of hard metal.” (Tr. 368). Mr. Roberts was scared for his life because they

were getting robbed (Tr. 368).

Mr. Roberts got out of the car and raised his hands and asked the robber if he wanted his cell
phone and wallet because those were the only valuables he had (Tr. 369). The robber said, “[y]es.”
(Tr. 370). Mr. Roberts heard some rustling coming from where Mr. Ivory was, and Mr. Ivory said,
“[l]et’s hurry and get out.” (Tr. 370). Based on this rustling noise, Mr. Roberts knew there were
at least two people involved ('1`r. 378). Mr. Roberts handed over his wallet and cell phone because
he felt like he had to give the robber whatever he wanted (Tr. 371, 379) As soon as Mr. Jarrett
realized something was wrong, he started running towards Club Pink. This caused one of the
robbers to turn and look, as if he did not know that a third person was in the backseat That gave Mr.
Roberts a second to get away (Tr. 371).

Mr. Roberts took one step, jumped over the rail, landed, and started running towards Club
Pink as fast as he could. He thought Mr. Ivory was still in the car, and he continued to hear the
rustling sound (Tr. 372). The club was about twenty yards away (Tr. 372). As he was running
towards the club, he heard “a lot of gunshots.” He estimated he heard between five and ten shots,
though he admitted he did not stop to count (Tr. 373).

When Mr. Roberts arrived at the club, he met up with Mr. Jarrett and they informed a security
guard that they were robbed (Tr. 374). Mr. Jarrett no longer had his shoes on, even though he was
wearing shoes earlier in the car (Tr. 375). Mr. Roberts asked a friend for a ride because he was

afraid the robbers might come back, and he was ah'aid of going back where Mr. Ivory was (Tr. 375-'

376). As they were leaving Club Pink, they saw an ambulance driving over to where they parked
their car (Tr. 377). They went back to the apartment complex where they started the evening, and
then they headed to Bartlesville, where they felt they would be safe (Tr. 376).

The whole time they were driving to Bartlesville, they attempted to call Mr. Ivory, but they
could not reach him by telephone (Tr. 377). After they arrived in Bartlesville about 3 :00 a.m., they
received a call from Detective Jason White. He informed them that Mr. Ivory had passed away (Tr.
37 8).

Bradley Jarrett testified that when they arrived at Club Pink that evening, they sat there
talking for no more than five minutes when they decided to get out of the car. Mr. Jarrett observed
a black male staggering like he was drunk, who came up to the front passenger side of their car (Tr.
419, 422-423). He wore a stocking cap and a baggy, oversized coat, and he was shorter than Mr.
Jarrett and skinny (Tr. 422-424). Mr. Roberts rolled down the window, and the man asked, “[d]o
you guys know me?” They responded, “[n]o, we don’t lmow you.” He asked again and they said
no. Ten seconds after that, Mr. Ivory said, “[h]ey, guys, hurry up and get out and go in.” They all
got out of the car. As Mr. Jarrett got out, he looked to his right and saw a silver-white sedan parked
directly behind them (Tr. 420-421). There was a tall, African American male standing next to this
car (Tr. 423). It seemed like the people were together (Tr. 423).

As soon as Mr. Jarrett turned back around to focus his attention on the guy on the passenger
side, he heard gunshots (Tr. 421 , 425). Mr. Ivory got out of the car extraordinarin fast “like_
somebody was over there[.]” (Tr. 422). It was “like he lunged out.” (Tr. 422). Mr. Jarrett ran to

Club Pink and lost his Nike Jordan shoes as he was running (Tr. 425-426).

lustin White was a firefighter for the City of Tulsa, assigned to Station Five at 18‘h and
Boston, near SpiritBank and Club Pink (Tr. 474-477). lt was a two-level station, and they went
downstairs to keep an eye on the crowd near the station, A couple of fights had broken out earlier
that evening (Tr. 477-478). The captain, Clay Ayers, actually called the police department due to
the fights (l`r. 47 8). As they were standing outside, Mr. White heard nine to twelve shots fired in
the parking lot between the fire station and the Spirithuc (Tr. 478). Mr. White ducked behind his
truck and kept an eye out to make sure everybody was okay in their area (Tr. 479).

As he was behind the truck, he looked in the direction of the shots and saw a car leaving at
a high rate of speed. One of the doors on the side of the car was still open as it was leaving. Mr.
White was a “car guy” who grew up around cars, and he believed the car was a white, four-door
Chevy Cobalt. Mr. White told Captain Ayers, who relayed this information to dispatch (Tr. 481-
' 482). After that, they waited for the police department to respond to the scene, Then, the firefighters
went over to the parking lot (Tr. 482).

A couple of people were standing around and Captain Ayers said, “[o]h, we’ve got a guy
down.” The victim was laying face down between two cars (Tr. 483). The victim had gunshot
wounds and was gasping. They retrieved their tools and prepared the victim for EMSA to arrive (Tr.
484).

Officer Amley Floyd was working the gravede shift on the morning of February 4, 2012.
That morning, Officer Floyd responded to a call at 2400 East Apache, near Apache and Lewis (Tr.
541-542). Some EMS drivers had observed a man passed out at the steering wheel, with a gun in

the passenger seat. Officer Floyd found a white Chevy Cobalt with a paper tag (Tr. 542). The brake

lights were on, like the driver was pressing on them, Although there was a green light, the car did
not move (Tr. 543). Officer Floyd continued observing the car, but it stayed at the light for a few
stoplight cycles, and the car did not move (Tr. 543).

Officer Floyd was concerned that the driver was intoxicated and asleep at the wheel (Tr. 544).
Only one person was in the car, the driver (Tr. 544).

Officer Floyd waited for backup to arrive, and then the officer activated the lights and sirens.
Then, Officer Floyd gave defendant commands over the loud phone to put his hands up and put the
car in park (Tr. 545-546). Eventually, the driver popped his head up and proceeded through the
intersection, slowly ('l`r. 546). The car went for about 800 to 1,000 feet and then stopped. The|
officers placed their car in a tactical position. Officer Floyd saw defendant lean over the passenger
seat, reaching for the floorboard, and he did this two or three times (Tr. 547). They were concerned
defendant was trying to reach the firearm they knew he had (Tr. 548). Officer Floyd commanded
defendant to put his hands outside the window (Tr. 548).

Defendant was the driver of the Cobalt (Tr. 548). As he got out of the car, he moved slowly.
The officers commanded him to turn around, and he made a few turns. Defendant kept asking
questions about when to stop and how to stop. He leaned against his car but kept falling over.
Defendant had a strong odor of alcohol coming from his breath and body (Tr. 551). He had slurred

speech and bloodshot eyes (Tr. 552). Defendant’s nystagmus test confirmed he was intoxicated (Tr.

552). Because defendant kept falling over, no other tests were administered (Tr. 553).

Defendant asked what were his charges, and Officer Floyd explained it was currently public
intoxication, but that if he blew a certain level, he would have a DUI. He would also be charged
with possession of a loaded firearm (Tr. 553-554).

Defendant asked where the firearm was, and the officer explained it was in his car.
Defendant told Officer Floyd he had the gun because he was told by an officer a couple of weeks
prior to that that he needed a gun because someone was trying to kill him (Tr. 554). Defendant said
he had been drinking at a bar downtown until midnight, but he claimed he did not remember
anything between the time he left the bar and when he was found at the traffic light (Tr. 554).
Defendant ultimately blew a .04 on the Breathalyzer test (Tr. 555). Although this was below the
legal limit for alcohol intoxication, Officer Floyd opined he was intoxicated on something (Tr. 556).
Defendant seemed to get more intoxicated as they were together. He would ask what the charges
were, but then a few minutes later, he would ask the exact same question (Tr. 556).

Officer Jason White was a homicide detective with the Tulsa Police Department ('l`r. 785).
At approximately 2:24 a.m. on February 4, 2012, he was called to the scene of the murder (Tr. 788).
When he arrived, there were not any suspects because nobody was coming forward. However, they
obtained the surveillance video from the SpiritBank parking lot (Tr. 789; S.E. 72).

On the video, Officer White saw a white car consistent with a Chevy Cobalt (Tr. 791). A
boxy-type sedan pulled up alongside the victim’ s car (Tr. 796). The other car was a white four-door
sedan (Tr. 796). The video showed someone coming up alongside the victim’s car, consistently with
the surviving victims’ accounts. There were muzzle flashes on the video, approximately two to two

and a half minutes after the victim initially pulled into his parking spot (Tr. 791-792). After the

muzzle flashes, “[o]ne subject, two subjects, possibly a third . . . reentered the vehicle.” (Tr. 797),
Both of the cars left at a high rate of speed (Tr. 797-798).

At some point, Officer White interviewed Justin White from the fire department and got a
make and model for one of the cars (Tr. 800-802).

1 Officer White also spoke with Mr. Jarrett and Mr. Roberts. He tracked them down because
a wallet was left at the crime scene (Tr. 801).

Eventually, Officer White received information on a potential suspect, and he went and
retrieved a firearm from the property room (Tr. 803). He typed in defendant’s name in the database
and learned that defendant was stopped and arrested around 2600 North Lewis and that the .40
caliber firearm which was recovered in the arrest was consistent with the caliber of one of the
firearms used in the shooting (Tr. 804). Officer White then obtained a bullet fragment from the
medical examiner’ s office. He checked out the gun and the only casings which could have been fired
h'om the gun and transported them to the OSBI laboratory in Edmond (Tr. 806-807). Eventually,
he heard back that the ballistics matched the gun (Tr. 809). He relayed this information to Detective
Vic Regalado (Tr. 810).

Based on the information he had, showing that defendant was at Club Pink that night, that
defendant’s Chevy Cobalt was at the scene, that defendant was arrested with a .40 caliber gun about
three hours after the murder, and that the gun was taken along with some of the evidence to Edmond
and confirmed to match the casings found adjacent to the victim, he had defendant re-arrested (Tr.

81 1). Officer White testified it was “very rare” for a firearm to be recovered matching the one used

in a homicide (Tr. 812).

Officer White interviewed defendant, Defendant’s story seemed inconsistent to Officer
White because defendant claimed not to remember anything from 8:00 p.m. on February 3 until 5 :00
the next moming. However, defendant did offer an explanation for how he got the gun that night
(Tr. 823-824). Defendant was not able to provide any details that Officer White could follow up on
(Tr. 824). He claimed he received a phone call, even though he earlier said his phone was turned off`.
Defendant claimed he did not have another phone that night. Nevertheless, he claimed he got the
gun after he received a phone call from his “cousin” Larry Myers. Defendant did not have an answer
when asked how this person knew to call or what phone defendant'was using (Tr. 825).
Defendant made multiple calls from the jail. ln one call, defendant admitted to his father that
he Was at the club that night despite telling Officer White he did not remember going to the club (Tr.
850; S.E. 76).¥ Defendant’s father asked, “was you there [sic]?” Defendant responded, “yes.” (Tr.
854; S.E. 76). Defendant’s father reminded defendant he told him to stay away from the club,
Defendant responded, “I wasn’t planning on going but l don’t know what made me end up going in
there.” (Tr. 854; S.E. 76).
Additional facts will be presented as they relate to the individual propositions of error.
PROPOSITION I
SUFFICIENT EVIDENCE SUPPORTS DEFENDANT’S
CONVICTIONS FOR FELONY MURDER AND ROBBERY
WITH A FIREARM.
A. Standard of Review

When a defendant challenges the sufficiency of the evidence, the standard of review applied

by this Court is that it will review the evidence in the light most favorable to the State, and will not

disturb the verdict if any rational trier of fact could find the essential elements of the crime charged
beyond a reasonable doubt. Spuehler v. State, 1985 OK CR 132, 11 7, 709 P.2d 202, 203-204 (citing
Jackson v. Virginia, 443 U.S. 307, 99 S. Ct. 2781, 61 L. Ed. 2d 560 (1979)). See Gilson v. State,
2000 OK CR 14, 1[ 177, 8 P.3d 883, 910 (reasoning, “[i]t is the exclusive province of the trier of fact
to weigh the evidence and determine the facts.”).

B. Argument and Authority

In his first proposition, defendant alleges that the evidence was legally insufficient to prove
all the elements of Robbery with a Firearm and hence, the evidence was insufficient to support his
conviction for First Degree Murder, too. Defendant’s allegations are two-fold: that the elements of
Robbery were not present and that the evidence did not show that he was even there.` Both of these
claims must fail.

Defendant correctly sets forth the elements of Robbery with a Firearm on which the jury was
instructed (O.R. 343, 345). However, he claims that the only evidence that the State presented
concerning a robbery came from Mr. Roberts. Mr. Roberts testified that the man came up and put
a gun to his chest, which “felt like a circle of hard metal.” (Tr. 367-368). Mr. Roberts got out of the
car and raised his hands and asked the robber if he wanted his cell phone and wallet because those
were the only valuables he had (Tr. 369). The robber said, “[y]es.” (Tr. 370). Mr. Roberts also
testified he was scared for his life because they were getting robbed (Tr. 368). Moreover, there was
testimony that when Mr. Roberts arrived at the club, he met up with Mr. Jarrett and they informed

a security guard that they were robbed (Tr. 374). While Mr. Roberts may have had more verbal

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interaction with the robbers, nothing in Mr. Jarrett’s testimony contradicted Mr. Roberts’ account
of events in any way.

Defendant further claims that there was no evidence placing him at the scene. Naturally,
defendant seeks to focus the Court’s attention on the short, thin African American male who held
the gun on Mr. Roberts, only briefly acknowledging that a tall African American male was also
present at the scene (Tr. 423, 448). However, the fact that this taller man was defendant was
continued by the evidence showing that defendant was found only a few hours later passed out in
the white Chevy Cobalt observed at the scene, next to a firearm which was demonstrably used in the
robbery (Tr. 804-809). There was testimony that it was “very rare” for a firearm to be recovered
matching the one used in a homicide (Tr. 812). See Matthews v. State, 2002 OK CR 16, 1[ 36, 45
P.3d 907, 920 (suflicient evidence included the fact that the Ruger identified as the murder weapon
was found buried in a field next to Matthews’ home). See also Parker v. Martin, Nos. 14-61 11, 14-
617, 589 Fed. Appx. 866, 869 (10th Cir. Oct. 29, 2014)2 (unpub.) (considering the fact that Parker
had the same physical characteristics as the murderer and was found hiding the murder weapon in
concluding that witness Briggs’ trial testimony was not false).

In fact, defendant does not deny possessing the murder weapon; he only disputes when he
came to be in possession of it. However, defendant’ s story as to how he obtained the murder weapon
was incredible. He claimed to not remember anything between 8:00 p.m. on February 3, 2012, and
the time he was picked up around 5:00 a.m. except for an alleged firearms purchase based on the

advice of a police officer from a man named “Rio,” for which he provided no details which could

 

2Unpublished decision cited for persuasive value only pursuant to Fed. R. App. P. 32.1 and Tenth Circuit
Court of Appeals Rule 32.1.

ll

be corroborated (Tr. 823-825). Defendant claimed he received a phone call, even though he earlier
said his phone was turned off (Tr. 825). Defendant claimed he did not have another phone that night,
even though he presently claims he had his girlfriend’s phone, Nevertheless, he claimed he got the
gun after he received a phone call from his “cousin” Larry Myers, Defendant did not have an answer
when asked how this person even knew to call him (Tr. 825). Defendant’s credibility is called into
question by the fact that he repeatedly denied being at the club when the officer questioned him, but
readily admitted he was at the club when his father asked him (Tr. 850, 854).

Defendant finally makes a last ditch argurnen : “assuming” he was present at the scene, he
argues, “there was no evidence that he directly and actively committed the acts constituting the
robbery at issue.” This argument ignores the fact that multiple people in at least two cars were
continued to surround the victims (Tr. 796-798). The jury was correctly instructed on the definition
of acting “in concert” and the assistant district attorney correctly argued:

Now, what does “in concert” mean? We charged [defendant] with' in
concert with unknown individuals What that means is he didn’t do
it alone. He wasn’t standing in that parking lot alone. He didn’t
drive his car in that parking lot alone. Do you remember in that
SpiritBank video all of those people that walked out got out [sic] of
that car? That’s what that means. He wasn’t alone. He didn’t plan
this thing alone. Okay.
(Tr. 1008§.

Further supporting the fact that defendant acted in concert with other individuals, there were

other guns used besides defendant’s .40 caliber Smith and Wesson semi-automatic pistol. The

projectiles recovered at the scene indicated that Glock and Hi-Point firearms were also used in the

shooting (S.E. 70). The victim was riddled with gunshots (S.E. 73). This evidence shows that

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multiple individuals in defendant’s group participated in the shooting of Mr. Ivory, not one robber
acting alone. '

Based on the foregoing evidence, any rational trier of fact could find that defendant was
present and participated in the robbery and murder of Mr. Ivory. Spuehler, 1985 OK CR 132, 11 7,
709 P.2d at 203-204. For the foregoing reasons, defendant’s first proposition is without merit and l

must fail.

PROPOSITION II

 

BECAUSE DEFENDANT WAS CONVICTED OF TI-[E

ROBBERY OF MR. ROBERTS AND WAS SEPARATELY

CONVICTED OF THE MURDER OF MR. IVORY, A

SEPARATE VICTIM, THERE WAS NO DOUBLE JEOPARDY

AND THE COUNTS DO NOT MERGE.
A. Standard of Review

Where a defendant fails to raise a multiple punishment claim in the district court, the claim

is waived and this Court will review only for plain error. Logsdon v. State, 2010 OK CR 7, 11 28, 231
P.3d 1156, 1167; Head v. State, 2006 OK CR 44, 1[ 9, 146 P.3d 1141, 1144. ln Peninger v. State,
1986 OK CR 113, 721 P.2d 1338, this Court held that it no longer follows the single transaction
theory of the law. Rather, it follows the test set out in Blockburger v. United States, 284 U.S. 299,
52 S. Ct. 180, 76 L. Ed. 306 (1932): “The applicable rule is that where the same act or transaction
constitutes a violation of two distinct statutory provisions, the test to be applied to determine whether

there are two offenses or only one, is whether each requires proof of a fact which the other does not

. . . .” Peninger, 1986 OK CR113, 1119, 721 P.2d at 1341.

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B. Argument and Authority

In his second proposition, defendant alleges that his separate convictions for Felony Murder
and Robbery with a Firearm violate the Double Jeopardy Clause. Because separate convictions do
not violate the prohibition against Double Jeopardy under the facts and circumstances of this case,
this proposition is without merit and must fail.

The evidence in this case showed that, in addition to committing the robbery which resulted
in the death of Mr. Ivory, defendant and his cohorts received property from Mr. Roberts in the
process of robbing him, as Mr. Roberts gave the robbers his wallet and cell phone (Tr. 369-370).
This was a separate and distinct offense from the robbery which led to the death of Mr. Ivory, even
if the crimes occurred during the same transaction, See Jennings v. State, 1973 OK CR 74, 1[ 15, 506
P.2d 931, 935 (“where crimes against the person are involved, even though various acts are part of
the same transaction, they will constitute separate and distinct crimes where they are directed at
separate and distinct persons.”) and Clay v. State, 1979 OK CR 26, 1[ 6, 593 P.2d 509, 510
(reasoning, “it is clear that offenses committed against different individual victims are not the same
for double jeopardy or dual punishment purposes, even though they arise horn the same episode or
transaction.”). See also U.S. v. Felix, 503 U.S. 378, 386, 112 S. Ct. 1377, 118 L. Ed. 2d 25 (1992)

- (holding that a mere overlap in proof does not establish a Double Jeopardy violation).

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ln fact, the present case is indistinguishable from the case of Tony Decarlos Humdy v. State,
Case No. F-1996-449 (Okla. Crim. App. lan. 6, 2000)3 (unpub.) in which this Court upheld separate
convictions for Attempted Robbery with a Firearm and Murder in the First Degree, reasoning:

ln Proposition H, Appellant argues that the double jeopardy provision
prohibits conviction of attempted robbery with a firearm and felony
murder based upon attempted robbery with a firearm.

In this case, Appellant was convicted of the attempted robbery with
a firearm of Paul Wilkes and was separately convicted of the murder
of Keith Roach during the attempted robbery with a firearm of Keith
Roach.

In Johnson v. State, 1982 OK CR 135, 650 P.2d 875, we stated that
two separate armed robberies occurred. anohnson, money was taken
from several McDonald’s cash registers which constituted one
offense and a customer’s $5 bill which had been placed on the
counter was taken constituting a separate robbery of the customer.
Convictions for both offenses did not violate the-double jeopardy
prohibition Likewise, in this case, there was an attempt to rob the
occupants of the car and each victim constituted a separate offense,
Because the attempted robberies were separate offenses, merger does
not occur and Manson v. State, 1988 OK CR 124, 758 P.2d 324;
Castro v. State, 1987 OK CR 182, 745 P.2d 394; and Jej'erson v.
State, 1984 OK CR 27, 675 P.2d 443, do not apply. There is no
double jeopardy violation here.

Humdy, slip op., at 3-4. ln Johnson, the case relied on by the Humdy Court, this Court found
separate victims, and thus upheld separate counts, reasoning that “[t]he acts of the appellant and his
accomplice(s) constituted two separate, yet intertwined offenses.” Johnson, 1982 OK CR 135, 1[ 5,
650 P.2d at 876.

Because Mr. Roberts and Mr. Jarrett suffered a harm separately from Mr. Ivory, there were

separate offenses, and this Court should find that merger did not occur, pursuant to Jennings, Clay,

 

3Pursuant to Rule 3.5(C)(3), Title 22, Ch. 18, App. (2014), this unpublished summary opinion in Humdy is
attached hereto as Exhibit A because no published opinion would serve as well the purpose for which it is
being cited.

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Johnson and this Court’s on-point unpublished decision in Humdy. For the foregoing reasons,
defendant’s second proposition is without merit and must fail.

PROPOSITION III

 

LESSER INCLUDED 0FFENSE [NSTRUCTIONS WERE NOT

WARRANTED WHERE DEFENDANT TOOK THE STAND

AND “TOTALLY DENOUNCED” ANY INVOLVEMENT IN

THE ROBBERY WHICH LED TO MR. IVORY’S DEATI-I.
A. Standard of Review

“The determination of which instructions shall be given to the jury is a matter within the

sound discretion of the trial court.” Patton v. State, 1998 OK CR 66, 1149, 973 P.2d 270, 288.
“Absent an abuse of that discretion, this Court will not interfere with the trial court’s judgment as
long as the instructions, as a whole, accurately state the relevant law.” Id. In Shrum v. State, 1999
OK CR 41 , 991 P.2d 1032, this Court held that it will apply the evidence test to determine whether
a lesser included offense instruction was appropriate Shrum, 1999 OK CR 41, 1| 10, 991 P.2d at
1036. Under the evidence test, this Court reviews the evidence to determine whether the instruction
was reasonably supported by the evidence. Shrum, 1999 OK CR 41, 1[ 12, 991 P.2d at 1037. “The
test is an objective one-we do not ask a jury to consider a lesser offense if no jury could rationally
find both that the lesser offense was committed and that the greater offense was not.” Frederick v.
State, 2001 OK CR 34, 1[ 137, 37 P.3d 908, 943-944 (emphasis in original). “We have held that
where there is no evidence to support a lower degree of the crime charged or lesser included offense,

it is not only unnecessary to instruct thereon, the court has no right to ask the jury to consider the

issue.” Id at n.ll (citing Boyd v. State, 1992 OK CR 40, 1[ 11, 839 P.2d 1363, 1367-68).

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B. Argument and Authority

In his third proposition, defendant alleges that the trial court committed fundamental error
by failing to instruct the jury on the lesser included offenses of Second Degree Depraved Mind
Murder, Second Degree Felony Murder, and Accessory After the Fact. Because these lesser included
offense instructions were not warranted by the evidence, the trial court did not err in failing to give
such instructions sua sponte and defendant’s third proposition must fail.

The most important thing to keep in mind about defendant’s third proposition is that
defendant took the stand in his own defense, denied killing Mr. Ivory, and denied any participation
in the robbery (Tr. 979). He further testified he believed the car at Club Pink was not his 2009
Chevy Cobalt (Tr. 980-981). Based on defendant’s own testimony, his attorney’s hands were tied.
During the instruction conference, the trial court correctly noted defendant’ s repeated denials of any
involvement in the-robbery and murder, albeit in the context of considering a voluntary intoxication
instruction:

Review of the evidence indicates that the defendant has indicated in
statements to the police and - let me check - l think also today when
he testified that he did not commit these crimes, so if he did not
commit these crimes, then there is no defense of voluntary
intoxication available to him, because that would available [sic] to
someone who perhaps did do the crimes but doesn’t recall doing the
crimes because of the intoxication level. He was on the record today,
and as on several other occasions, totally denounced any participation
in any of these crimes.
(Tr. 1000).
Defense counsel properly agreed with the trial court’s impeccable analysis:

It’s always a defense attorney’s temptation to make a record in
situations like this, saying about how they object, but I concur with

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the Court’s analysis, especially since this is my client’s point of view.
Even if he could in theory make this defense it would go against the
strategy of the case designed to - designed to cause him to have a
more favorable result. ln other words, it would be a dissipation of
argument to try to say on one hand we didn’t do it, and on the other
hand, if we did it, he was voluntarily intoxicated

(Tr. 1 000).

Obviously, this same rationale is equally applicable to the notion of any lesser included
offenses, not just those associated with voluntary intoxication The evidence showed defendant
either was at the scene and was a full participant in the robbery, or he was not present at all. This
foreclosed any lesser included offenses This Court has long held that when a defendant claims to
be innocent of any crime, he is not entitled to lesser-included offense instructions See Smith v.
State, 1986 OK CR 158, 11 17, 727 P.2d 1366, 1371 (reasoning, “when a defendant, who has a right
of election as to several defenses takes the stand as a witness and makes such admissions as to
render every theory of defense unavailable save one, he will be deemed to have elected that one.”
(quoting Wiley v. State, 1976 OK CR 146, 551 P.2d 1146, 1150)); Spuehler, 1985 OK CR 132, 11 9,
709 P.2d at 204 (applying this rule where the appellant took the stand and testified, admitting he was
present at the scene of the homicide but claiming he had nothing to do with the killing of Lori
Spuehler).

This same rationale is equally applicable to defendant’s claim of entitlement to an instruction
on Accessory After the Fact. Defendant’s defense was that he purchased the firearm “innocently”
because a police officer told him he needed it for his own protection. lt must be reiterated, defendant

denied any and all participation in the robbery (Tr. 979). There was no evidence adduced at trial that

defendant knowingly took possession of a gun which he knew had been used in a robbery committed

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by someone else, and, as for the car, defendant’s claim was mistaken identity. Therefore, this
instruction, like the others now requested by defendant, was not reasonably supported by the
evidence. Shrum, 1999 OK CR 41 , 11 12, 991 P.2d at 1037. Therefore, the trial court did not abuse
its discretion in failing to give this instruction, either. Patton, 1998 OK CR 66,1] 49, 973 P.2d at
288.
For the foregoing reasons, defendant’s third proposition is without merit and must fail.
PROPOSITION IV

BECAUSE THE RESPONSES RECEIVED BY THE JURY

ACCOMPLISHED THE SAME RESULT AS IF THE COURT

HAD BROUGHT THE JURY INTO THE COURTROOM AND

RESPONDED VERBALLY, DEFENDANT HAS SHOWN NO

ERROR FROM THE WAY JUROR QUESTIONS WERE

HANDLED.
A. Standard of Review

The determination of which jury instructions shall be given is a matter within the discretion

l of the trial court. Gilson, 2000 OK CR 14, 11 96, 8 P.3d at 914 (citing Patron v. State, 1998 OK CR
66, 1[ 49, 973 P.2d 270, 288). An abuse of discretion is “a clearly erroneous conclusion and
judgment, one that is clearly against the logic and effect of the facts presented.” Stoujfer v. State,
2006 OK CR 46, 11 60, 147-\_P.3d 245, 263. Moreover, where a defendant fails to object to the giving
of a supplemental instruction without calling the jury into open court at trial, the error is waived.

See Hines v. State, 1976 OK CR 325, 1[ 6, 557 P.2d 917, 919.(“Inasmuch as the defendants did not

object to this action at the time of trial, an objection at this late date is not proper.”).

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B. Argument and Authority

ln his fourth proposition, defendant alleges the trial court erred in failing to comply with the
law governing contact with jurors during deliberations and by failing to advise deadlocked jurors not
to surrender their honest convictions Defendant alleges there were four separate notes to the trial
court, but the record reveals three of those notes only pertained to housekeeping matters The parties
agreed on the court’s response to the only substantive note sent out by the jury. Therefore, this
proposition is without merit and must fail.

The statute relied on by defendant provides:

After the jury have retired for deliberation, if there be a disagreement

between them as to any part of the testimony or if they desire to be

informed on a point of law arising in the cause, they must require the

officer to conduct them into court, Upon their being brought into

court, the information required must be given in the presence of, or

after notice to the district attorney and the defendant or his counsel,

or after they have been called. '
22 0.S.2011, § 894. Of the four notes mentioned by defendant, only the second note expressed a
“desire to be informed on a point of law arising in the cause.”

Defendant concedes that the trial court did not see the jury’ s first note, and that the bailiff was
able to provide the jury with a DVD player and a television. Considering that there were multiple
DVD exhibits in this trial, the jury’s need for a DVD player was readily apparent The jury probably
should have been provided this equipment from the beginning Defendant alleges no prejudice from
the bailiffs handling of this matter, nor does he suggest that he would have had a proper objection
to the jury receiving this equipment Contrary to defendant’s suggestion, this Court should not

“presume” prejudice from the bailiffs resolution of this routine housekeeping matter. ln Warner

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v. State, 2006 OK CR 40, 1[ 107, 144 P.3d 838, 875-876, this Court reasoned that “[n]ot every
communication between the court and jury outside the presence of counsel is prohibited.” Thus,
“[c]ornmunications with the jury regarding simple housekeeping matters do not give rise to a
statutory violation.” Id.

When the court received the second note, “What should we do if we cannot come to
[unanimous] decision,” the court considered the fact that the jury had reached unanimous decisions
on some counts and concluded, “I don’t think it’s time for the dynamite instruction yet.”4 (Tr. 105 9).
But, the court wanted the input of counsel and asked, “[w]hat do you guys feel?” (Tr. 1059).
Although defense counsel was concerned that the jury had reached a decision on the easy counts
early, he admitted, “I believe you’re right.” (Tr; 1059). The court noted it would not second guess
(Tr. 1059) (“They’ve been at it now for five hours, there’s only four counts, I don’t think that’s an

appropriate amount of time.”). The State agreed, “Judge, I think at this point it’s probably prudent

just to send back a note, just say, continue deliberating. I don’t know if it’s appropriate for a

dynamite instruction either.” (Tr. 1059). The court concluded, “I don’t think it is. I’m going to write
back to them, please to continue to deliberate on those counts that you have not come to unanimous
decision on. Fair enough.” .(Tr. 1060). Both attorneys agreed with this proposed resolution (Tr.
1060).

Thus, it appears that all parties were in agreement it was too early to give the deadlocked jury
charge, that the jury was not at an impasse but was merely in the midst of deliberations Therefore,

because no deadlocked jury charge was required at this point, there was no error in the failure to give

 

4The Allen instruction which the court alluded to was approved by the U.S. Supreme Court in Allen v. United
States, 164 U.S. 492, 17 S. Ct. 154, 41 L. Ed. 528 (1896).

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a complete deadlocked jury charge. Under Oklahoma law, the trial court is required to exercise
“great caution to say nothing to coerce an agreement or to indicate his feelings in the case.” McCarly
v. State, 1995 OK CR 48, 11 51, 904 F.2d l 10, 125. The instruction to “continue to deliberate”
clearly did not coerce an agreement.

Defendant alleges that the mandatory dictates of 22 0.S.2011, § 894 were not followed in
giving this response. Counsel nowhere objected to the court providing a written response at trial,
As noted above, where a defendant fails to object to an alleged violation of this procedure at trial,
the error is waived. Hines, 1976 OK CR 325, 11 6, 557 P.2d at 919 (“lnasmuch as the defendants did
not object to this action at the time of trial, an objection at this late date is not proper.”). Even in the
case of Mitchell v. State, 201 1 OK CR 26, 270 P.3d 160, relied upon by defendant, the Court found
that the appellant “was not prejudiced by the court’s failure to strictly adhere to § 894 as the court’s
written response accomplished the same result as if the court had brought the jury into the courtroom
and responded verbally.” Mitchell, 2011 OK CR 26, 11 130, 270 P.3d at 188. Just so, in this case,
the defendant has failed to explain how any different result could have been achieved by calling the
jury back into the courtroom,

The remaining two notes were again housekeeping matters In one note, the jurors asked the
trial court to contact family members In the next note, the jurors announced they arrived at a
verdict. Neither of these notes constituted “a disagreement between them as to any part of the
testimony” or a “desire to be informed on a point of law arising in the cause” within the meaning of
'22 0.S.2011, § 894. Defendant further speculates that the trial court’s response to the jurors

regarding their request to contact family members was coercive to them, On the contrary, this was

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just another housekeeping matter which did not pertain to the purposes of Section 894, and therefore,
no statutory violation occurred. Wamer, 2006 OK CR 40, 11 107, 144 P.3d at 875-876
(“[c]ommunications with the jury regarding simple housekeeping matters do not give rise to a
statutory violation.”). Of course, the jury’s announcement of a verdict was the very opposite of a
disagreement Defendant mentions this fourth note apparently only to increase the tally of
“communications” which occurred between the court and jury from three to four.

Because the parties agreed on the only note which fell within the parameters of Section 894,
and the remaining notes all involved housekeeping matters, defendant’ s fourth proposition is without
merit and must fail.

MHX
THE OPINION TESTIMONY OF DETECTIVE WI-IITE WAS
PROPERLY ADMITTED, ESPECIALLY WHERE THE

LIMITATIONS OF HIS OPINION TESTIMONY WERE
THOROUGIH..Y EXPLORED ON CROSS-EXAM]NATION.

'A. Standard of Review

The decision to admit evidence is discretionary with the trial court whose decision will not
be disturbed on appeal unless clearly erroneous or manifestly unreasonable Dill v. State, 2005 016
CR 20, 11 5, 122 P.3d 866, 868. “Opinion evidence on ultimate issues is generally admissible.”
Romano v. State, 1995 OK CR 74, 11 21, 909 P.2d 92, 109. “While expert witnesses can suggest the
inferences which jurors should draw from the application of specialized knowledge to the facts,
opinion testimony which merely tells a jury what result to reach is inadmissible.” Id

Furthermore, this Court has held, “[t]o be entitled to relief under the plain error doctrine, [an

appellant] must prove: 1) the existence of an actual error (i.e., deviation from a legal rule); 2) that

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the error is plain or obvious; and 3) that the error affected his substantial rights, meaning the error
affected the outcome of the proceeding.” Murphy v. State, 2012 OK CR 8, 11 18, 281 P.3d 1283,
1290 (citing Simpson v. State, 1994 OK CR 40, 1111 3, 11, 23, 876 P.2d 690, 694, 698; 20 0.S.2001,
§ 3001 . 1). The Murphy Court went on to reason, “ [i]f these elements are met, this Court will correct
plain error only if the error ‘seriously affect[s] the fairness integrity or public reputation of the
judicial proceedings’ or otherwise represents a ‘miscarriage of justice.”’ Murphy, 2012 OK CR 8,
1[ 18, 281 P.3d at 1290 (citing Simpson, 1994 OK CR 40, 1[ 30, 876 P.2d at 701).

B. Argulnent and Authority

Defendant’s fiRh proposition reads as a generalized objection to the testimony of Detective
Jason White. Defendant acknowledges that most of this testimony did not receive a
contemporaneous objection but argues that Detective White’s testimony denied the jury its fact
finding function. Because defendant has not identified any examples of testimony which were
actually improper, and because the detective’s opinions were thoroughly tested _on cross-
examination, this proposition is without merit and must fail.

Even though Detective White was the case agent, defendant objects to the way in which the
detective synthesized various pieces of evidence, including testimony regarding the inconsistencies
between defendant’ s interview, in which defendant claimed not to remember anything, and his phone
calls, in which defendant admitted being at the club and made other admissions Essentially,
defendant complains that the detective’s recounting of the interview and other evidence, such as the
result of the ballistics examination, was cumulative to other evidence admitted at trial, such as the

videotape of the interview itself or the testimony of Terrance Higgs However, even if this were true,

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this Court has held, “[t]he admission of evidence which is merely cumulative may not be held
reversible even though the evidence was inadmissible.” Al-Mosawi v. State, 1996 OK CR 59, 11 57,
929 P.2d 270, 284.

The biggest flaw in defendant’s fifth proposition is that it fails to take into account a cross-
examination which spanned fifty pages of the trial transcript and which thoroughly tested the limits
of Detective White’s opinions ln cross-examining him, defense counsel brought out the fact that
Detective White could not “definitely say with one hundred percent certainty” that he saw defendant
in the videos from Club Pink (Tr. 880). Counsel emphasized defendant’s story that he “had been
pretty well out of it all night and was driving his car around all night.” (Tr. 882). Counsel brought
out the fact that the photographs and video from Club Pink were not presented to the jury (Tr. 883).

Defense counsel also challenged other assertions made by Detective White (Tr. 885-886)
(“Okay. Now, you have referred to this item a number of times as the murder weapon, correct? Or
was that the prosecutor. ”). He clarified he did not believe he called it that numerous times but “[i]t
is the gun that was tested by Terrance Higgs.” Cl`r. 886). Counsel also questioned Detective White
about the placement of the casings at the crime scene, and whether Detective White agreed with the d
OSBI expert, Mr. Higgs, that you cannot tell when a casing or a hagment has been put down in a
parking lot (Tr. 888, 890). Counsel took this opportunity to work Mr. Higgs’ prior testimony that
one could not tell when the fragments were placed at the scene into the question (Tr. 891). Detective
White conceded, “I see his point, and 1 see why he’s answering that way.” (Tr. 891).

Defense counsel further questioned Detective White about the term “burner” used by

defendant and whether a “bumer” might just be a nickname for a gun, even one without a criminal

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history.' Detective White admitted it was just a street term (Tr. 910). Counsel even questioned the
detective about reports of another robbery incident in the vicinity, and the possibility that the bullets
were fired from another location (Tr. 914-916).

Counsel questioned Detective White about the number of jail calls made by defendant, and
the fact that the State of Oklahoma only chose to present four of those calls (Tr. 920).

Finally, counsel got Detective White to concede that in searching defendant’s residence, he
obtained no weapons or cell phones or other evidence linking defendant to the crime (Tr. 926).

Therefore, while the State respectfully submits that there was no improper expert opinion and
that defendant’s real objection is to the cumulative nature of some of Detective White’s opinions,
the fact remains, counsel admirably attempted “to expose the irnprecision” of White’s opinions on
cross examination, thus curing any error which may have been present in his opinion testimony.
Romano, 1995 OK CR 74, 1[ 22, 909 P.2d at 110.

Defendant inally complains without authority, that after Detective White’s testimony, the
State was able to argue the same inferences again in closing argument, This separate contention
violates Court of Criminal Appeals Rule 3.5(A)(5), which requires that “[e]ach proposition of error
shall be set out separately in the brie .” The rule also provides that “[m]erely mentioning a possible
issue in an argument or citation to authority does not constitute the raising of a proposition of error
on appeal.” See Court of Criminal Appeals Rule 3.5(A)(5), Title 22, Ch. 18, App. (2014); Collins
v. State, 2009 OK CR 32, 1[ 32, 223 P.3d 1014, 1023 (“Under our recently revised Rule 3.5(A)(5),
combining multiple issues in a single proposition is clearly improper and constitutes waiver of the

alleged errors.”); Cuesta-Rodriguez v. State, 201 1 OK CR 4, 1[ 12, 247 P.3d 1 192, 1 197 (holding that

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the appellant’s assertion of jury instruction error during the sentencing stage of his trial wasnot
properly presented where it was not set out as a separate proposition of error as required by Rule
3.5(A)(5)).

Ultimately, the testimony of Detective White was offered by the State for the proper purpose
of proving its case, and defendant has not shown error in the inferences which Detective White made
based on the evidence. As demonstrated by the existence of defendant’s fourth proposition, the jury n
deliberated for hours before finally arriving at a verdict, after midnight Surely, the jury would not
have needed to deliberate at such length if it had simply deferred to Detective White’ s opinions For
the foregoing reasons, defendant’s fifth proposition is without merit and must fail.

BR_U_)_S_ILO_NL
THE RECORDING OF DEFENDANT’S CONVERSATION
WITH HIS MOTI-IER WAS PROPERLY ADMITTED WHERE
DEFENDANT OBVIOUSLY DID NOT INVOKE HIS RIGHT
TO SILENCE.
A. Standard of Review

“'l`his Court remains committed to the general rule that a timely objection must be made on
the record to preserve any alleged error for appellate review.” Davis v. State, 1990 OK CR 20, 1| 6,
792 P.2d 76, 80. Moreover, as set forth in Proposition V above, “[t]o be entitled to relief under the
plain error doctrine, [an appellant] must prove: 1) the existence of an actual error (i.e., deviation
from a legal rule); 2) that the error is plain or obvious; and 3) that the error affected his substantial
rights, meaning the error affected the outcome of the proceeding.” Murphy, 2012 OK CR 8, 1[ 18,

281 P.3d at 1290 (citing 20 0.S.2001, § 3001.1).

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B. Argument and Authority

In his sixth proposition, defendant alleges that the admission of irrelevant and prejudicial
evidence in State’s Exhibit 28 resulted in a violation of his Due Process Rights. While defendant d
believes the jury should have heard the portion of the telephone call with his mother where he
claimed to have bought the gun that night, defendant believes the jury should not have heard his
mother’s response to this incredible story, chastising him for failing to call his attorney prior to
speaking with the police and telling him to “keep [his] mouth shut and ask for [his] attorney.” (Tr.
861). Because defendant did not exercise his right to silence, and this conversation occurred after
defendant voluntarily waived his right to silence and spoke With the police, this exhibit was not a
commentary on his right to silence, and defendant’s sixth proposition must fail.

Defendant’s sixth proposition offers scant case law in support of his claimed error. ln a
foomote, defendant offers the rule of cases such as Brown v. State, 1975 OK CR 191, 541 P.2d 242,
244 and Buchanan v. State, 1974 OK CR 111, 523 P.2d 1134, 1137, that a prosecutor cannot
comment on a defendant’ s pretrial silence, but he is required to concede that what happened actually
was not a comment on the right to counsel. The State respectfully submits that a far more analogous
case is Ledbetter v. State, 1997 OK CR 5, 11 11, 933 P.2d 880, 887, because, as in Ledbetter,
defendant “obviously did not exercise his right to remain silent[.]” The whole purpose of the rule
. of cases such as Brown and Buchanan is to not penalize an appellant for exercising the right to
remain silent. Id. The Ledbetter Court went on to hold that “had the prosecutor intended to
introduce evidence of Appellant’s sudden refusal to talk,” there would be no error. Ledbetter, 1997

OK CR 5, 1[ 12, 933 F.2d at 887 (citing Robedeaux v. State, 1993 OK CR 57, 866 P.2d 417, 432).

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'l'his is because one who voluntarily speaks after receiving Miranda5 warnings has not been induced
to remain silent. Id

ln this case, State’s Exhibit 76 revealed nothing more than defendant’s remorse at having
given the police the story that he just bought the gun (S.E. 76; Tr. 861) (“Should have kept my
fucking [sic] mouth shut.”). The fact that defendant regretted giving the police this information was
relevant, probative evidence, as it reflected on the credibility of defendant’s story as to how he came
to be in possession of the murder weapon. Why would defendant regret telling the police he “just
bought that damn [sic] gun that nigh ” unless he knew the story was false? Like the appellant in
Ledbetter, defendant “complains the probative value of this evidence was substantially outweighed
by its prejudicial effect” but “he has failed to show how this is so, and he has failed to support his
contention with relevant case law.” Ledbetter, 1997 OK CR 5, 11 13, 933 P.2d at 887,

Because there was no actual error in the admission of this phone call as an exhibit, there was
no plain error. Murphy, 2012 OK CR 8, 1[ 18, 281 P.3d at 1290. For the foregoing reasons,
defendant’s sixth proposition is without merit and must fail.

PROPOSITION VII
THERE WAS NO PLAIN ERROR IN THE ADMISSION OF
THE SINGLE, IN-LIFE PHOTOGRAPH OF THE VICTIM OR
IN THE COURT’S CONSIDERATION OF THIE VICTIM
]MPACT STATEMENTS.
A. Standard of Review

Ordinarily, the decision to admit evidence is discretionary with the trial court whose decision

will not be disturbed on appeal unless clearly erroneous or manifestly unreasonable. Dill, 2005 OK

 

sSee Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602, 16 L. Ed. 2d 694 (1966).

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CR 20, 11 5, 122 P.3d at 868. “However, in a prosecution for any criminal homicide, an appropriate
photograph of the victim while alive shall be admissible evidence when offered by the district

attorney to show the general appearance and condition of the victim while alive.” 12 0.S.2011, §

2403,
Moreover, the statute governing victim impact statements provides:

Each victim, or members of the immediate family of each victim or
person designated by the victim or by family members of the victim,
may present a written victim impact statement, which may include
religious invocations or references or may appear personally at the
sentence proceeding and present the statements orally. Provided,
however, if a victim or any member of the immediate family or
person designated by the victim or by family members of a victim
wishes to appear personally, the person shall have the absolute right
to do so. Any Victim or any member of the immediate family or
person designated by the victim or by family members of a victim
who appears personally at the formal sentence proceeding shall not
be cross-examined by opposing counsel; provided, however, such
cross-examination shall not be prohibited in a proceeding before a
jury or a judge acting as a finder of fact. A written victim impact
statement introduced at a formal sentence proceeding shall not be
amended by any person other than the author, nor shall the statement
be excluded in whole or in part from the court record, The court shall
allow the victim impact statement to be read into the record.

21 0.S.2011, § 142A-8 (A).
B. Argument and Authority

In his seventh proposition, defendant alleges that improper victim impact testimony and
evidence was admitted at trial in violation of his Fourteenth Amendment rights First, he alleges that
the admission of the pre-mortem photograph of the victim was error. Second, he alleges error in the

admission of statements fi'om the victim’s father and sister at the sentencing proceeding,

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Defendant admits that counsel failed to renew his pre-trial objection to the admissibility of
the in-life photograph of Byron Ivory. However, it is clear that any objection to this photograph
would have been properly overruled, pursuant to 12 0.S.2011, § 2403, as it showed the “general
appearance and condition of the victim while alive.” See Cole v. State, 2007 OK CR 27, 1[ 52, 164
P.3d 1089, 1100 (upholding the admissibility of a full color photograph of minor decedent in a
staged portrait setting); Hogan v. State, 2006 OK CR 19, 11 64, 139 P.3d 907, 931 (upholding the
admissibility of a graduation photograph of the victim taken in 1986).

Defendant further alleges that Section 2403, as amended in 2002, “erodes the fundamental
right to a fair trial by diverting the jury from making a reasoned moral response to the evidence to
making an impassioned one.” Defendant cites a 1961 case and a 1984 case in support of this
argument but offers no authority holding that Section 2403 as amended is unconstitutional
Furthermore, the fact that the jury deliberated for hours before reaching averdict and recommended
only the minimum sentence of Life imprisonment for a shockineg brutal murder, and the minimum
sentence of five (5) years for Robbery with a Firearm, negates any suggestion that the jury was
carried away by passion (O.R. 353-354). See Edington v. State, 1991 OK CR 21, 1[ 7, 806 P.2d 81,
83 (“Appellant must be able to demonstrate prejudice from alleged errors in order to warrant reversal
of her conviction.”).

Defendant next alleges error in the admission of statements from the victim’ s father and sister
at the sentencing proceeding Defendant suggests that the first elements of plain error are present
in this case. However, defendant fails to demonstrate how any part of the testimony of Byron Ivory,

Sr., or Tanisha Livingston ran afoul of 21 0.S.2011, § 142A-8 (A). In fact, to the extent defendant

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alleges that certain parts of the family members’ statements should have been excluded, that claim
is precluded by the statute’s requirement that “[a] written victim impact statement introduced at a
formal sentence proceeding shall not be amended by any person other than the author, nor shall the
statement be excluded in whole or in part from the court record.” 21 0.S.2011, § 142A-8 (A). But
defendant’s claim fails for a much more simple _reason: defendant has failed to show that the
introduction of these two statements affected his substantial rights Murphy, 2012 OK CR 8, 1[ 18,
281 P.3d at 1290.

Obviously, the court did not heed Ms. Livingston’ s advice to give defendant “the maximum
sentence possible . . . without parole.” (S. Tr. 17). The trial court sentenced defendant in
accordance with the j ury’ s recomrnendation, allowing for the possibility of parole, and it also ordered
Counts 3 and 4 to.run concurrently with each other and concurrently with the consecutive counts,
Counts 1 and 2. Thus, even if defendant could somehow show that the victim impact statements
started to veer off into improper territory, he has failed to overcome the presumption that the trial
court did not consider improper aspects of these statements when it imposed the sentences
recommended by the jury. Bush v. State, 2012 OK CR 9, 1[ 54, 280 P.3d 337, 348 (“The defendant
. . . could not overcome the presumption that the trial court did not consider improper evidence
during the trial.” (citation omitted)).

For the foregoing reasons, defendant’ s seventh proposition of error is without merit and must

fail.

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PROPOSITION VIII

THE JOINDER OF COUNTS 3 AND 4 IN THE SAlVIE TRIAL
WITH COUNTS 1 AND 2 WAS PROPER AND NOT AN
ABUSE OF DISCRETION.

A. Standard of Review

This Court discussed the standard of review for defendant’s eighth proposition in Mitchell
v. State, 2011 OK CR 26, 1111 23-24, 270 P.3d 160, 170-1711

Joinder of offenses is permitted pursuant to 22 0.S.2001, §
438. This section provides that multiple offenses may be combined
for trial “if the offenses could have been joined in a single indictment
or information[.]” This Court has allowed joinder of separately
punishable offenses allegedly committed by the accused if the
separate offenses “rise out of one criminal act or transaction, or are
part of a series of criminal acts or transactions.” Lott v. State, 2004
OK CR 27, 1[ 34, 98 P.3d 318, 333 quoting Glass v. State, 1985 OK
CR 65, 1| 8, 701 P.2d 765, 768. When there is a series of criminal acts
or transactions “joinder of offenses is proper where the counts so
joined refer to the same type of offenses occurring over a relatively
short period of time, in approximately the same location, and proof
as to each transaction overlaps so as to evidence a common scheme
or plan.” Id.

Offenses may be severed for trial when either the prosecution
or the defense appears to be prejudiced. 22 0.S.2001, § 439. The
decision to grant or deny severance is within the discretion of the trial
court, and this Court will not disturb its ruling on appeal absent a
clear showing of abuse of that discretion, Brewer v. City of Tulsa,
1991 OK CR 59, 1[ 13, 811 P.2d 604, 607. To establish an abuse of
discretion, the appellant must factually demonstrate that the denial of
severance deprived him ofa fair trial, not merely that a separate trial
might have offered him a better chance of acquittal. Gates v. State,
1988 OK CR 77, 11 24, 754 P.2d 882, 887-888,

B. Argument and Authority
In his eighth proposition, defendant alleges the trial court committed reversible error by

failing to sever the trial of Counts 3 and 4 ti'om the trial of Counts 1 and 2. Because defendant has

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not shown that the joinder of these counts into one trial deprived him of his right to a fair trial, this
proposition is without merit and must fail.

“This Court has encouraged the State to join for trial as many offenses as is permissible.”
Vowell v. State, 1986 OK CR 172, 11 9, 728 P.2d 854, 857 (citing Allison v. State, 1983 OK CR 169,
675 P.2d 142; DeLaune v. State, 1977 OK CR 278, 569 P.2d 463). “Judicial economy is thereby
promoted. Rather than forcing the State to isolate and prosecute single transactions joinder of the
offenses is extended to those arising from a series of acts or transactions” Id. The Vowell Court
found joinder to be appropriate where “[t]he acts herein were connected by time, proximity, and
evidence.” Id.

Likewise, in the case at bar, the homicide and robbery counts were connected by time,
proximity, and evidence, to the public intoxication and transporting a firearm counts Officer White
testified it was “very rare” for a firearm to be recovered matching the one used in a homicide (T r1
812). It is very likely that the only reason the murder weapon was recovered in this case was that
defendant was so intoxicated he passed out at the wheel of his car. While defendant alleges that the
proof of the offenses did not overlap, defendant is simply wrong. Obviously, there was a close
connection in time, and although the crimes may not have occurred in exactly the same place, there
was a strong evidentiary connection Defendant’ s continuing possession of the firearm allowed him
to participate in the robbery which led to the death of Mr. Ivory. Compare Timothy David Maher

v. State, Case No. F-2012-597, slip op., at 3 (Okla. Crim. App. Jan. 22, 2014)6 (unpub.)

 

6Pursuant to Rule 3.5(C)(3), Title 22, Ch. 18, App. (2014), this unpublished summary opinion in Maher is
attached hereto as Exhibit B because no published opinion would serve as well the purpose for which it is
being cited.

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(“Appellant’s possession of the sawed-off shotgun was an ongoing offense, whose commission
coincided with the commission of the decedent’s murder. Both offenses involved Appellant’s
misuse of a firearm and were connected by time, proximity and evidence.”).
Moreover, there is no indication that the joinder of these offenses resulted in an unfair trial,

The jury received Instruction No. 4, which read as follows:

You must give separate consideration for each charge in the case.

The defendant is entitled to have his case decided on the basis of the

evidence and the law which is applicable to each charge. The fact

that you return a verdict of guilty or not guilty for one charge should
not, in any way, affect your verdict for any other charge.

(O.R 322).

In Mitchell, this Court found that where the jury was instructed it must give separate
consideration to each count, “[u]nder these circumstances Appellant has failed to show_that he was
prejudiced by the joinder, nor do we discern any actual prejudice from our review of the record.”
Mitchell, 2011 OK CR 26, 1[1[ 27-28, 270 P.3d at 171. See Williams v. State, 2001 OK (_JR 9, 1[ 44,
22 P.3d 702, 716 (“It is well established that juries are presumed to follow their instructions.”). In
this case, there is not even a hint suggesting the jury failed to follow its instructions to give separate
consideration to each count.

To establish error, a defendant “must factually demonstrate that the denial of severance
deprived him of a fair trial, not merely that a separate trial might have offered him a better chance
of acquittal.” Mitchell, 2011 OK CR 26, 11 24, 270 P.3d at 171 (citing Gates, 1988 OK CR 77, 11 24,
754 P.2d at 887-888). Defendant has not shown that the joinder deprived him of a fair trial in this

case. Moreover, a finding that no error occurred in this case would promote the salutary goal of

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joining for trial as many offenses as is permissible, thereby encouraging judicial economy. Vowell,
1986 OK CR 172, ‘[[ 9, 728 P.2d at 857.
For the foregoing reasons defendant’s eighth proposition is without merit and must fail.
PROPOSITION IX
THE ADMISSION OF EVIDENCE SEIZED AS A RESULT OF
THE TRAFFIC STOP AND ARREST OF DEFENDANT FOR
PUBLIC INTOXICATION WAS PROPERLY ADMITTED.
A. Standard of Review
When reviewing a trial court’ s ruling on a motion to suppress evidence based on a complaint
of an illegal search and seizure, this Court reviews for an abuse of discretion, deferring to the trial
court’ s findings of fact unless they are not supported by competent evidence and are therefore clearly
erroneous Gomez v. State, 2007 OK CR 33, 11 5, 168 P.3d 1139, 1141 (citing State v. Goins, 2004
OK CR 5, 1[ 7; 84 P.3d 767, 768 and Seabolt v. State, 2006 OK CR 50, 1[ 5, 152 P.3d 235, 237). lt
will review the trial court’s legal conclusions based on those facts de novo. Id.'
B. Argument and Authority
ln his ninth proposition, defendant alleges that the evidence of the firearm was the fruit of
an illegal search and seizure, Because the arrest of defendant and the seizure of the gun were proper
under the facts and circumstances of this case, where defendant committed an offense in`the presence
of the officers this proposition is without merit and must fail.
Defendant filed a pro se motion to suppress on May 29, 2013, alleging that “[o]fficers may

not make warrantless misdemeanor arrest based solely on information &om a third party or on mere

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suspicion of a misdemeanor,” citing Tomlin v. State, 1994 OK CR 14, 869 P.2d 334 (O.R. 193-196).
This is the only on point authority that defendant offers on appeal.

At the hearing on the motion to suppress Officer Ian Adair, one of the backing officers
testified that when he looked in defendant’s car, he saw a loaded magazine on the floorboard of the
driver’s side of the car (Tr. 8/27/13, Tr. 43). Later on, the gun was found underneath the driver’s
seat (Tr. 8/27/13 , 44). As the trial court correctly reasoned, the arrest of defendant was based on the

observations of the officers who made the arrest:

As previously stated, the Court has read the transcript of the
preliminary hearing and have heard the testimony today of Officer
Floyd and Officer Adair, The issue was presented to this Court by the
defense that there was no probable cause to arrest the defendant And

' I will note that both officers today testified on their training,
education and experience in recognition of intoxicated persons Both
officers testified as to what specific symptoms or red flags or triggers
that they observed in this individual and notably both oHicers testified
to totally different things

I find there was probable cause for the defendant to be
arrested for at the very least public intoxication, therefore, there was
probable cause for the arrest and thereafter because there was no one
else to drive the vehicle, the car had to be removed from a public lane
of traffic and was, therefore, inventoried prior to the towing of that
vehicle when the subsequent firearm and magazine were found.

So the motion to suppress will be denied at this time, lfyou’ll
give me just a minute here.

(Tr. 8/27/13, 55-56).

Officer Floyd described how when he came up on defendant’s car, defendant “was stopped
at a green light” and did not proceed through the intersection (Tr. 8/27/13, 26-27). Officer Floyd
observed the car while he waited for backup to anive, and defendant never proceeded through the

intersection (Tr. 8/27/13, 27). When Officer Floyd’s backup arrived and he commanded defendant

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to get out of the car, defendant slowly rolled through the intersection instead (Tr. 8/27/13, 30).
Defendant fails to deal with this initial information which the officers observed, which suggested
defendant was either asleep at the wheel or being completely inattentive to driving. Moreover, “[a]s
soon as he stepped out of the vehicle, he was unsteady on his feet, waving side to side pretty hard.”
(Tr. 8/27/13, 31).

Under these facts and circumstances the officers had probable cause to arrest defendant and
seize the firearm, based on their own observations The seizure of the firearm was proper as being
incident to a lawful arrest. Recall that defendant came to the attention of the police because some
EMS drivers had observed a man passed out at the steering wheel, with a gun in the passenger seat
(Tr. 542) (“We were assigned to a call, I believe the EMS had drove up on a vehicle where the
driver was passed out at the steering wheel, and they saw a gun in the passenger seat.”). Moreover,
at the very least, a loaded magazine was in plain view, thus corroborating the report of the EMS
workers and giving further probable cause that the offense of Transporting Loaded Firearm in Motor
Vehicle had been committed (Tr. 8/27/13, Tr. 43). Furthermore, defendant’s arrest for Public
Intoxication, standing alone, justified a search of the passenger compartment of the car which
officers observed him exit for evidence of that crime. See Findlay v. City of Tulsa, 1977 OK CR
1 13, 1[ 18, 561 P.2d 980, 984 (holding that where the officer observed that defendant was intoxicated
in a public place, there was observation of a public offense, and the arrest was not illegal). See also
Arizona v. Gant, 556 U.S. 332, 351, 129 S. Ct. 1710, 173 L. Ed. 2d 485 (2009) (“Police may search
a vehicle incident to a recent occupant’s arrest only if the arrestee is within reaching distance of the

passenger compartment at the time of the search or it is reasonable to believe the vehicle contains

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evidence of the offense ofarrest.”). See also Mark Wallace Williams v. State, Case No. F-2012-172,
slip op., at 4 (Okla. Crim. App. July 24, 2013)7 (unpub.) (applying the foregoing rule from Gant and
reasoning that although defendant’s arrest, standing alone, did not justify a search of the passenger
compartment where the defendant was no longer within reaching distance, “[o]n the other hand,
Williams’ arrest for the offense of burglary/attempted burglary did justify a search of the passenger
compartment of his vehicle for evidence of this crime.” .

Furthermore, because defendant was under arrest for “at the very least public intoxication,”
and defendant’s car was stopped in a public lane of traffic, his car was subject to being towed away
and inventoried. Therefore, the trial court’s alternate rationale for admitting this evidence was also
correct In Lamb v. State, 1977 OK CR 92, 1[ 9, 561 P.2d 123, 124, this Court upheld the search
where Officer Highfield testified it was departmental policy to impound a car when the driver was
arrested and there was nobody present in a sober condition to whom the car could be released. This
case presented the same situation. See also Williams, slip op., at 4 (while the search of .Williams’
trunk was not justified by his arrest for burglary, “[n]evertheless . . . the search of the car’ s trunk and
its contents-and indeed of the entirety of Williams’ car-was justified by an entirely separate and
distinct rationale, i. e. , that of inevitable discovery through an inventory search.” (citing Nix v.
Williams, 467 U.S. 431, 448, 104 S. Ct. 2501, 81 L. Ed. 2d 377)).

For the foregoing reasons defendant’s ninth proposition is without merit and must fail.

 

7Pursuant to Rule 3.5(C)(3), Title 22, Ch. 18, App. (2014), this unpublished summary opinion in Williams
is attached hereto as Exhibit C because no published opinion would serve as well the purpose for which it
is being cited.

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PROPOSITION X

DEFENSE COUNSEL WAS NOT INEFFECTIVE WITHIN
THE MEANING OF STRICKLAND I/l WASHINGTON.

A. Standard of Review

The test to apply in determining whether counsel was constitutionally ineffective is found
in Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984). In Strickland,
the U.S. Supreme Court held that in order for a defendant to prevail on a claim of ineffective
assistance of counsel, the defendant must identify “acts or omissions [which] show that counsel’s
representation fell below an objective standard of reasonableness.” Furthermore, the reviewing court
must apply “a strong presumption that counsel’s conduct falls within the wide range of reasonable
professional assistance.” Id , 466 U.S. at 689. Even if errors are identified, “[t]he defendant must
show that there is a reasonable probability that, but for counsel’s unprofessional errors, the result of
the proceeding would have been different A reasonable probability is a probability sufficient to
undermine confidence in the outcome.” Id. , 466 U.S. at 694. With respect to the prejudice prong
of Strickland, the Supreme Court has since clarified that, “[t]he likelihood of a different result must
be substantial, not just conceivable.” Harrington v. Richter, 562 U.S. 86, 131 S. Ct. 770, 792, 178
L. Ed. 2d 624 (2011) (citation omitted). “lf it is easier to dispose of an ineffectiveness claim on the
ground o_f lack of sufficient prejudice . . . that course should be followed.” Strickland, 466 U.S. at
697. This Court consistently applies the Supreme Court’s Strickland test to ineffective assistance

of counsel claims Malone v. State, 2013 OK CR 1, 1[ 14, 293 P.3d 198, 206,

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B. Argument and Authority

In his tenth proposition, defendant alleges that he was deprived of the effective assistance of
counsel in violation of the Sixth and Fourteenth Amendments to the United States Constitution. l-lis
allegations fall into three categories A) “Failure to Adequately Protect the Record with Appropriate
Objections”; B) “Failure to Request Instructions on Appropriate Lesser Related Offenses”; and C)
“Failure to Present Critical, Available Defense Witnesses.” As set forth more fully below, defendant
has not shown that any of these alleged omissions creates a reasonable probability of a different
outcome at trial. Defendant has waived the claims set forth in his Application for Evidentiary
Hearing on Sixth Amendment Claiin, and therefore, that request should be denied.

Defendant first alleges that counsel failed to adequately protect the record with appropriate
objections He alleges that counsel was ineffective for failing to object to the trial court’s answer
to the jury’s question about what would happen if they could not reach a unanimous verdict.
However, as discussed in Proposition IV above, the parties reasonably agreed that an Allen
instruction was not warranted at that time, and defendant has shown no prejudice from the written
response to continue deliberating

Defendant next alleges that counsel was ineffective for failing to object to the allegedly
improper opinions of Detective White. However, as discussed in Proposition V above, defendant
did not have a valid objection to this testimony, and counsel thoroughly explored the limitations of
Detective White’s testimony in a thorough, Hfty-page cross-examination As this Court reasoned
in Patton v. State, 1998 OK CR 66, 973 P.2d 270:

Where objections that might have been raised would have been
properly overruled and those that might have been sustained would

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have amounted to at most harmless error had the ruling been
incorrect, Appellant has failed to show that any errors by counsel
were so great as to render the results of the trial unreliable

Patton, 1998 OK CR 66, 11 129, 973 P.2d at 303.

Defendant next alleges that counsel was ineffective for failing to seek the redaction of State’ s
Exhibit 28 to remove defendant’ s discussion with his mother about exercising his Sixth Amendment
right to counsel. However, as previously discussed, this recording was properly admitted in its
entirety where defendant obviously did not invoke his right to silence and the recording showed
defendant’s remorse at having given the police a story as to how he obtained the murder weapon.
See Ledbetter, 1997 OK CR 5, 111[ 1 1-12, 933 P.2d at 887 (one who voluntarily speaks after receiving
Miranda warnings has not been induced to remain silent).

Finally, defendant alleges that counsel was ineffective for failing to object to the introduction
of a pre-mortem photograph and victim impact testimony at the sentencing proceeding, As discussed
in Proposition VH, counsel’s performance was not deficient in either regard since the single
~ photograph was clearly admissible under 12 O.S.201 1, § 2403 and the victim impact testimony was
admissible under 21 0.S.2011, § 142A-8 (A), and defendant has shown no prejudice from the
admission of this evidence.

Defendant next alleges that counsel was ineffective for failing to request jury instructions on
the lesser included offenses of Second Degree Depraved Mind Murder, Second Degree Felony
Murder, and Accessory. However, because defendant took the stand and categorically denied any

role in the murder of Mr. Ivory, none of these instructions were appropriate under the evidence test,

wherein the evidence is reviewed to determine whether the instruction was reasonably supported by

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the evidence. Shrum, 1999 OK CR 41, 1[ 12, 991 P.2d at 1037; Smith, 1986 OK CR 158, 11 17, 727
P.2d at 1371.

Finally, defendant alleges the failure to present critical, available defense witnesses, one who
could have testified that defendant was with her at the time of the homicide and a second witness
who could have testified he was with defendant when he` allegedly purchased the handgun. He has
filed an Application for Evidentiary Hearing on Sixth Amendment Claims, where he goes into these
claims in detail. His claims that counsel was ineffective on these grounds are waived, and this
Court’s decision in Garrison v. State, 2004 OK CR 35, 103 P.3d 590, is dispositive of this issue:

Appellant’s brief raises these four claims generally in his
brief-in-chief, on one half page. His application for evidentiary
hearing, however, goes into the specifics in great detail-102 pages
of detail to be precise, not including the hundreds of pages attached
to the application as exhibits-and includes citations to and analysis
of the matters within the record, This is a violation of Rule 3.11’s
provisions relating to applications for evidentiary hearing, the
appellate brief content provisions of Rule 3 .5, and the 100 page brief
limitation of Rule 9.3. Conceming matters of ineffective assistance
of trial counsel, an Appellant must set forth his or her assignments of
error, supported by citations to the authorities statutes and parts of
the record, within the appellate brief. An application for evidentiary
hearing is meant to be an extract of the pertinent factual matters
arising outside of the record, while appellate briefs are to contain the
application of law to fact and the arguments pertaining to the issue at
hand, ineffective assistance (especially those relating to matters in the
record). The failure to raise in an appellate brief an issue within the
record waives the issue. Rule 3.5(A)(5) and C(6). In the future, failure
to fully raise and support by authority in the brief in chief those issues
contained within the record will constitute waiver of those issues on
appeal.

Id, 2004 OK CR 35, 11 131 n.36, 103 P.3d at 612 n.36 (emphasis added).

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Just like the defendant in Garrison, defendant’s brief, which is fifty pages long, raises his
remaining claim in general terms without even identifying the two alibi witnesses by name. His
application for evidentiary hearing, however, goes into ten pages ofdetail, not including his attached
exhibits His application also contains citation to and analysis of matters within the record. See
Application, at 2, 3, 4, and 6. As in Garrison, defendant’s application violates this Court’s Rules
pertaining to the contents and the fifty-page limitation of an appellate brief, See Rules 3.5(A)(5),
3.5(C)(D), Rules of the 0klah0ma Court of Criminal Appeals Title 22, Ch. 18, App. (2014). As l
defendant has failed entirely to “fully raise and support by authority in the brief in chief those issues
contained within the record,” he has waived his remaining claims of ineffective assistance of
counsel. Garrison, 2004 OK CR 35, 1[ 131 n.36, 103 P.3d at 612 n.36.

For the foregoing reasons defendant’s tenth proposition is without merit and must fail.

CONCLUSION

Defendant’s contentions have been answered by both argument and citations of authority,

The State contends that no error occurred which would require reversal or modification and

_ therefore, respectfully requests that the Judgment and Sentence be affirmed.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

 

On this 23'_“ day ofMarch, 2015, a true and correct copy of the foregoing was mailed to:

Jamie D. Pybas

Division Chief

Homicide Direct Appeals Division
Oklahoma Indigent Defense System
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Norman, Oklahoma 73070

mailings

THEODORE M. PEEPER

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IN THE' CCURT OF CRIMINAL APPEALS OF THE STA_TE OF OKLAHOMA

DEANDRE BETHEL,

 

Exhibit

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suMMARY opinion . JUL 15 ms
JoHNsoN, JUDGE= M|pHA§;'E:FCH'E

_A jury convicted Appellant Deandre Bethel in the District Court of Tulsa
County, Case No. CF-2012-660, of First Degree Felony Murder (Count 1), in
violation of 21 0.S.2011, § 701.7, Robbery with a Fireann (Courit 2), in

violation of 21 0.S.201 1,. § 801, Transporting Loaded Firearm in Motor Vehicle
t (Count 3), in violation of 21 0.S.2011, § 1289.13, arid Public Intoxication
(Count 4), in violation of_ 37 0.S.2011, § 8. The jury assessed punishment at
life imprisonment wit.l'i the' possibility of parole on Count 1, five years
imprisonment on Count 2, five months imprisonment and a $250.00 fine on
Count 3, and thirty days imprisonment and a $100.00 fine on Count 4. The

Honorable James M. Caputo, who presided at trial, sentenced Bethel

accordingly and' ordered the sentences on Counts 1 and` 2 to be served `

consecutively with each other, but ordered Counts 3 and 4 to run concurrently

with each other and concurrently with Counts 1 and 2.1 Bethel appeals raising

the following issues:

(1)

(2)

(3)

(4)

(5)

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(7)
(8)

(9)

whether the evidence was sufficient to support his convictions for
Counts 1 and 2;

whether his conviction and sentence for Robbery with a Firearm
must be vacated because the same charge served as the underlying
felony for his conviction of felony murder;

whether the district court erred by failing to instruct the jury on
the lesser offenses of Second Degree Depraved Mind Murder,
Second Degree Felony Murder, and Accessory After the Fact;

whether the district court failed to comply with the law governing
contact with jurors during deliberations and failed to advise
deadlocked jurors not to surrender their honest convictions
concerning the weight of the evidence in order to reach a verdict;

whether he was denied a fair trial by the admission of improper
law enforcement opinion testimony that invaded the province of the
jury;

whether the admission of an audiotape- recording of a jail phone
ca11 between Bethel and his mother resulted in a violation of his
due process rights;

whether improper victim impact evidence was admitted at trial;,

whether Counts 3 and 4 were improperly joined for trial with
Count 1 and 2;

whether the district court erred in denying his motion to suppress
evidence; and

(10) whether he was deprived of the effective assistance of counsel.

Bethel also submits his Application for Evidentiary Hearing on Sixth

Amendment claims

 

1Undei: 21 0.S.201 1, § 13.1, Bethel must serve 85% of the sentences imposed on Counts 1 and
2 before he is eligible for parole.

2

Bethel’s convictions on Counts 1, 3 and 4 are aft‘irrned, but Count 2

must be reversed with instructions to dismiss for the reasons discussed below.
1.

Any rational trier of fact could find beyond a reasonable doubt that there
was a forceful taking and carrying away of personal property in this case and
that Bethel participated in the armed robbery during which the victim was
killed. We find that the trial evidence was sufficient to sustain Bethel’s
convictions for First Degree Murder and Robbery with a Firearrn based on the
evidence presented in this case. See Logsdon v. State, 2010 OK CR 7, 11 5, 231
P.3d 1156, 1161; Spuehler v. State, 1985 OK CR 132, 11 7, 709 P.2d 202, 203-
‘204.

2.

Bethel’s second claim has merit and requires relief. He claims that his
conviction for robbery with a firearm must be dismissed because separate
convictions for felony murder and the predicate felony in this case violate the
Double Jeopardy Clause. See Brown v. Ohio, 432 U.S. 161, 97 S.Ct. 2221, 53
L.Ed.2d 187 (1977); Harris v. Oklahoma, 433 U.S. 682, 97 S.Ct.' 2912, 53
L.Ed.2d 1054 (1977); Perry v. State, 1993 OK CR 5, 11 7 , 853 P.2d 198, 200-201
(holding conviction for both felony murder and the underlying felony violates
double jeopardy).

The State charged Bethel in Count 1 with the felony murder of Byron

Ivory, Jr. that occurred during an attempted robbery involving Ivory and two

other alleged victims The State charged Bethel in Count 2 with robbery with a
irearm for the taking and asportation of personal property from these three
individuals The State elected to charge one count of robbery with a firearm
based on the incident that resulted in Ivory’s murder instead of charging
separate acts of robbery based on the three victims involved, The lnformation
alleged the same actions against the same victims in Counts 1 and 2 resulting
in the same act serving as the basis for two crimes in violation of the Double
Jeopardy Clause. Under Brown, Harris and Perry, Bethel’s conviction for
robbery with a firearm must be reversed and remanded to the district court
with instructions to dismiss See Harris, 97 S. Ct. 2912, 2913 (“When, as here,
conviction of a greater crime, murder, cannot be had without conviction of the
lesser crime, robbery with firearms the Double Jeopardy Clause bars
prosecution for the lesser crime, after conviction of the greater one.”)
'-3.

Reviewing the lack of lesser offense instructions for plain error only, we
find the district court did not err in failing to subrriit, sua sponte, instructions
on second degree depraved mind mufder, second degree felony murder and
accessory. See Hogan v. State, 2006 OK CR 19, ‘,I 38, 139 P.3d 907 , 923 (“[t]he
first step in plain error analysis is to determine whether error occurred”). “This
Court has long recognized the rule of law that'a defendant is not entitled to
instructions on any lesser included.offense when he defends against the charge

by proclaiming his innocence.” Harney v. State, 2011 OK CR 10, 11 11, 256

P.3d 1002, 1005. Bethel’s claim faulting the district court for omitting
instructions on lesser offenses is without merit because the omitted
instructions were inconsistent with his defense of innocence.

4.

We reject Bethel’s claim that the district court’s handling of jury
questions during deliberations requires relief. The jury sent out four notes
during deliberations with notes 1, 3 and 4 pertaining to housekeeping matters
only. The parties agreed on the court’s written response to the only substantive
. note (note 2) submitted by the jury and Bethel did not object to the procedure
l used in its delivery. Under these circumstances we review Bethel’s claim for
plain error only and find none. Welch v. State, 1998 OK CR 54, 11 42, 968 P.2d
1231, 1245. .

Our statutes generally provide that there can be no communication with
the jury by the judge or any third person except in open court. 22 0.S.2011,
§§ 853, 857, 894. Of course, we have acknowledged that not every
communication between the court and jury outside open court is prohibited; in
particular, communications with the jury regarding simple housekeeping
matters do not violate statutory prohibitions Perry v. State, 1995 OK (_JR 20, 11
26, 893 P.2d 521, 528. Consequently we find no'violation of section 894 or

error with respect to the district court’s handling of notes 1, 3 and 4 dealing

with housekeeping matters

Nor can Bethel establish error and prejudice with respect to'the district

court’s handling of note 2. ride 22, section 894 states:
After the jury have retired for deliberation, if there be a
disagreement-between them as to any part of the testimony or if
they desire to be informed on a point of law arising in the cause,
they must require the officer to conduct them into court. Upon their
being brought into court, the information required must be given in

the presence of, or after notice to the district attorney and the
defendant or his counsel, or after they have been called.

22 0.S.2011, § 894. “The purpose of Section 894 is to prevent communications
from being made to the jury without the parties being present to protect their
interests.” Mollett v. State, 1997 OK CR 28, jj 42, 939 P.2d °1, 11-12 (internal
quotations omitted). “This statute has been construed as mandatory only with
regard to bringing the jury back' into the courtroom, and the determination of
whether the jury’s request is granted is within the discretion of the trial court.”
Cipriano v. State, 2001 OK CR 25, jj 48, 32 P.3d 869, 879.

“When a communication between judge and jury occurs after a jury has
' retired for deliberations on a matter within the scope `of § 894 and that .
communication does not comport with § 894’s requirements, a presumption of
prejudice arises. The presumption may be overcome if,_ on appeal, this Court is
convinced that on the face of the record no prejudice to the defenth
oc¢un¢d.” smith v. state, 2007 0K cR `16, 1 52, 157 P.3d 1155, 1172 (internal
citations and quotations omitted) (emphasis added). l

Note 2 asked what the jury shouid do if it could not reach a unanimous

decision on some counts and how to proceed on the counts on which there was

unanimity. The parties and judge agreed a deadlocked jury instruction was
premature because the jury had deliberated only a few hours, The district
court instructed the jury to continue to deliberate on the unresolved counts..
There was no violation of the underlying purpose of § 894 (preventing
communications without parties’ interests protected) in- the handling of note 2
because the parties were consulted and approved the court’s response. Bethel
agreed that the court could respond in writing rather than returning the jury to
open court. Any presumption of prejudice arising‘from the court’s failure to
bring the jury back into the courtroom is refuted by the record showing that
the district court provided the jury with the response sanctioned by the parties.
There is no showing of plain error; this claim is denied.'
5.

Bethel was not deprived of a fair_trial by the admission of improper “law
enforcement” opinion. Contrary to Bethel’s claim, the case agent did not vouch
for the integrity of the investigation and his testimony was not unnecessarily
cumulative, speculative or more prejudicial than probative. See Postelle v. _
State, 2011 OK CR 30, 11 31, 267 P.3d 114, 131 (discussing relevancy of
evidence); Hnnnon v. srate, 2011 oK cR 6, j 48, 248 P.3d 913, 937 (discussing
balancing relevancy of evidence against its prejudicial effect). The case agent
testified about his part in the investigation and the collection of evidence. He

did not comment on the veracity of any witness or tell the jury what result to

reach. This claim is denied.

6.

Reviewing for plain error only, we find Bethel has not shown the district
court erred in admitting the audiotape of his telephone call to his mother from
jail. See Hogan, 2006 OK CR 19, 1[ 38, 139 P.3d 907, 923. Thcir conversation
was relevant and its probative value was not substantially outweighed by the
danger of unfair prejudice See Postelle, 2011 OK CR 30, 11 31, 267 P.3d at 131;
Harmon, 2011 OK CR 6, jj 48, 248 P.3d at 937.

7 .

The district court did not err in admitting an in life photograph of the
murder victim that showed his general appearance and condition while alive.
12 0.S.2011, § 2403. The admissibility of such photographs is settled, and
lBethel offers nothing new to warrant a different result in this case. See
Underwood v. State, 2011 OK CR 12, ‘|] 48, 252 P.3d 221, 242-43.

Reviewing for plain» error only, we find Bethel has not shown error and
prejudice from the presentation of victim impact statements from the victim’s
father and sister at formal sentencing under 21 0.S.2011, § l42A-8. -See
Hogan, 2006 OK CR 19, jj 38, 139 P.3d at 923.

8.

The district court did not err in denying Bethel’s motion to sever and
allowing Counts l and 2 to be joined with Counts 3 and 4 for resolution in a
single_trial. See Smith v. State, 2007 OK CR 16, '|\ 21, 157 P.3d 1155, 1164;

Vowell v. State, 1986 OK CR 172, 1111 8-9, 728 P.2d 854, 857.

9.

The district court did not err in denying Bethel’s motion to suppress
evidence because Bethel’s arrest for public intoxication was supported by
probable cause. See Cojj‘ia v. State, 2008 OK CR 24, '1{ 5, 191 P.3d 594, 596,

' 10.

Bethel’s ineffective assistance of counsel claim may be disposed of based
on lack of prejudice.2 See Strickland v. Washington, 466 U.S. 668, 687 , 104
S.Ct. 2052, 2064, 80 L.Ed.2d 674 (1984); Malone v. State, 2013 OK CR l, 11 14,
293 P.3d 198, 206, cert denied __U.S._, 134 S.Ct. 172, 187 L.Ed.2d 119
(2013); Head v. State, 2006 OK CR 44, jj 23, 146 P.3d 1141, 1148. The merits
of the substantive claims serving as the basis for this ineffective assistance of
counsel claim have been addressed and rejected above. See Propositions 3, 4,
5, 6 and 7 .

In conjunction with this claim Bethel filed an Application for Evidentiary
Hearing on Sixth Amendment claims contemporaneously with his brief,
attaching documents to support his claim that trial counsel was ineffective for
failing to investigate and present testimony supporting his defense.

This Court will order an evidentiary hearing if “the application and

affidavits'. . . contain sufficient information to show this Court by clear and

 

2 Bethel argues defense counsel was ineffective for failing to object to the district court’s
response to jury note #2, failing to object to improper opinions offered by the case agent, failing
to have the prejudicial portions of his telephone call with his mother redacted, failing to object
to the in life photo of the victim and the victim impact statements offered at formal sentencing,
and failing to request instructions on lesser related offenses

9

convincing evidence [that] there is a strong possibility trial counsel was
ineffective for failing to utilize or identify the complained-of evidence.” Rule
3.11(B)(3)(b)(i), Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.
18, App. (2015). Having reviewed Bethel’s Request for an Evidentiary Hearing
to develop this claim and the materials offered to support that request, we find
that Bethel has failed to meet his burden. Rule 3.11, Rules of the Oklahoma
Cburt of Criminal Appeals, Title 22,'. Ch. 18, App. (2015). Therefore, Bethel is
not entitled to an evidentiary hearing to further develop his ineffective
assistance of counsel allegations, and his motion, as well as this claim, are

DENIED. See Simpson v. State, 2010 OK CR 6, jj 53, 230 P.3d 888, 905-06.

DECISION
The Judgment and Sentence of the district court on Counts 1, 3 and 4 is
AFFIRMED. count 2 is REvERsEn and REMANDED to tns district court with
instructions to DISMISS. Pursuant to Rule 3.15, Rules of the Oklahoma Court
of criminal Appeazs, Titts. 22, ch. 18, App. (2015), the MANDATE is oRDERED
issued upon delivery and filing of this decision.

AN APPEAL FROM THE DISTRICT COURT OF TULSA COUNTY
THE HONORABLE JAMES M. CAPUTO, DISTRICT JUDGE

10

APPEARANCES AT TRIAL

STEVE VINCENT

ATTORNEY AT LAW

7122 S. SHERIDAN, SUITE 2372
TULSA, OK 74103-3805
ATTORNEY FOR DEFENDANT

KALI STRAIN

JOHN SALMON

ASSISTANT DISTRICT ATTORNEYS
500 S. DENVER,SUITE 900 '
TULSA, OK 74103

ATTORNEYS FOR STATE

OPINION BY: JOHNSON, J.
SMITH, P.J.: Concur
LUMPKIN, V.P.J.: Concur
LEWIS, J.: Concur
HUDSON, J.: Concur

RA

11

APPEARANCES ON APPEAL

JAMIE D. PYBAS

P. O. BOX 926

NORMAN, OK 7 3070
ATTORNEY FOR APPELLANT

E. SCOTT PRUITT

OKLAHOMA ATTORNEY GENERAL
THEODORE M. PEEPER
ASSISTANT ATTORNEY GENERAL
313 N.E. 215T STREET
OKLAHOMA CITY, OK 73105
ATTORNEYS FOR APPELLEE

Exhibit

AFFIDAVIT OF DEANDRE BETHEL

State of Oklahoma )
v ) Case No. CF-2012-660

osAndrs Bethel )

DeAndre Bethel

#690424

Lawton Correctional Facility
8607 SE Flowermound Rd.
Lawton, OK 73501

I DeAndre Bethel, of lawful age and sound mind currently being
incarcerated at Lawton Correctional Facility swear that the following is true and
correct to the best of my knowledge. The case number referred to is CF-2012-660,
in the District Court of Tulsa County for the State of Oklahoma,

I was arrested and convicted in Case #CF-2012-660, for Felony Murder of
Bryon Ivory Jr. with the-underlying felony of Robbery with a Firearm. I was
arrested asleep at a stop light with a weapon used in the commission of the crime
in my vehicle the following moming. I absolutely denied any involvement in the
crime and testified that I bought the gun earlier that morning from an individual
named Rio and that LaHarry Myers was also present during that buy.

After my conviction, I self-investigated the crime and newly discovered
who committed the crime and also discovered several eyewitnesses at the crime
scene, I discovered LaHarry Myers was the shooter and the individual that pressed
the gun into Mr. Roberts chest, also, the individual I identified at trial whom I
bought the gun from as Rio, drove the vehicle and fought with Byron Ivory Jr.
There was also three (3) other people who witnessed the crime, ofwhich, two (2)
of the eyewitnesses have also submitted affidavits (Elza Riley & DeAndre
Williams). These affidavits demonstrate that I am actually innocent of these
crimes. The evidence further demonstrates that had my trial counsel investigated,
interviewed, and called these eyewitnesses to testify at trial, then I would have
been found not guilty. ’-

Further, I did not tell my trial counsel to concede to the Robbery with a
Firearm, neither overtly nor purposely. Mr. Vincent did not consult with me about
conceding to the robbery and I never would had conceded because I did not rob or
participate in any robbery/murder.

DeAndre Bethel

#690424

Lawton Correctional Facility
8607 SE Flowermound Rd.

Lawton, OK 73501

AQFM%@

Signature ofAffiant

 

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STATE OF OKLAHOMA ) G.
) ss.
COUNTY OF TULSA )

MIQAVIT OF DEANDRE ARMON WILLIAMS

I, Deandre Armon Williams, being of sound mind and legal age, do hereby state under oath:

l.

My name is Deandre Armon Williams. lam a friend of Deandre Bethel. We have known
each other since 2007.

I was charged jointly with Deandre Bethel in Tulsa County District Court Case No. CF-201 2-
0660, with First Degree Felony Murder in the Commission of a Robbery with A Firearm, for
the death of Byron Ivory, Jr., on February 4, 2012, Our trials were severed. Deandre went
to trial flrst. My trial was scheduled to begin on September 15, 2014. Prior to trial, I entered
a plea of guilty to Accessory Atter the Fact and was sentenced to seven years, with two years
in the custody of the Department of Corrections and live years suspended under the
supervision of the Division of Probation and Parole.

I saw Deandre Bethel around 4:00 a.m. on the morning of February 4, 2012, I called Deandre
on the phone to see where he was. He said he was over in the vicinity of my house near
Lucky Sam’s convenience store on North Lewis, I told him to meet me at Lucky Sam’s. We_
met there and saw LaHarry Myers, otherwise known as “L.J,” getting out of his white Crown '
Victoria in the parking lot. Deandre asked L.J. if he still had a gun for sale. L.J. said he still
had some guns and they would need to go around the comer near the 007 Club to get~ the
guns. Deandre said a cop named “Sticks” told him he needed a gun for protection because
the Hoovers were trying to get at him. All three of us drove in separate cars to the location,
I was driving my brother’s maroon 2000 Chevy Tahoe. It took less than a minute to get to
the house. I did know whose house it was. Once at the house, I got out of my car and got
into Deandre’s white car. L.J. came up and said he was going inside the house to get the
guns. A few minutes later, L.J. came out of the house with two guns, a .40 caliber and a 9
millimeter and showed them to us. Deandre asked him if there was anything wrong with the
guns and whether they were “hot.” L.J. said the guns were iine. Deandre gave L.J. $150.00
in exchange for the .40 caliber gun, l told them I would talk to them later. I got back into
my vehicle and left.

I never told this information to the police and I was never asked about it. I invoked my right '
to counsel when I was interrogated by Detective Jason White and he terminated the'-
interview. Deandre Bethel’s trial lawyer never contacted me about this information prior to
trial, nor did anyone from his staff. I was willing to testify and would have done so had I
been asked to appear on Deandre’s behalf.

Page l of 2

Exhibit

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signed and subscribed to before me this 16

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Kim Alyce Mark`?, Notary Public
Commission #04006555
Expires July 20, 2016

Page 2 of 2

day of December, 2014.

FF F DE D IL S

State of Oklahoma )

v. ) Case No. CF-2012-660
DeAndre Bethel )

DeAndre Williams

300 N. Denver

Tulsa, OK 74103

I, DeAndre Williams, of lawful age and sound mind currently being incarcerated
at Tulsa Justice Center swear that the following is true and correct to the best of my
knowledge. The case number referred to is CF-2012-660, in the District Court of Tulsa
County for the State of Oklahoma,

I, DeAndre Williams have known DeAndre Bethel for approximately five (5)
years.

On February 4, 2012, I was riding in a white vehicle with my friends Rio and'
LaHarry Myers a/k/a L.J. Rio was driving his own vehicle. L.J. was in the passenger seat
and I sat in the backseat. We pulled into the parking lot of Club Pink at around 1:40 a. m.
L.J. had been previously in an altercation with Bryon Ivory. Bryon had robbed L.J. some
days earlier. Rio had set up a meeting between Bryon and L.J. so they could tight. We
pulled into the parking lot then L.J. and Rio got out and approached Bryon’s car. Rio and
Bryon begin to tussle. Bryon’s gun fell and went off and L.J. and Rio started shooting
back at Bryon. Rio picked up Bryon’s gun and we left the seen. I did not know that there
would be any shooting involved. I thought it would just be a tistflght. I stood back and
observed what happened. Rio and L.J. acted alone. DeAndre Bethel was not present or

involved in any manner.

Later that mourning L.J. contacted DeAndre Bethel and asked him if he wanted to
buy one of the guns. The gun L.J. sold was the gun L.J. used to shoot Bryon. lt was a
black and silver .40 caliber Smith & Wesson.

I never told this information to the police and I was never asked about it. Mr.
Bethel’s trial attorney never contacted me about this information before trial, nor did any
of his staff. Mr. Bethel’s appellate counsel never requested information about the
commission of the crime and I never told her. I was willing to testify and would have
testified to the aforementioned information on DeAndre’s behalf if requested to appear at
trial. I am still willing to testify.

 

DeAndre Williams
300 N. Denver
Tulsa, OK 74103

 

Signature of Affiant

Subscribed and Sworn to by me this day of 2016.

 

Notary Public
My Commission Number is:

My Commission Expires

 

AFDA F E

State of Oklahoma )
v ) Case No. CF-2012-660

neAndre Bethel )

Elza Riley

#53 1017

Lawton Correctional Facility
8607 SE Flowermound Rd.
Lawton, OK 73501

I Elza Riley, of lawful age and sound mind currently being incarcerated at Lawton
Correctional Facility swear that the following is true and correct to the best of my knowledge.
The case number referred to is CF-2012-660, in the District Court of Tulsa County for the State
of Oklahoma.

I, Elza Riley have known DeAndre Bethel for approximately twelve (12) years.

I, Elza Riley was present at Club Pink on February 4, 2012 at 1:40 a. m. I was parked in
the parking lot and I observed the shooting that occurred. l saw another car parked in the
parking lot and a white car pull up behind it. Three (3) individuals got out of the white car and I
recognized LaHarry Myers a/k/a L.J. and another person pull guns and shoot Bryon Ivory Jr. I
also recognized another individual standing by the shooters vehicle (DeAndre Williams). This
was retaliation for Bryon Ivory robbing Mr. Myers some days earlier. After the shooting I
immediately left the seen in a dark colored vehicle (blue Oldsmobile). No one in our vehicle
participated in the incident we just witnessed what happened and left the scene, d

I was never approached by police or questioned by Mr. Bethel’s attorney as to what I
witnessed. Had I been contacted and requested to testify, then I would have testified that
DeAndre Bethel was not involved in the shooting or robbery of Mr. Ivory.

\

Elza 'ley

#531017

Lawton Correctional Facility
8607 SE Flowermound Rd.
Lawton, OK 73501

Comanche County

ss.
State of Oklahoma

v\/\/

Sign§£re of Xfli§t
Subscribed and Swom to by me. This ZZLG,ay of _ 14 g .L 2016.

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STATE OF OIGJAHOMA ) 1 .
)ss. ‘ "' " `
COUNTY OF TULSA )

AFFID OFW AJ LL SMI'I'H

l, Wanda Janell Smith, being of sound mind and legal age, do hereby state under oath:

l.

My name is Wanda Janell Smith, I am a friend of Deandre Bethel. We have known each
other since high school - about 4 ‘/z years. ~

I was with Deandre Bethel on the evening of February 3, 2014, and into the early morning
hours of February 4, 2014. We were dating at the time, Around l p.m., Deandre dropped me
off at the home of my best ii'iend, Neka. He came back over at about 9 p.m. We were
hanging out, playing dominoes and drinking. l saw him take a couple of Xanax bars. Around
l a.m., we left for my mother’s house. We drove his white Cobalt car. My mother lived at
539 E 49'h Place in Tulsa. At that point, Deandre was pretty messed up, My grandmother
called me at around 3 a.m. She stayed around the corner. She was ill and needed my help to
be moved &'om her bed to the living room. Deandre and I went over to her house to help her.
Then around 3 a.m., Deandre’s fi'iend, LJ (LaHarry Myers), called my cell phone, Deandre
did not have a phone that worked at the time, LJ asked if “Belly” was with me. “Belly” was
Deandre’s nickname. l gave Deandre my phone and he was talking to LJ, but I didn’t know
what they were saying. After he finished talking, Deandre told me he was going to meet lJ
to go buy a gun, I told Deandre, “Let me go with you.” He told me no and we got into it and
argued. Deandre did not want me to go because he thought LJ was going to rob him. We
argued some more. I got out of the car and he drove off. Later that morning, I got a phone
call that Deandre was in jail.

l was never contacted by the police, the district attorney’s office or any defense attorneys
Wbo represented Deandre Bethel before his trial in February 2014. I remember talking to
Deandre’s pastor about the information in this affidavit.. He told me Deandre’s lawyer
would be calling and interviewing me, and would ask me to testify at Deandre’s trial,

Deandre’s trial lawyer never contacted me prior to trial, No one from the trial attomey’ s staff

v contacted me. I was willing to testify and would have done so had l been asked to appear on '

Deandre’s behalf. '~

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Kim Alyce Marks, Notary Public

Commission #04006555
Expires July 20, 2016

 

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wanda Jnneii Msinith

______day of December, 2014.

Page 2 of 2

STATE OF OKLAHOMA )

)

COUNTY OF CLEVELAND )

AFFIDAVIT OF JOLENE PERHAM

I, Jolene Perharn, being of sound mind and legal age, do hereby state under oath:

1.

My name is Jolene Perham and I am employed as an investigator in the Homicide Direct
Appeals Division of the Oklahoma Indigent Defense System (OlDS) in Norman, OK.

[n my capacity as an investigator with OIDS. I was assigned to retrieve the trial files from
the trial attorney for Mr. Deandre Bethel. Mr. Bethel is appealing his conviction in Tulsa
County Case No. CF-2012-660, Oklahoma Court of Criminal Appeals Case No. F-l4-366

On June 5, 2014, I received 1 box of trial files from Steven W. Vincent, Mr. Bethel’s trial
attorney. This file contained 3031 pages of documents, including 24 CD’s/DVD’s,
pertaining to Mr. Bethel’s case.

Pursuant to the policy of the Oklahoma Indigent Defense System (OlDS), the trial files
are delivered to Ms. Norma Dumas who bates-stamps, in consecutive order, the
identifying initials of trial counsel (“SWV” which stands for Steven W. Vincent) and
numbers every piece of paper and item(s) from the trial files. This is done to differentiate
these documents from any other documents obtained by OIDS.

After searching through the Trail Attorney files the following document was retrieved:
A. Letter of correspondence (not dated) to Mr. Vincent from Glenda Gray.

The letter consists of one (1) page, and bears the hate-stamp number
SWV 131 1.

l have read this statement consisting of one (1) page and l state that the foregoing is true and

correct.
warn .'?_ °'20/ ’
Affiilnt/ Jolene Perham Date

Signed and subscribed to before me on the 32 nEl!ay of _Q.L£mog¢____, 20 L‘L in ,
_C.Qu.i….c§gwi___ County, Oklahoma.

 

 

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Dear Mr Vincent

l am sending vital information regarding my son Deandre Bethel’s case. Tulsa county has in
custody Trey Marzett. He's contacted Deandre and wishes to speak with you regarding this
case. l-leTrey, somehow feels you may already have knowledge of the some of the facts he
wishes to discuss with you. This information is important for Deandre’s defense.

Here also are the names of the witness for Deandre Bethel:
Wanda Smith 529 E 49th PL N Tulsa, Oi( 74126 918 282 9931 or 918 902 5075

Ashley Hei’vey 219 E San PL N tulsa, Ol( 74127 918 852 1949

Mr Vincent we are also wondering whenyou will and why you have not been to visit Deandre
vet. He needs to discuss the defense tactics the plans you have to execute his defense. His trial
date is almost upon us and to our knowledge not much has transpired to give Deandre a secure
feeling that his best interest is being represented lhis is based on the little communication
between you two and even the few timesll have spoken with you.

l have left messages on your cell and left messages at your office with no return calls. Deandre
has written letters to your office also and haven‘t gotten any responses. This is another attempt
to contact you as we do not know if you are receiving these messages

Thanking you in advance for your consideration and your time in responding to this letter.

Glenda Gray
PO BDX 2404 Tulsa , Ol<

918 851 1205

SWV 1311

IN THE OKLAHOMA COURT OF CRIMINAL APPEALS

DEANDRE BETHEL, )

Petitioner, §
v. § Case No.
STATE OF OKLAHOMA §

Respondent. §

 

MOTION FOR EVIDENTIARY HEARING
COMES NOW, DeAndre Bethel, Petitioner pro se in the instant action and moves the
Court to conduct an evidentiary hearing on Sixth Amendment claims of Ineffective
Assistance of Counsel contained in the Application for Post-Conviction Relief pursuant to Title
22 O.S. § 1080 et. seq. Rules 3.11(B)(3)(b) & 5.4, Rules of the Oklahoma Court of Criminal
Appeals. Title 22, Ch. 18 App.; and Berget v. State, 1995 OK CR 66, 907 P.2d 1078.

Mr. Bethel is proceeding pro se, under Erickson v. Pardus, 551 U.S. 89, 94, 127 S.Ct.
2197, 2200, 167 L.Ed.2d 1087 (2007); Andrews v. Heaton, 483 F.3d 1070, 1116 (10th Cir. 2007);
Hall v. Bellmon, 935 F.2d 1106, 1110 (10'h Cir. 1991) (citing Haines v. Kerner, 404 U.S. 519,
520-21, 92 S.Ct. 594, 595-96, 30 L.Ed.2d 562 (1972) (Taking into account that a pro se pleading
is to be held to a less stringent standard than one formally submitted by an attorney); and claims
Hughes v. Rowe, 449 U.S. 4, 9, 101 S.Ct. 173 (1980) (The Court must review liberally and
interpret pro se arguments to raise the strongest arguments that they suggest.). Mr. Bethel prays

the Court’s forbearance in reviewing the Habeas Petition.

Mr. Bethel demonstrates herein that there are genuine issues of material fact existing in
the instant matter, which may only be resolved through the testimony of witnesses and
introduction of evidence that are presently outside the original record, “When a colorable Sixth

Amendment claim is presented and where material facts are in dispute involving inconsistencies

beyond the record a hearing is necessary.” Id, United States v. Moore, 950 F.2d 656, 661 (10th
Cir. 1991). Due to evidence not in the Application for Post-Conviction Relief including affidavits
and the incompleteness of the record and issues that require proof not contained in the record
pertaining to ineffective assistance of counsel setting forth clear and convincing evidence
necessary under Rule 3.11(B)(3), that demonstrates ineffective assistance of both trial and
appellate counsels. Whereby, counsels failed to investigate, interview, and call to testify crucial
witnesses pertaining to Mr. Bethel’s actual innocence. Wherefore, Mr. Bethel requests an

evidentiary hearing upon his colorable Sixth Amendment claims.

BACKGROQND

February 4, 2012, Bryon Ivory, Ernest Roberts and Bradley Jarrett pulled into the parking lot of
Club Pink at approximately 1:40 a.m. As the men sat in the vehicle, another car pulled into the
parking lot, parking behind the victims with their lights on. One individual approached the vehicle,
while Mr. Roberts was exiting Mr. Ivory’s vehicle. The person asked Mr. Roberts did he know him.
Mr. Roberts said, “No.” The assailant pulled a gun and stuck it in Mr. Roberts’ ribs. Mr. Roberts took
out his wallet and cell phone, offered the wallet and cell phone to the assailant as an escape
mechanism to save his life then tumed, and ran. Roberts’ jumped over a four-foot wall with a five-
foot drop-off on the other side, Mr. Jarrett also exited the vehicle and ran, but before running saw
two individuals standing beside the car parked behind them, Mr. Jarrett ran so hard that he ran out of
his Nikes. There was shooting and a short time later Mr. Ivory was discovered dead from gun shot
wounds.

Several Tulsa Firefighters witnessed two cars leaving the parking lot in a hurry. They described
one of the vehicles as a white Chevy Cobalt. Several hours later Mr. Bethel was discovered sleep at
an intersection street light in a white Chevy Cobalt and a gun in the passenger seat. He was arrested
for Public Intoxication and Possession of a Fireann and bonded out of jail. Police later tested the
weapon and discovered that it was one of the weapons used in the shooting of Mr. Ivory. During and
after both arrests Mr. Bethel consistently proffered to police officers that he had bought the gun that

morning from someone named Rio. Mr. Bethel was charged and convicted by a jury of Felony

Murder with the underlying felony of First Degree Robbery with a Firearm. Mr. Bethel was
sentenced to life with the possibility of parole. From this sentence Mr. Bethel request post-conviction
relief.

During his time of incarceration, Mr. Bethel did his own investigations as to what happened at
Club Pink that night. He discovered that the incident was not a robbery, but retaliation of an ongoing
feud between Bryon Ivory and Laharry Myers, He also discovered that there were eyewitnesses
present that could testify that Mr. Bethel was not present and is actually innocent of the crime.

Further, trial counsel conceded to the Robbery with a Firearm charge during trial and failed to
challenge the state’s case to adversarial testing of that charge. (see Application for Post Conviction
Relief)

I. EVIDENCE OUTSIDE THE RECORD
Although some of Appellant’s ineffectiveness claims are obvious from simply reading the
appeal record, several, including trial and appellate counsel’s failures to utilize available and

potent eyewitness evidence, are supported by matters outside the record.

A. Mr. Bethel request that the Tulsa County District Court make a finding of fact regarding
counsels’ ineffective assistance and breach of duty from evidence outside the record by

determining:

l. Trial counsel and appellate counsel failed to investigate, interview, and call to testify
Elza Riley and DeAndre Williams to testify that there was no robbery, but retaliation
of an ongoing feud between Bryon Ivory Jr. and LaHarry Myers and that Mr. Bethel
was not present at the scene of the crime. (see affidavits attached to Application for

f Post Conviction Relief)

2. Trial counsel failed to consult with Mr. Bethel before conceding to the First Degree
Robbery with a Fireann charge. (see Application for Post Conviction Relief) z

3. Trial counsel failed to call Wanda Janell Smith to testify at trial who would have
testified that Mr. Bethel was with her during the time of the crime and that he left to
go and purchase the handgun. (see affidavit attached to Application for Post

Conviction Relief)

B. Mr. Bethel claims that the finding of fact by the court in an evidentiary hearing can be
determine by the questioning the following eyewitnesses whom where present at the crime
scene, that Mr. Bethel was not present and is actually innocent of the convicted charges, and
that Mr. Bethel was not consulted nor consented to the concession of First Degree Robbery

with a Firearm.

WI SS
Elza Riley, LCF-Lawton, 8607 SE Flowermound Rd., Lawton OK 73501
DeAndre Williams, DLM Criminal Justice Center, 300 N. Denver Ave., Tulsa OK 74103
Wanda Janell Smith, 529 E. 49'h Pl. N., Tulsa, OK 74126
DeAndre Bethel, LCF-Lawton, 8607 SE Flowermound Rd., Lawton OK 73501
Steven Vincent, P.O. Box 701765, Tulsa OK 74170-1765

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Mr. Bethel has presented colorable Sixth Amendment claims, where material facts are in
dispute involving inconsistencies beyond the record, Wherefore, Mr. Bethel requests an evidentiary

hearing,

 
    

DeAndre Bethel
#690424
LCF-Lawton
8607 SE Flowermound Rd.
Lawton, OK 73501

